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                                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                                )
               In re: Application Pursuant to                   )
               28 U.S.C.§ 1782 of                               )
                                                                )
               FARHAD AZIMA                                     )
               5921 Ward Parkway                                )
               Kansas City, Missouri 64113                      )   No. 22 mc-
                                                                )
                                       Petitioner,              )
                                                                )
                           v.
                                                                )
               GLOBAL IMPACT SERVICES                           )
               3010 N Military Trail, Suite 318                 )
               Boca Raton, Florida, 33431                       )
                                                                )
                                        Respondent,             )
                                                                )
               EITAN ARUSY                                      )
               3010 N Military Trail, Suite 318                 )
               Boca Raton, Florida, 33431                       )
                                                                )
                                       Respondent, and          )
                                                                )
               TRUIST FINANCIAL CORPORATION                     )
               214 N Tryon Street                               )
               Charlotte, NC 28202                              )
                                                                )
                                       Respondent.              )
                                                                )



                                         DECLARATION OF DOMINIC HOLDEN

                       I, DOMINIC HOLDEN, do hereby declare under penalty of perjury pursuant to 28

              U.S.C.§1746 the following.

              Introduction

              1.       I am admitted to practice law, as a solicitor, before the Courts of England and Wales and I

                       am a partner of the London-based law firm located in London, United Kingdom (“UK”),
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                       Burlingtons Legal LLP (“Burlingtons”). Burlingtons acts for Mr. Farhad Azima, the

                       Defendant and Counterclaimant in civil proceedings pending in the High Court of Justice

                       of England and Wales, Business and Property List captioned: Mr Farhad Azima -v- RAKIA

                       & Ors (Claim no.: HC-2016-002798) (“the UK Proceedings”).

              2.       I respectfully submit this Declaration in support of Mr. Azima’s application for an order

                       under 28 U.S.C. § 1782 directing that Global Impact Services LLC (“GIS”), Eitan Arusy

                       (“Arusy”), and Truist Financial Corporation (“Truist”) (collectively “Respondents”)

                       produce discovery for use in the UK Proceedings, including documents and depositions as

                       described in the application.

              3.       Nothing in this statement is intended, and I am not authorized, to waive any legal privilege

                       on behalf of Mr. Azima. I am authorized by Mr. Azima to make this Declaration on his

                       behalf.

              4.       As detailed below, the pending UK Proceeding is a counterclaim brought by Mr. Azima

                       against the Ras Al Khaimah Investment Authority (“RAKIA”) – the sovereign wealth fund

                       of Ras Al Khaimah (“RAK”) – alleging hacking and a scheme to cover-up that hacking.

                       Mr. Azima has joined other Defendants to his counterclaim, namely: Mr James Buchanan

                       (“Buchanan”) (RAKIA’s authorised representative at the material time), Dechert LLP (a

                       law firm) (“Dechert”), and Mr. Neil Gerrard (an English lawyer and a partner at Dechert

                       at the material time) (“Gerrard”) (together with RAKIA “the UK Defendants”). Mr.

                       Stuart Page (a private investigator who was working on RAKIA’s behalf at the material




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                       time) (“Page”) was previously joined as a Defendant but has settled with Mr. Azima and

                       Mr Azima has discontinued his claim against him.

              The Procedural Posture of the UK Proceedings

              5.       On 30 September 2016, RAKIA sued Mr. Azima regarding a commercial dispute.

                       RAKIA’s claim relied on a substantial quantity of Mr. Azima’s hacked and stolen private

                       and personal data. RAKIA admitted that the materials were stolen but claimed to have

                       obtained them innocently from sources on the internet. In addition to resisting the merits

                       of the claim against him, Mr. Azima alleged that RAKIA was responsible for hacking his

                       computers and electronic data and for publishing the hacked material on the internet (such

                       that RAKIA’s claim to have discovered the materials on the internet was a sham). Mr.

                       Azima brought a counterclaim against RAKIA for the hacking and related wrongs, seeking

                       injunctive relief and damages. He also raised a defence of set-off to the sums claimed by

                       RAKIA.

              6.       The trial of RAKIA’s claims took place in January and February 2020 (the “First Trial”)

                       before Mr. Andrew Lenon QC, sitting as a Deputy Judge of the High Court (the “Deputy

                       Judge”). Judgment was given on 22 May 2020 (“HC Judgment”).

              7.       The Deputy Judge found that RAKIA’s account of having discovered the hacked materials

                       on the internet was not true but found overall that RAKIA’s responsibility for the hacking

                       had not been proven. The Deputy Judge therefore dismissed the counterclaim on the basis

                       that RAKIA’s responsibility for the hacking had not been proven.

              8.       Mr. Azima was granted leave to appeal the Deputy Judge’s findings on the hacking among

                       other findings. In support of his appeal, Mr. Azima also sought to rely on new evidence

                       indicating RAKIA’s responsibility for the hacking. Following a hearing from 2-4 March



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                       2021, the Court of Appeal gave judgment on 12 March 2021 (the “CA Judgment”). The

                       Court of Appeal, among other things, admitted the new evidence relating to the hacking,

                       overturned the dismissal of the hacking counterclaim, and remitted the counterclaim for a

                       further trial before a new Judge and. The Court of Appeal also noted that the findings of

                       the Deputy Judge on the hacking issue will not be binding in the new trial.

              9.       Following the CA Judgment, Mr. Azima applied to the English High Court to amend his

                       Counterclaim by adding additional parties as Defendants, namely, Gerrard, Dechert ,

                       Buchanan, and Page. On 16 July 2021, the UK Court ordered that the Additional UK

                       Defendants were to be joined to the UK Proceedings. Mr. Azima has since settled with

                       Mr. Page and amended his counterclaim further. Mr. Azima’s most recent amended

                       counterclaim is at (Exhibit A) (“the Counterclaim”).

              10.      In advance of a hearing for purposes of the UK Proceedings on 1 July 2022, RAKIA wrote

                       to the Court asserting that it had dis-instructed its legal team and intended to take no further

                       active part, content for judgment to be entered against it, and made an open (but inadequate)

                       offer to settle the proceedings. It cited the “dishonest and unscrupulous” conduct of

                       Defendant Gerrard as a reason for this stance. The UK Court regarded this approach as

                       unusual, did not accept that RAKIA could withdraw in that way, and gave orders to

                       facilitate the ongoing service of documents on it. The claim against it continues.

              11.      Mr Azima has given notice of an intention to seek a further amendment to his claim, to

                       have the judgments previously obtained by RAKIA set aside on the grounds that they were

                       procured by fraud. The application for that amendment remains pending.

              Global Impact Services LLC and Eitan Arusy

              12.      Global Impact Services LLC is a Florida registered entity. (Exhibit B) (corporate



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                       records). Eitan Arusy founded the company and is listed on the Articles of Incorporation

                       and Annual Reports as the owner and manager. At recent depositions of Insight Analysis

                       and Research LLC (“Insight”) and SDC-Gadot LLC (“Gadot”), we learned that Arusy

                       played an integral role in the investigation conducted by Stuart Page and Amit Forlit. Page

                       paid Forlit through Insight and Gadot and Insight and Gadot both paid GIS and received

                       payments from GIS related to the investigation. At the Rule 30(b)(6) depositions of Insight

                       and Gadot, Mr. Forlit revealed for the first time that Mr. Arusy was part of the inner circle

                       of people who, along with UK Defendants Mr. Gerrard and Mr. Buchanan, Mr. Page, and

                       Mr. Forlit, attended regular “staff meetings” to discuss the investigation. Mr. Forlit

                       estimated that Mr. Arusy met with Mr. Gerrard about the investigation 5-10 times for the

                       investigation into Petitioner and his associates. Mr. Forlit said that Mr. Arusy’s was

                       responsible “analysis and investigations, in-depth investigations.”

              13.      In addition, bank records of Insight and Gadot obtained through other Section 1782

                       applications show that Mr. Forlit, through Insight and Gadot, paid $260,000 to GIS in 2017

                       and received more than $730,000 from GIS from September 2020 to September 2021. In

                       the account opening documents for Gadot, Mr. Forlit listed “Global Impact” as one of his

                       three largest customers, along with Mr. Page’s entity. (Exhibit C) (select bank records).

              Summary of the factual case against RAKIA and the Additional Defendants

              14.      The Re-Re-Amended Counterclaim sets out the case against the UK Defendants. Rather

                       than repeating the contents of that pleading in detail in this Declaration, I respectfully refer

                       the Court to that document and set out below a summary of the key elements of the case

                       relating to Respondents. A summary of the case against the UK Defendants is set out at §

                       101-111 of the Counterclaim (which draw on the more detailed particulars given earlier in



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                       the document). The below summary is based on the allegations in the Counterclaim, which

                       is supported by documentary and affidavit evidence, as described in more detail below.

              The Hacking of Mr. Azima

              15.      There is no dispute in the UK Proceedings that Mr. Azima was the victim of hacking, or

                       that RAKIA has had possession of the hacked materials:

                       a.     In August and September 2016, links to around 30 GB of Mr. Azima’s personal

                              and private data appeared online. Mr. Azima was unable to access the links, but

                              RAKIA has since provided copies of the data, which spanned more than 10 years

                              and included a substantial number of privileged communications. The links were

                              to anonymous peer-to-peer platforms known as BitTorrents and appeared on

                              websites that disparaged Mr. Azima. At the First Trial, it was common ground

                              that this material had been obtained without Mr. Azima’s authority by hacking his

                              electronic devices and/or email accounts.

                       b.     On 23 September 2016, RAKIA sent a pre-action letter to Mr. Azima, making

                              allegations based on documents included within the hacked materials. A claim

                              was issued shortly afterwards, on 30 September 2016, relying very heavily on the

                              hacked material.

                       c.     No other party has sought to rely on the hacked material in any proceedings in any

                              jurisdiction.

              Mr. Page and the “Project Update” Identifying Mr. Azima as an Enemy

              16.      In around March 2015, RAKIA believed that Mr. Azima was managing a “team” in the

                       U.S. working to draw attention to allegations of human rights abuses in RAK. The

                       evidence for this is set out in a document created by RAK’s advisors and called “RAK



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                       Project Update Report” (the ‘Project Update’). The Project Update makes clear that

                       RAKIA viewed Mr. Azima as an enemy of RAK and proposed that action be taken against

                       Mr. Azima and his team, including steps to “gather intelligence on their progress in order

                       to monitor their activities and attempt to contain or ruin their plans.”

              17.      In January 2022, Mr. Page provided a sworn affidavit to Mr. Azima (Exhibit D) (the “Page

                       Affidavit”). The Page Affidavit states that the Project Update was prepared by Mr. Forlit

                       for Mr. Page. Mr. Forlit worked for Respondents Insight and Gadot. Mr. Page engaged

                       Respondents to conduct an investigation into a Dr. Khater Massaad (the former CEO of

                       RAKIA) (“Massaad”) and others (including Mr Azima) for a project referred to as

                       “Project Beech” or “Project Beach.” For that project, the Respondents prepared monthly

                       reports from February 2015 to May 2020. Mr. Forlit provided the reports to Mr. Page who

                       then provided them to the UK Defendants: Gerrard and Buchanan, as well as the Ruler of

                       RAK. At least some Project Update reports contained extracts of hacked communications,

                       and, according to the Page Affidavit, it would have been clear to any reader that the

                       communications were hacked.

              18.      According to the Page Affidavit, Mr. Page was paid approximately $300,000 per month

                       for his work, and he paid the Respondents approximately $250,000 per month. As

                       discussed above, Respondents invoiced Mr. Page and sought payment through US banks.

              19.      Shortly after the Project Update was distributed, between March 2015 through August

                       2016, more than 1501 malicious ‘spear-phishing’ emails were received by Mr. Azima and




              1 It is likely that significantly more such emails were received than those that have been identified. A
              substantial number of emails are likely to have been caught by spam or virus filters and/or deleted by the
              time the emails were identified (which for the vast majority was in mid-2020).


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                       others associated with him. Common features of these emails point to a single ‘spear-

                       phishing’ campaign targeting Mr. Azima and associated persons.

              The threat against Mr. Azima and the creation of the torrent sites

              20.      Evidence at the First Trial established that in July 2016, Mr. Gerrard pressured Mr. Azima

                       to assist RAKIA in its dispute with Massaad. Mr. Gerrard told Mr. Azima that if he did

                       assist RAKIA, and if Massaad did not agree to a settlement of his dispute, Mr. Azima

                       would be “collateral damage” in the ensuing conflict that would then occur between

                       RAKIA and Massaad. At the time of this threat, Mr. Azima was unaware that he had

                       already been hacked.

              21.      The dispute was not settled and within weeks of this meeting, blog sites were created that

                       disparaged Mr. Azima and contained links to over 30GB of Mr. Azima’s confidential

                       and/or private data on torrent sites (the ‘Torrents’). Though Mr. Azima was never able to

                       access all the data, RAKIA was, and has disclosed to Mr Azima a copy of the data that it

                       claimed was on the Torrents. The stolen data included:

                       a.     Emails taken from 10 email accounts belonging to Mr. Azima and Mr. Adams (the

                              Chief Financial Officer of Heavylift, one of Mr. Azima’s companies);

                       b.     Mr. Azima’s appointments, call history, photos, recordings, SMS messages, Viber

                              messages, videos, voicemails, WhatsApps, contacts and notes; around: (i) 161,702

                              emails; (ii) 13,736 photographs or other images; and (iii) 840 voice recordings;

                              material of a personal nature about Mr. Azima and his family.

              22.      In 2018 and 2019, additional links to Mr. Azima’s stolen data were added to the blog sites

                       disparaging Mr. Azima.

              Subsequent hacking by Mr. Forlit at the Direction of Mr. Gerrard, Mr. Handjani, and Mr. Page



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              23.      On February 7, 2022, Mr. Stuart Page provided a witness statement in other proceedings,

                       Stokoe Partnership Solicitors -v- (1) Mr Patrict Tristram Finucane Grayson (2) Grayson

                       + CO Limited (3) Dechert LLP and (4) Mr David Neil Gerrard (Claim Number: QB-2020-

                       002492) (“Stokoe Proceedings”) (Exhibit E) (hereinafter “Third Page Witness

                       Statement”). The Third Page Witness Statement states that, in around February 2020, Mr.

                       Handjani invited Mr. Page to two meetings with Mr. Handjani and Mr. Gerrard, at which

                       they instructed Mr. Page and an Israeli hacker, Mr. Amit Forlit, of Insight Analysis and

                       Research LLC (“Insight”), to determine who was funding Mr. Azima’s and other’s

                       litigation relating to the Emirate of Ras Al Khaimah and Dechert LLP. Mr. Handjani also

                       received Insight’s work product through a report sent by Mr. Page using the Signal

                       encrypted messaging service.

              Perverting the Course of Justice

              24.      In addition to describing the role played by Mr. Forlit in the investigation of Mr. Azima,

                       including the use of hacking, the Page Affidavit also details a widespread campaign by the

                       UK Defendants and others, including Mr. Forlit, to lie to the UK courts about how the UK

                       Defendants came to possess Mr. Azima’s hacked data. In February 2022, Mr Majdi Halabi

                       (“Halabi”) also swore an affidavit corroborating this conspiracy to commit fraud upon the

                       UK court. (Exhibit F).




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              25.      Specifically, at the first UK trial, RAKIA’s case to the UK court was that Halabi, an Israeli

                       journalist, “discovered” Mr. Azima’s hacked data while conducting regular Google

                       searches. Page and Halabi both presented witness statements to the UK Court supporting

                       this narrative, and Gerrard and Buchanan – along with Page and Halabi – testified at trial

                       in support of this narrative. The UK trial court judge did not believe this testimony of

                       purported innocent discovery by Halabi.

              26.      The Page Affidavit and Halabi Affidavit confirm that this story was false. The affidavits

                       state that Forlit provided Page with links to Mr. Azima’s stolen data. The affidavits make

                       clear that the UK Defendants, along with Mr. Forlit and others, concocted the false story

                       to avoid telling the UK Court the true story about how RAKIA came into possession of

                       Mr. Azima’s stolen data.

              27.      According to the Page Affidavit and the Halabi Affidavit, Gerrard, Buchanan, Forlit, Page,

                       and Halabi met several times between 2018 and 2019 in London, Cyprus, and Switzerland

                       to rehearse and coordinate the false story and prepare their fraud on the UK court. The

                       Switzerland meeting was held at Hotel Moosegg outside of Bern, and at that meeting,

                       Gerrard helped Page and Halabi rehearse their false testimony in detail.

              Additional Evidence of Document Destruction

              28.      On February 7, 2022, Mr. Paul Robinson, another private investigator, provided a witness

                       statement in the Stokoe Proceedings (Exhibit G) (hereinafter “Robinson Witness

                       Statement”), in which Mr. Robinson explains the following:

                       a.     Mr. Robinson (and his companies) had undertaken various engagements for a Mr.

                              Nicholas Del Rosso, including to gather information on Mr. Azima, from 2016

                              onwards. Between early 2019 and June 2020, Mr. Robinson received instructions



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                              from a Mr Patrick Grayson (another private investigator). Mr. Robinson understood

                              that all but one of those instructions were given to him by Mr. Grayson on behalf

                              of Mr. Del Rosso.

                       b.     On 25 June 2020, Mr. Robinson met with Mr. Grayson in London, and Mr. Grayson

                              directed him to destroy and sanitise (i.e. create new versions of documents without

                              important information or identifiers) any materials that could connect Mr. Grayson

                              or Mr. Del Rosso to any of the work that Mr. Robinson had carried out for him.

                       c.     Mr. Robinson destroyed or sanitised various documents, including an invoice that

                              Mr. Robinson had sent to Mr. Del Rosso for gathering information on Mr. Azima.

              29.      Mr. Del Rosso is the President and owner of Vital Management Services Inc (“Vital”), a

                       private investigations firm. It is Mr. Azima’s case that Vital was one of RAKIA’s agents

                       who instructed at least two ‘hack for hire’ firms to carry out the hacking of Mr. Azima’s

                       computers on RAKIA’s behalf. RAKIA has admitted that Vital was instructed by Dechert

                       (RAKIA’s English solicitors) to carry out work for RAKIA and provide certain instructions

                       to one of the ‘hack for hire’ companies (CyberRoot).

              Discovery Sought

              30.      Prior to the first UK trial, the parties undertook an extensive disclosure/discovery exercise.

                       However, the role of Respondents and Mr. Arusy was concealed by RAKIA at that time

                       and documents within the possession and/or control of Respondents were not included in

                       the search undertaken by RAKIA.




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              31.      Because of the role played by Mr. Arusy and GIS, detailed above, it is clear that

                       Respondents have documents relevant to Mr. Azima’s Amended Counterclaim.                 In

                       particular, the information provided by Mr. Forlit at his depositions for Insight and Gadot

                       demonstrate that Mr. Arusy was part of the inner circle of people who, along with UK

                       Defendants Mr. Gerrard and Mr. Buchanan, Mr. Page, and Mr. Forlit, attended regular

                       “staff meetings” to discuss the investigation. Mr. Forlit estimated that Mr. Arusy met with

                       Mr. Gerrard about the investigation 5-10 times for the investigation into Petitioner and his

                       associates. Mr. Forlit said that Mr. Arusy’s was responsible “analysis and investigations,

                       in-depth investigations.” The bank records corroborate GIS’s role.

              32.      Accordingly, on information and belief, Respondents have information, documents, and

                       material which would provide evidence directly relevant to the issues in Mr. Azima’s

                       Amended Counterclaim, and the information and documents have not yet been disclosed

                       in the UK Proceedings.

              33.      Draft subpoenas detailing the documents and communications sought by Mr. Azima are

                       attached (Exhibit H). In summary, with regard to GIS and Mr. Arusy, Mr. Azima seeks

                       two narrow and discrete categories of documents. First, Mr. Azima seeks documents and

                       communications related to Mr. Azima and his associates, who were the subject of the

                       investigation. Second, Mr. Azima seeks documents and communications related to those

                       who are alleged to be integral members of the conspiracy. With regard to Truist, Mr. Azima

                       simply seeks documents and communications related to the account through which GIS

                       made and received payments from Mr. Forlit’s entities.

              34.      With regard to the requested depositions, Mr. Azima seeks a Rule 30(b)(1) deposition from

                       Arusy and a Rule 30(b)(6) deposition of a company representative of GIS with knowledge



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                       of the investigation into Petitioner and his associates, the subsequent cover-up, and

                       interactions with the UK Defendants and their conspirators, along the lines of the document

                       subpoena.

              35.      For these reasons, it is respectfully requested that this Court grant the Application in its

                       entirety.

              36.      Pursuant to 27 U.S.C. § 1746, I declare under penalty of perjury the foregoing is true and

                       correct.




                       Dated: 5th August 2022

                                                             _________________________________
                                                                         Dominic Holden




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                           EXHIBIT B
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2019 FLORIDA LIMITED LIABILITY COMPANY REINSTATEMENT               FILED
DOCUMENT# L18000049498                                          Oct 11, 2019
Entity Name: GLOBAL IMPACT SERVICES, LLC                     Secretary  of State
                                                               6062628568CR
Current Principal Place of Business:
7999 N. FEDERAL HIGHWAY
SUITE 202
BOCA RATON, FL 33487


Current Mailing Address:
7999 N. FEDERAL HIGHWAY
SUITE 202
BOCA RATON, FL 33487

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:
GOLISH, GLEN
7999 N. FEDERAL HIGHWAY
SUITE 202
BOCA RATON, FL 33487 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: GOLISH GLEN                                                                                                                                                     10/11/2019
                          Electronic Signature of Registered Agent                                                                                                               Date

Authorized Person(s) Detail :
Title                  MGR
Name                   ARUSY, EITAN
Address                7999 N. FEDERAL HIGHWAY, SUITE
                       202
City-State-Zip:        BOCA RATON FL 33487




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered .

SIGNATURE: EITAN ARUSY                                                                                                 MANAGING MEMBER                                    10/11/2019
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
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2020 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT               FILED
DOCUMENT# L18000049498                                          Feb 25, 2020
Entity Name: GLOBAL IMPACT SERVICES, LLC                     Secretary of State
                                                               1204504296CC
Current Principal Place of Business:
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431


Current Mailing Address:
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: Yes
Name and Address of Current Registered Agent:
GOLISH, GLEN
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: GOLISH GLEN                                                                                                                                                     02/25/2020
                          Electronic Signature of Registered Agent                                                                                                               Date

Authorized Person(s) Detail :
Title                  MGR
Name                   ARUSY, EITAN
Address                3010 N MILITARY TRAIL
                       SUITE 318
City-State-Zip:        BOCA RATON FL 33431




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered .

SIGNATURE: EITAN ARUSY                                                                                                 MANAGER                                            02/25/2020
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
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2021 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT               FILED
DOCUMENT# L18000049498                                          Mar 15, 2021
Entity Name: GLOBAL IMPACT SERVICES, LLC                     Secretary of State
                                                               2691769168CC
Current Principal Place of Business:
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431


Current Mailing Address:
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
GOLISH, GLEN
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: GOLISH GLEN                                                                                                                                                     03/15/2021
                          Electronic Signature of Registered Agent                                                                                                               Date

Authorized Person(s) Detail :
Title                  MGR
Name                   ARUSY, EITAN
Address                3010 N MILITARY TRAIL
                       SUITE 318
City-State-Zip:        BOCA RATON FL 33431




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered .

SIGNATURE: ARUSY, EITAN                                                                                                MGR                                                03/15/2021
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
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2022 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT               FILED
DOCUMENT# L18000049498                                          Mar 11, 2022
Entity Name: GLOBAL IMPACT SERVICES, LLC                     Secretary of State
                                                               8617662216CC
Current Principal Place of Business:
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431


Current Mailing Address:
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
GOLISH, GLEN
3010 N MILITARY TRAIL
SUITE 318
BOCA RATON, FL 33431 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: GOLISH GLEN                                                                                                                                                     03/11/2022
                          Electronic Signature of Registered Agent                                                                                                               Date

Authorized Person(s) Detail :
Title                  MGR
Name                   ARUSY, EITAN
Address                3010 N MILITARY TRAIL
                       SUITE 318
City-State-Zip:        BOCA RATON FL 33431




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered .

SIGNATURE: EITAN ARUSY                                                                                                 OWNER                                              03/11/2022
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
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                          EXHIBIT C
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                                                                                       
    





                                                                                                     




                                                                             



                                                                                                    




                               
             
             




                             




                                                                 
                                                                          




                                                                                                          
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                                                                                                 
    REDACTED 




    
                                                                                                                              

          REDACTED                                                   
                  
                  
          REDACTED                                                   
                  
                  

                                                                                                  


    
                                                                                                                             
                                                                                    EDACTED




                                                                                    EDACTED




    




                                                                                                                            




                                                                                                                             
    CONFIDENTIAL                                                                                                     BANA_Azima 000109
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                                                                                                   
    REDACTED 




    
                                                                                                                          

          REDACTED                                               
                  
                  

                                                                                                


    
                                                                                                                         
                                                                                     EDACTED




                                                                                     EDACTED




    




                                                                                                                        




                                                                                                                         
    CONFIDENTIAL                                                                                                 BANA_Azima 000117
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                                                                                                 
    REDACTED 




    
                                                                                                                            
                                                                                  EDACTED




          REDACTED                                                 
                  
                  

                                                                                                  


    
                                                                                                                           
                                                                                   EDACTED




                                                                                   EDACTED




                                                                                   EDACTED




    




                                                                                                                          




                                                                                                                           
    CONFIDENTIAL                                                                                                   BANA_Azima 000123
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                                                                                                 
    REDACTED 




    
                                                                                                                            

          REDACTED                                                 
                  
                  

                                                                                                  


    
                                                                                                                           
                                                                                    EDACTED




                                                                                    EDACTED




    




                                                                                                                          




                                                                                                                           
    CONFIDENTIAL                                                                                                   BANA_Azima 000131
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                                                                                                    
    REDACTED 




    
                                                                                                                          

          REDACTED                                               
                  
                  
          REDACTED                                               
                  
                  

                                                                                              


    
                                                                                                                         
                                                                                      EDACTED




    




                                                                                                                        




                                                                                                                         
    CONFIDENTIAL                                                                                                 BANA_Azima 000137
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                                                                                                  
    REDACTED 




    
                                                                                                                      

          REDACTED                                         
                  
                  
          REDACTED                                           
                  
                  

                                                                                          


    
                                                                                                                     
                                                                                     EDACTED




    




                                                                                                                    




                                                                                                                     
    CONFIDENTIAL                                                                                             BANA_Azima 000151
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                                                                                                   
    REDACTED 




    
                                                                                                                    

          REDACTED                                         
                  
                  
                                                                                    EDACTED




                                                                                          


    
                                                                                                                   
                                                                                      EDACTED




    




                                                                                                                  




                                                                                                                   
    CONFIDENTIAL                                                                                           BANA_Azima 000165
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                                                                                                   
    REDACTED 




    
                                                                                                                           

          REDACTED                                                 
                  
                  

                                                                                                    


    
                                                                                                                           


    




                                                                                      
                                                                                                 


    
    
    
           

           

     
     




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                                                                         Claimant
                                                                         S R Page
                                                                               3rd
                                                                     Exhibit SRP3
                                                             Dated 7 February 2022




    IN THE HIGH COURT OF JUSTICE                      Claim no. QB-2020-002492
    QUEEN’S BENCH DIVISION


    BETWEEN:-


                       STOKOE PARTNERSHIP SOLICITORS
                                                                        Claimant
                                      and


                 (1) MR PATRICK TRISTRAM FINUCANE GRAYSON
                           (2) GRAYSON + CO LIMITED
                          (3) MR STUART ROBERT PAGE
                 (4) PAGE CORPORATE INVESTIGATIONS LIMITED
                                (5) DECHERT LLP
                          (6) MR DAVID NEIL GERRARD
                                                                       Defendants
                       ___________________________________


                         THIRD WITNESS STATEMENT OF
                             STUART ROBERT PAGE
                       ___________________________________



    I, STUART ROBERT PAGE, of 14 Montpelier Road, London, W5 2QP, WILL SAY as
    follows:




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    A.   INTRODUCTION

    1.   I am the same Stuart Page who has made two previous witness statements in these
         proceedings (dated 12 March 2021 and 14 May 2021 respectively). I was formerly the
         Third Defendant to these proceedings.

    2.   I make this statement in connection with the application of Stokoe Partnership Solicitors
         ("Stokoe"), the Claimant, to adjourn the trial in these proceedings, which I understand
         will be determined at a pre-trial review hearing on 11 February 2022. I have therefore
         prepared this statement in a limited time period with limited reference to documents, and
         so it is not as detailed as it could be.

    3.   Subject to this point, and except where I indicate otherwise below, the facts and matters
         set out in this witness statement are within my own knowledge and I believe them to be
         true. Where information has been supplied to me by others, its source is identified and I
         believe it to be true.

    4.   In this witness statement I refer to documents which together comprise exhibit "SRP-3".
         References to page numbers in bold in squared brackets in this witness statement are
         references to that exhibit.

    B.   ENGAGEMENT IN RAS AL KHAIMAH

    5.   In 2008, I was approached by Khater Massaad (“Khater”), the CEO of RAK Ceramics
         who was an adviser to His Highness Saud bin Saqr Al Qasimi ("Sheikh Saud", and later,
         “the Ruler”), then the Crown Prince of Ras Al Khaimah (“RAK”). I was instructed to
         assist Sheikh Saud in a dispute with his half-brother. This engagement came to an end in
         2010 when Sheikh Saud’s father passed away and Sheikh Saud succeeded him as the
         Ruler.

    6.   In 2014, I read a press report that there was an ongoing investigation into financial
         irregularities at RAK Airways. I contacted an associate and asked whether there was
         anything I could assist with. I had a meeting with the Ruler but at first nothing came of
         it. In around January 2015, a meeting was set up between me and Jamie Buchanan
         (“Jamie”) who was then CEO of RAK Development LLC and adviser to the Ruler.
         Shortly afterwards, Jamie and I had another meeting in Dubai and he asked me to assist




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         with an investigation into Khater who it was believed had misappropriated a very
         significant amount of RAK government funds. At that stage, I was instructed to
         investigate Khater’s assets, his connections with Iran, his alleged links to Hezbollah in
         Lebanon and his relationship with Viktor Bout (who was serving a sentence in the US
         for arms trafficking), and to look into whether Khater was working with other members
         of the Ruler’s family to overthrow the Ruler.

    7.   Soon after I received these instructions from Jamie, I instructed Amit Forlit (“Amit”)
         from Insight to assist with the investigation. Amit is a former Israeli intelligence officer,
         formerly of Shin Bet (Israel’s internal security service) and his team had experience of
         working in military intelligence on behalf of the Israeli Defence Force. The project was
         given the codename “Project Beech” which was used between me, Amit and his team.
         The investigation work was undertaken using three main sources of intelligence - human
         intelligence, open-source research, and what is known as SIGINT. SIGINT is a term that
         originates from intercepting communications such as radio signals and tapping a target's
         phone. The term is still widely used in the intelligence community (including the
         commercial investigations industry) to describe the hacking of confidential emails and
         the unauthorised access to other confidential electronic data, to be used as intelligence in
         support of an investigation.

    8.   My main point of contact was Amit, but I know that he used several analysts, some of
         whom were located outside Israel.

    9.   In about June 2015, approximately five months after receiving Jamie's instructions, I
         received a telephone call from Neil Gerrard (“Neil”), a partner in the law firm Dechert
         LLP ("Dechert") in which he said that he was a lawyer instructed by a mutual client, and
         he suggested that we should meet. The following day we met in Dechert’s London office.
         Over the course of the following five years, I met Jamie frequently both in RAK and
         London, and also Neil and Amit on multiple occasions, to discuss various aspects of the
         investigations that I was engaged in, some of which are detailed below. Some meetings
         took place in Dechert’s London office. However, to the best of my knowledge and belief,
         there came a time when Neil was uncomfortable with this as he did not want a written
         record that he was meeting Amit or Amit's team. After this, the meetings took place in
         other locations, such as hotels. Whilst we all did meet together, I know that Neil and
         Amit had a direct line of communication that did not involve me.




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    10.   I was paid around $300,000 per month (sometimes more) for this work from а variety of
          RAK entities. This sum would be subject to occasional uplifts for specific pieces of
          additional work or expenditure which fell outside the scope of my original mandate.
          Approximately $250,000 per month was then paid by me to Amit and Insight for their
          assistance. At various times, Jamie told me that the Ruler was considering cutting my
          budget. However, when I explained to Jamie and Neil that this would involve us losing
          access to some of Amit's sources and methods, Neil and Jamie were successful in
          ensuring that my budget remained at around this level throughout my engagement.

    C.    METHOD OF REPORTING AND COMMUNICATIONS

    11.   Amit and Insight authored monthly reports that spanned from February 2015 to May
          2020. The reports usually included an executive summary, some raw data that had been
          obtained as a result of the investigation, some analysis of the data and recommendations
          and action points. I also recall that some of the reports contained extracts from
          confidential documents, with the document itself appended to or embedded in the report.
          Given the content of these extracts, it was obvious that they had been obtained as part of
          Amit and Insight’s SIGINT work, in other words as a result of unauthorised access to
          computers and other devices.

    12.   Strict protocols for the handling and the sharing of the reports between myself, the Ruler
          and Jamie (and Neil on occasions where Jamie asked me to provide him a copy of
          selected reports) were introduced. The object of the protocols was to ensure that there
          was no paper trail left for others to find and that the reports themselves were destroyed.

    13.   As part of the effort to make sure that the reports were only seen by those who we wanted
          to see them, an email account was created that only Amit, specified members of his team
          and my personal assistant, Caroline Timberlake (“Caroline”) could access. A draft email
          would be prepared with instructions and a copy of the report. The email would never be
          sent, but the report would be downloaded from the draft email account onto a laptop that
          was not connected to any server, printed from a printer which was not connected to a
          network, and the draft message was then overwritten. Amit (or one of his team) then sent
          a secure coded message informing me or Caroline that there was something to be
          reviewed. The coded message would then be deleted.




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    14.   The printed copy of the report would be hand delivered to Jamie for his review, or would
          be left at his hotel when he stayed in London. The Ruler instructed me that I was not to
          send him anything electronically, which meant that I had personally to hand-deliver all
          the reports to him in RAK. I did this as part of our regular private meetings, which took
          place every three to four weeks.

    15.   As for Neil, when Jamie asked me to send the reports to him, I initially sent them via
          courier (or Caroline would hand-deliver them) to Neil or his secretary at Dechert’s office
          in London. However, on one occasion, a report was opened by somebody other than Neil
          or his secretary in Dechert. Given the content of the report, Neil was very concerned and,
          after this, he asked me to send any future reports to his home address in East Sussex.
          Courier receipts and emails relating to the delivery of these reports to Dechert's office
          and Neil’s home address are exhibited at [SRP3/2-22].

    16.   Every few months, Jamie returned the reports to me so that I could destroy them securely,
          which I did.

    17.   Any matters emanating from the reports or wider investigations that required Neil, Jamie
          and I to discuss them would either be discussed face to face or via Confide, and later
          Signal, a secure and encrypted network.

    D. AZIMA MATERIAL

    18.   During one of my regular meetings with Jamie in early 2015 he mentioned Farhad Azima
          (“Azima”). This was the first time I had heard that name. Some time after that, Jamie
          told me that Khater had threatened a negative publicity campaign against the government
          of RAK and the Ruler and asked me to keep my eyes and ears open for anything that
          could be considered damaging to RAK.

    19.   On 22 January 2020, a trial concerning a dispute between Ras Al Khaimah Investment
          Authority (“RAKIA”) and Azima commenced before the High Court in London (the
          "Azima Trial"). On 29 January 2020 I gave evidence at the Azima Trial and exhibit a
          transcript of that evidence [SRP3/23-50]. In my witness statement and testimony at the
          Azima Trial, I stated things that were inaccurate. I have subsequently corrected these
          inaccuracies in an affidavit dated 7 January 2022 that was prepared for an application
          Azima is making before the Supreme Court [SRP3/51-62].




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    20.   In summary, my evidence at the Azima Trial was that links to confidential material
          belonging to Azima, which had been obtained unlawfully and uploaded to the internet,
          had been drawn to my attention in 2016 by a journalist, Majdi Halabi (“Majdi”). That is
          inaccurate. It was in fact Amit who brought the links to the material to my attention.

    21.   However, between the discovery of the material in 2016 and the Azima Trial, once it
          became apparent that RAKIA wanted to rely on this material for its claims against Azima,
          Amit, and later on, Jamie and Neil, had concerns about revealing that Amit had told me
          about the data, and Amit told me that he did not want his name disclosed in legal
          proceedings. Further, there was a concern that it would be politically embarrassing for
          the Ruler if it came to light that an Israeli firm had been working for RAK because, at
          that time, there were no diplomatic relations between the State of Israel and the UAE.
          There followed a series of meetings between Neil, Jamie, Amit and me to discuss how to
          respond to the enquiries from Azima’s legal team as to how the material had been
          discovered by RAKIA. During one of these meetings, Amit suggested that we simply
          introduce another person to the story and say that this person was the one who discovered
          the material. It was against that background that I met Majdi. I discussed the cover story
          with Neil and Jamie and we agreed to meet to work out a plan.

    22.   In October and November 2018, there were two meetings in Cyprus, which were attended
          by Amit, Neil, David Hughes (“David”) (a former colleague of Neil’s at Dechert, where
          both had been partners, but at the time working at Stewarts Law LLP), Majdi, and me, at
          which we agreed that we would proceed with the cover story that Majdi had discovered
          the material. As I recall, Jamie and I travelled together to the first of those meetings, but
          to the best of my recollection he was not present at the second meeting. I also recall that
          David voiced his scepticism as to whether the story was credible, and did not think it
          would work, but Neil made it clear that this was the best way forward and that David
          would have to go along with it.

    23.   As the Azima Trial approached, Amit called me and told me that Neil wanted to meet
          with me, Amit, Majdi and Jamie to go through the evidence that we were to give at the
          Azima Trial. We then settled on Switzerland as the location for the meeting because it
          was convenient for Neil given the time constraints arising from his other work
          commitments. The meeting took place between 1 and 4 December 2019 in a small hotel
          outside Bern in Switzerland. The attendees were Neil, Amit, Majdi and me, and Jamie




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          did not attend. During our stay at the hotel, we went through a mock trial, with Neil acting
          as both judge and cross-examining counsel. This was all done to perfect the cover story
          as to how the hacked material had been discovered. At one point during the time we spent
          together, Neil said to me something to the effect of “if they ever believe or prove that we
          are behind the hacking, then this thing is going to drag on for years.”

    24.   Given the nature of what we were discussing at the hotel, a number of security protocols
          were put in place. I told Neil to leave his mobile phone at home or to switch it off, and I
          provided burner phones for me and him to use. To avoid detection, I did not fly to
          Switzerland but instead took a train via Paris, Strasbourg, Basel and then to Bern.

    E.    RAC MEETING

    25.   Very shortly after I gave evidence in the Azima Trial, I was contacted by Amir Handjani
          (“Amir”), a very close adviser to the Ruler. I had first seen Amir in the court room during
          the Azima Trial and I had given him my mobile number. Amir suggested that we meet
          for a coffee that weekend. On 1 or 2 February 2020, we met in a coffee shop in London’s
          West End for about thirty minutes. One of the topics of conversation during that meeting
          was the litigation that RAK and the Ruler were involved in. A short time after that
          meeting, he contacted me again and said that Neil thought it would be a good idea if the
          three of us met. Neil was a member of the RAC club, a private members’ club on Pall
          Mall, and so we arranged to meet there for breakfast a few days later.

    26.   During that breakfast, one of the topics of conversation that came up was the funding of
          various proceedings involving RAK. We had recently been present at the Azima Trial,
          and the funding of the Azima proceedings had been a topic of conversation for a number
          of years by that point. A few days beforehand, on 28 January 2020, further proceedings
          had been issued by Karam Al Sadeq (“Al Sadeq”) against various defendants, including
          Dechert and Neil, which related to RAK and which had been reported in the press. Neil
          then said words to the effect of “we need you to find out who is funding all of this”. Neil
          and Amir then instructed me to do this. At this stage, I was still receiving my payment
          from RAK and so they paid for whatever investigations I carried out.

    27.   Shortly after the meeting, I instructed Amit to investigate who was funding these cases.
          Neil was aware that I used Amit to carry out these types of investigations and he was
          aware of the type of methods that Amit used, including SIGINT.




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    28.   For completeness, I wish to record that at that stage I did not know about Stokoe's
          representation of Al Sadeq.

    F.    GATWICK SERVICE STATION MEETING

    29.   On my instructions, and based upon what Neil had asked me to do at the RAC meeting,
          Amit produced a report sometime in April or May 2020. I recall that he was sensitive
          about who saw this report.

    30.   I sent the report by Signal to Amir. Neil and I agreed to meet at a service station near
          Gatwick Airport to show him the report. We chose that location because Neil believed
          that he was under surveillance, and that this was somewhere where he could not be easily
          observed covertly.

    31.   I read the report at the time and whilst I cannot now recall the specific contents, I do
          remember that it dealt with how the RAK-related litigation was being funded.

    32.   When I met Neil, I gave him a copy of the report and he read it, but I did not let him take
          the document with him, and I took the report away with me and destroyed it. I do recall
          that Neil did not look surprised or concerned by the contents of the report, which I found
          strange at the time.

    G.    STOKOE PROCEEDINGS

    33.   Some time before I was served in these proceedings, I received a call from Amir who
          told me that, on the Ruler's instructions, I should work with the lawyers defending the Al
          Sadeq proceedings in relation to the allegations that formed part of Al Sadeq’s case about
          surveillance on Stokoe in Dubai. Amir also sent me an extract of the document which
          contained these allegations Although I contacted Enyo Law and discussed the matter
          briefly with Edward Allen, a partner at the firm, nothing further came of it. From what I
          am aware, at that time Enyo Law represented neither the Ruler nor RAK but did represent
          Neil and Dechert in the Al Sadeq proceedings. For the avoidance of doubt, I had no
          involvement in the alleged surveillance of those acting on behalf of Al Sadeq as alleged
          in the Al Sadeq proceedings, and in particular I did not break into the hotel room of one
          of Al Sadeq's solicitors in Dubai.




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       34. Paul Robinson ("Paul") was served with proceedings in a claim by Stokoe on 1 July
             2020. I have known Paul for a long time and we have a friendly professional
             relationship. Shortly after he was served, he sent me some of the documents from that
             claim via Signal, for the reason that I was named in those proceedings. I then sent them
             on to Neil to inform him of what was happening.




    STATEMENT OF TRUTH
    I believe that the facts stated in this witness statement are true. I understand that proceedings
    for contempt of court may be brought against anyone who makes, or causes to be made, a false
    statement in a document verified by a statement of truth without an honest belief in its truth.




    Signed          …………………………………………
                    Stuart Robert Page


    Dated           7 February 2022




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    IN THE HIGH COURT OF JUSTICE                                   Claim no. QB-2020-002492
    QUEEN’S BENCH DIVISION


    BETWEEN:-


                           STOKOE PARTNERSHIP SOLICITORS
                                                                                      Claimant
                                                and


                    (1) MR PATRICK TRISTRAM FINUCANE GRAYSON
                                 (2) GRAYSON + CO LIMITED
                               (3) MR STUART ROBERT PAGE
                   (4) PAGE CORPORATE INVESTIGATIONS LIMITED
                                       (5) DECHERT LLP
                                (6) MR DAVID NEIL GERRARD
                                                                                     Defendants
                            ___________________________________


                                         EXHIBIT SRP3
                            ___________________________________




     ITEM                               EXHIBIT                                       PAGE
       1  Courier receipts and emails relating to the delivery of these reports to    2 - 22
          Decherts and Neil’s home address
       2  Transcript of Stuart Page’s evidence at trial in RAKIA v Azima              23 – 50
       3  Affidavit of Stuart Page dated 7 January 2022 prepared for an               51 – 62
          application by Farhad Azima before the Supreme Court in RAKIA v
          Azima [2021] EWCA Civ 349




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                                                   228
From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     21 April 2016 14:10
To:       Caroline Timberlake
Subject:  Re: Bike to Dechert LLP


Hi Caroline

That's all booked in for you.
Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

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     APEX
This email is confidential. If you are not the intended addressee, you should not read the contents of this email,
disclose them to any other person or use them in any way. Please delete this email from your system and notify the
sender immediately. Thank you for your understanding.



On 21 April 2016 at 14:02 Caroline Timberlake wrote:


Howdo Jignesh, need another bike to Decherts this afternoon please:



Pick up:         Page Group Ltd, 1 Catherine Place, 2 nd Floor, SWlE 6DX



Deliver to:      Neil Gerrard, 160 Queen Victoria Street, EC4V 4QQ - tel: +44 20 7184 7527 Direct/ +44 20 7184 7000 Main



Cheers

C



From: Jignesh Shah [mailto:jignesh.shah@apexcouriers.co.uk]
Sent: 14 April 2016 11:56
To: Caroline Timberlake
Subject: RE: Bike to Dechert LLP



Hi Caroline

I am pleased to confirm this was delivered at 1127 and signed for by 'POST JUNIOR'

                                                                                                  492
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                                         228
Great to have you on board.
Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

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your system and notify the sender immediately. Thank you for your understanding.


On 14 April 2016 at 11 :02 Caroline Timberlake <CTimberlake@pagegroupltd.com> wrote:

Many thanks Jignesh, bike already been and picked up.



Cheers

C




From: Jignesh Shah [mailto:jignesh.shah@apexcouriers.co.uk]
Sent: 14 April 2016 10:51
To: Caroline Timberlake <CTimberlake@pagegroupltd.com>
Subject: Bike to Dechert LLP



Hi Caroline

I am pleased to confirm your bike is booked in and your document should be collected in the next 90 minutes.
This will be £15 all in.

Thank you for choosing Apex.


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                                         228
Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

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From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     10 May 2016 11:04
To:       Caroline Timberlake
Subject:  Re: Bike to Dechert LLP


Hi Caroline

I am well. Hope you are too.

Bike should be with you in 30 next minutes.

Thank you for choosing Apex!

Kind Regards
Jignesh Shah

Tel: +44 207 041 9427

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This email is confidential. If you are not the intended addressee, you should not read the contents of this email,
disclose them to any other person or use them in any way. Please delete this email from your system and notify the
sender immediately. Thank you for your understanding.



On 10 May 2016 at 10:59 Caroline Timberlake wrote:


Howdo Jignesh, need another bike to Decherts today please:




Pick up:         Page Group Ltd, 1 Catherine Place, 2nd Floor, SWlE 6DX




Deliver to:      Neil Gerrard, 160 Queen Victoria Street, EC4V 4QQ - tel: +44 20 7184 7527 Direct/ +44 20 7184 7000 Main




Many thanks.




Cheers

C




                                                                                                  495
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                                                     228
From:      Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:      05 July 2016 11:56
To:        Caroline Timberlake
Subject:   Re: Brussels and UK same day please


Hi Caroline

The bike is booked in for you. Email you the label for Belgium very shortly.
Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Click here to follow us on Linkedin



     I!)
    APEX
This email is confidential. If you are not the intended addressee, you should not read the contents of this email,
disclose them to any other person or use them in any way. Please delete this email from your system and notify the
sender immediately. Thank you for your understanding.



On 05 July 2016 at 11:47 Caroline Timberlake wrote:


Howdo Jignesh, hope alls well. I have been away for a couple of weeks enjoying myself in the US of A (very glad I
wasn't around for the EU referendum crap!!). Please see below, one for Brussels and one for Decherts for this
afternoon please.



Many thanks.

Kind regards,

Caroline



A4 Envelope 1kg to:



European External Action Service,

Field Security Division-MOR Bl (EEAS CORT 02/515),

For the attention of Mr Peter Cavendish,

9A Rond Point Schuman,

1046 Brussels



                                                                                            496
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                                        228
Belgium



Ref: May June Inv



Tel+3225843203




And same day to the usual place please:



Pick up:        Page Group Ltd, 1 Catherine Place, 2nd Floor, SWlE 6DX

Deliver to:    Neil Gerrard, 160 Queen Victoria Street, EC4V 4QQ- tel: +44 20 7184 7527 Direct/ +44 20 7184 7000 Main




Many thanks.

Cheers




                                                                                              497
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                                                   228
From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     16 September 2016 11:51
To:       Caroline Timberlake
Subject:  Re: London pick up and delive1y asap


Hi Caroline

No worries. Should be with you in the next hour.
. Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

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     APEX
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sender immediately. Thank you for your understanding.



On 16 September 2016 at 11:42 Caroline Timberlake wrote:


Howdo Jignesh,

 Need pick up and delivery in London asap if possible

 Pick up: 1 Catherine Pl ace, 2 nd Floor, SWlE 6DX

 Delivery 1: A4 envelope; 1kg

 Neil Gerrard
Partner

Dechert LLP
+44 20 7184 7672 Direct
+44 7506 910 526 Mobile

 Cheer s

C




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                                                   228
From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     21 September 2016 13:31
To:       Caroline Timberlake
Cc:       customer.services@apexcouriers.co.uk
Subject:  Re: London pick up and delivery asap


Thanks, Caroline.

A rider should be with you in 60 mins.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427


     I!)
    APEX
I am running this year's Royal Parks Half Marathon for World Child Cancer. My fundraising pledge could
pay for a life-saving dose of chemotherapy for 7 children with cancer in Ghana. To donate, please visit my
fundraising page here.
This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.




On 21 September 2016 at 13:22 Caroline Timberlake wrote:


Howdo Jignesh/Shane

Need pick up and delivery in London asap:

Pick up: 1 Catherine Place, 2 nd Floor, SWlE 6DX

Delivery 1: A4 envelope; 1kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct
+44 7506 910 526 Mobile

Many thanks.

Cheers




                                                                                                         499
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                                                   228
From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     27 September 2016 15:10
To:       Caroline Timberlake
Subject:  Re: London pick up and delivery asap


Hi Caroline

This is booked in for you. Collection within 60 minutes.

Kind Regards

Jignesh Shah
0207 041 9427

On 27 Sep 2016, at 15:02, Caroline Timberlake <CTimberlake@pagegroupltd.com> wrote:


Howdo Jignesh/Shane

Need pick up and delivery in London before 5pm please

Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

Delivery 1: A4 envelope; 1kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct
+44 7506 910 526 Mobile

Many thanks.

Cheers

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                                                   228
From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     10 October 2016 13:41
To:       Caroline Timberlake
Subject:  Re: London pick up and delivery x 2


Hi Caroline

All good with me. Hope you're well? These are booked in to be collected in the next hour for you.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427


      I!)
      APEX
I am running this year's Royal Parks Half Marathon in support of World Child Cancer. Did you know for
just £4 they could provide a child with life saving chemotherapy? To make a small contribution, feel free to
visit my fundraising page here.
This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.




On 10 October 2016 at 13:26 Caroline Timberlake wrote:


Howdo Jignesh/Shane

Need pick up and delivery in London by end of today please:

Pick up: 1 Catherine Place, 2 nd Floor, SWlE 6DX

Delivery 1: A4 envelope; 1kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct
+44 7506 910 526 Mobile

AND

Delivery 2: A4 envelope; .Skg

F.A.O.: JAMES SMITH
Strictly Private & Confidential

                                                                                                         501
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                                         228

c/o Hyatt Regency London - The Churchill
30 Portman Square
London
England
WlH 7BH
Tel: +44 (0) 20 7486 5800

Many thanks.

Cheers

C




                                                                      502
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                                                   228
From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     21 October 2016 11:07
To:       Caroline Timberlake
Subject:  Re: Urgent London pick up and delivery


Hey Caroline

This is booked in for you. Delive1y by Noon is going to be really tough but I will see what can be done.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427


      I/)
      APEX
I am running this year's Royal Parks Half Marathon in support of World Child Cancer. Did you know for just £4 they could
provide a child with life saving chemotherapy? To make a small contribution, feel free to visit my fundraising page here.

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any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.




On 21 October 2016 at 10:51 Caroline Timberlake wrote:




Happy Friday Gents, could I get a bike asap pretty please, needs delivering before MIDDAY if at all possible.

a4 envelope; 0.5kg; docs

To:

NEIL GERRARD

Dechert LLP
160 Queen Victoria Street
London EC4V 4QQ

+44 20 7184 7672 Direct

+44 7506 910 526 Mobile
+44 20 7184 7000 Main

Many thanks.

Cheers

C




                                                                                                         503
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                                                    228
From:     Jignesh Shah <:jignesh.shah@apexcouriers.co.uk>
Sent:     02 December 2016 09:54
To:       Caroline Timberlake
Subject:  Re: London pick up and delivery


Hi Caroline

Happy Friday!

Will have someone with you in the next hour.

Kind Regards

Jignesh Shah

Tel: .+44 207 041 9427


     I!)
    APEX
Please note our new address is Suite 4 Joanna House, 34 Central Road, Worcester Park, KT4 8XZ

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any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.




On 02 December 2016 at 09:45 Caroline Timberlake wrote:


Howdo,

Need pick up and delivery in London by 2pm today please:

Pick up: 1 Catherine Place, 2 nd Floor, SWlE 6DX

Delivery 1: A4 envelope; 1kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct


Many thanks.

Cheers

C




                                                                                                         504
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                                                   228
From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     12 December 2016 15:25
To:       Caroline Timberlake
Subject:  Re: London pick up and delive1y


Hey Caroline

That's all booked in for you. Someone will be with you in the next 60-90 minutes.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427


    ti)
    APEX
Please note our new address is Suite 4 Joanna House, 34 Central Road, Worcester Park, KT4 8XZ

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any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.
On 12 December 2016 at 15:19 Caroline Timberlake wrote:


Howdo,

Need pick up and delivery in London this afternoon please:

Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

Delivery 1: A4 envelope; 0.2kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct


Many thanks.

Cheers

C




                                                                                                         505
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                                                   228
From:     Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:     21 December 2016 14:12
To:       Caroline Timberlake
Subject:  Re: London pick up and delivery


Hi Caroline

That's booked in to be collected in the next hour for you!

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Do have a look at our short introductory video!


     I/)
    APEX
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any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.
On 21 December 2016 at 14:08 Caroline Timberlake wrote:


Howdo,

Need pick up and delivery in London this afternoon please, before 4.30pm if poss please.

Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

Delivery: A4 sized box; 6cm wide approx.; 2kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct


Many thanks.

Cheers

C




                                                                                                         506
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                                                      228
 From:       Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
 Sent:      21 December201616:11
 To:         Caroline Timberlake
 Subject:    Re: ANOTHER urgent London pick up and delivery


 Its booked! Can't guarentee timings but will do our best.

 Kind Regards

 Jignesh Shah

 Tel: +44 207 041 9427

 Do have a look at our short introductory video!


      ti)
      APEX
  This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
  any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
· you for your understanding.
 On21 December2016 at 16:07 Caroline Timberlake wrote:


 Thanks Jignesh, good to talk to you earlier.



 Afraid need another pick up this afternoon to go to Dechert's again, is that possible please.



 A4 Envelope; 0.3kg; Document

 Neil Gerrard
 Partner

 Decherts

 160 Queen Victoria Street

 London EC4V 4QQ
 Dechert LLP
 +44 20 7184 7672 Direct




 Cheers

 C




 From: Jignesh Shah [mailto:jignesh.shah@apexcouriers.co.uk]
 Sent: 21 December 2016 14:12
 To: Caroline Timberlake
 Subject: Re: London pick up and delivery


                                                                                                           507
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                                          228


Hi Caroline

That's booked in to be collected in the next hour for you!

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Do have a look at our short introductory video!




                     APEX
This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.
On 21 December 2016 at 14:08 Caroline Timberlake <CTimberlake@pagegroupltd.com> wrote:

Howdo,

Need pick up and delivery in London this afternoon please, before 4.30pm if poss please.

Pick up: 1 Catherine Place, 2 nd Floor, SWlE 6DX

Delivery: A4 sized box; 6cm wide approx. ; 2kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct


Many thanks.

Cheers



                                                                                                         508
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                                                     228
From:        Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:        13 Februa1y 2017 16:00
To:          Caroline Timberlake; Shane Hawke
Subject:     Re: UK delivery
Attachments: Page group UK 130217 .pdf


Hey Caroline

This is booked in for you. Page 1 on the package and page 2 to the driver please.

Have a nice evening!

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427



On 13 Februa1y 2017 at 15:48 Caroline Timberlake wrote:


Howdo, need UK delivery please, needs to be there tom01rnw morning if possible please



A4 envelope, docs; 0.5kg



NEIL GERRARD

HUNTERS FARM

NUTLEY

EAST SUSSEX

TN22 3LS



Tel: +44 7506 910 526


Cheers

C




                                                                                        509
          Case 9:22-mc-81229-DMM Document 1-2 Entered on FLSD Docket 08/08/2022 Page 137 of
                                               228
F,om: PAGE GROUP LTD                                                   Origin:
      CAROLINE ltMBERl.AKE 02079309200
      CATttERINE Pt.ACE 1
      2NDFLOOR
                                                                       LON
      SW1E 60X LONDON
      GB United Kingdom


fro,   NEIL GERRARD                                       ���,��fuwm -,
       HUNTERS FARM                                       07506910526




  TN22 3LS NUTLEY
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Account No 417414782
Ref code PAG007                                      0.50 kg 1 / 1
DOCUMENT




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                    (J) JD01 3054 7867 6430 4875




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     Case 9:22-mc-81229-DMM Document 1-2 Entered on FLSD Docket 08/08/2022 Page 138 of
                                                      228
From:        Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:        17February 2017 15:51
To:          Caroline Timberlake
Subject:     Re: UK delivery
Attachments: Page Group SAturday delivery Nutley 170217.pdf


Hey Caroline

This is booked in for collection today for you. The label is attached.

Have a nice weekend!

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Mob: 07530 848242



On 17February 2017 at 15:26 Caroline Timberlake wrote:


Howdo, another UK delivery please, needs to be there tomorrow morning if possible please

A4 envelope, docs; 0.5kg

NEIL GERRARD

HUNTERSFARM

NUTLEY

EAST SUSSEX

TN22 3LS

Tel: +44 7506 91 O 526
Cheers

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                                         228



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                                     228
 January 29, 2020                         Ras Al Khaimah Investment Authority v Farhad Azima                                                     Day 6




    1       nothing in Hebrew about this matter.                            1   Q. No, perhaps that ’ s your business address. I apologise .
    2   MR TOMLINSON: Thank you. May this witness be released?              2        The business address.
    3   JUDGE LENON: Yes. Thank you, Mr Halabi.                             3   A.   It ’ s The Sanctuary and it ’ s - - shall I give the full
    4   A. Thank you, my Lord.                                              4        address? It ’ s The Sanctuary, Westminster, SW1.
    5   MR TOMLINSON: My Lord, before calling the next witness,             5   Q. Could you look - - there should be a bundle there in
    6       I want to make sure how we’re doing in timetabling terms        6        front of you labelled ”D”, and then if you go to tab 3.
    7       because we’ve put Mr del Rosso off until tomorrow. The          7        {D/3/1} --
    8       position is that Mr King can only do tomorrow morning,          8   A. Correct , yes, I have it , yes.
    9       Mr Leach can’t do tomorrow morning and --                       9   Q. - - that should be a document that says ”Witness
   10   MR LORD: Sorry, my Lord, I ’ m eight minutes ahead of time or      10        statement of Stuart Robert Page” on the first page.
   11       ten minutes which is unusual, so I ’ ve made a little bit      11   A. Yes.
   12       of time.    I would anticipate that I won’t need more          12   Q. Then if you turn to page {D/3/7}, is that your
   13       than - - I don’t think I will need more than an hour with      13        signature?
   14       Mr Leach and I would estimate roughly half a day - - it        14   A. That is my signature, my Lord.
   15       might be longer - - with Mr Page. So I ’ m trying to           15   Q. Are there any matters in that statement that you wish to
   16       finish both Mr Leach and Mr Page today. I hope to be           16        correct or clarify , Mr Page?
   17       able to do that .   But if my learned friend wants to call     17   A. Yes, there are .
   18       Mr Leach first to be sure that he can get away today,          18   Q. Do you want to indicate what they are?
   19       because Mr Page could come back tomorrow if required,          19   A. In reference to my police service , which is on
   20       then that would be fine as far as we’re concerned. But         20        ”Background” at 3, the date I left the police was 1978,
   21       I ’ m in your Lordship’s hands and those of my learned         21        not 1979 {D/3/2}.
   22       friend , of course, whose evidence he is calling .             22   Q. Thank you.
   23   MR TOMLINSON: Unfortunately I don’t have Mr Leach here at          23   A. And there is a reference , my Lord, to the name of my
   24       the moment.                                                    24        company in Dubai. It ’ s actually called ”Page Group
   25           My Lord, the possibilities are I think that Mr Leach       25        Middle East FZE”.   I think it ’ s in the statement as

                                    49                                                                       51

    1       is interposed in Mr Page’s evidence at , say, 3.00, if my       1        ”SZE”.
    2       friend thinks - - or 3.30 if my friend thinks he will be        2             The other part of my statement, my Lord, is where
    3       an hour or that we put Mr Leach off till - - I think he         3        I talk about reference to reviewing documents, but then
    4       can do tomorrow afternoon.                                      4        I mention in my statement, my Lord, that I did not - -
    5   MR LORD: My Lord, I was expecting to deal with - - I spoke          5        I ’ m not familiar with the name of Farhad Azima.
    6       to my learned friend about this yesterday - - I was             6   Q. And what did you want to correct in relation to that ,
    7       expecting to deal with Mr Page and Mr Leach today, so           7        Mr Page?
    8       I would prefer to start with Mr Page, as planned, and           8   A. Having been shown a report which was prepared by my
    9       interpose Mr Leach if necessary, but if I finish Mr Page        9        firm , I ’ m now aware that I was -- should have been
   10       in time, with an hour to go, then we can just go on in         10        familiar with that name.
   11       the normal way and he will be away this afternoon.             11   Q. What report is that?
   12   JUDGE LENON: Let’s carry on on that basis .                        12   A.   It ’ s a report which I was shown by the -- by
   13   MR TOMLINSON: If we revisit at the break in the afternoon.         13        Stewarts Law.
   14       I ’ m certainly going to call Mr Page next.    I just wanted   14   Q. I ’ m sorry, Mr Page?
   15       to ensure what we were going to do about Mr Leach.             15   A. Sorry, my Lord, I was asked to look at a document by
   16   JUDGE LENON: That’s very helpful .    Thank you.                   16        Stewarts Law and asked to confirm whether that was my
   17   MR TOMLINSON: So, my Lord, I call Mr Page.                         17        report or not.
   18                    MR STUART ROBERT PAGE (sworn)                     18   Q. Can you be shown {H7/298} please? It is {H7/299}, the
   19                  Examination-in-chief by MR TOMLINSON                19        next page. Sorry.     Is that the document you are
   20   MR TOMLINSON: Could you give the court your address,               20        referring to?
   21       Mr Page?                                                       21   A. That is the document, my Lord.
   22   A. Number 14 -- sorry, my business address, your Honour, or        22   Q. And sorry, Mr Page, what’s your evidence about that
   23       my home address?                                               23        document?
   24   Q. I think your home address is on the witness statement.          24   A. Well, I was not - - when I prepared my witness statement,
   25   A. Right , number 14 --                                            25        my Lord, I was not - - did not recall that we submitted

                                    50                                                                       52




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                                     228
 January 29, 2020                         Ras Al Khaimah Investment Authority v Farhad Azima                                                Day 6




    1       this report to the client in which Farhad Azima’s name        1   Q. And it looks from paragraphs 1 and 5 as if the
    2       is quite clearly given .                                      2        businesses are Page Corporate Investigations Limited - -
    3   Q. Thank you. Is there anything else that you wish to             3        is that right ?
    4       clarify or correct in your statement, Mr Page?                4   A. That is correct , my Lord, yes.
    5   A. No, my Lord.                                                   5   Q. - - and Page Protective Services Limited?
    6   MR TOMLINSON: Thank you, Mr Page. If you wait there , there       6   A. That is correct , my Lord.
    7       will be some questions.                                       7   Q. And those are both English companies -- well , English
    8   JUDGE LENON: Can I just be clear what part of the statement       8        and Welsh companies, are they?
    9       you want to correct?                                          9   A. Well, there is a Page Protective Services in Cyprus and
   10   A. Sorry, my Lord, it was the reference to my police             10        there is a Page Protective Services in Hong Kong.
   11       service .                                                    11   Q. So when you say ”based in England”, what do you mean by
   12   JUDGE LENON: You’ve done that. In relation to Mr Azima, is       12        that in paragraph 1?
   13       it paragraph 13?                                             13   A. Well, the company that was performing the contract for
   14   A. Yes, paragraph 13. Yes, my Lord. {D/3/4}.                     14        the European Commission in -- well, sorry , the company
   15   JUDGE LENON: So what do you want to say instead of that?         15        that was performing the contracts for the European Union
   16   A. Well actually what I ’ m saying, my Lord, is of course        16        was Page Protective Services UK.
   17       I should have remembered the name, but at the time           17   Q. What about the company which did the work in this case?
   18       I prepared my statement in June of 2019 I could not          18   A. Page Group Middle East.
   19       recall Farhad Azima’s name.                                  19   Q. That’s a Dubai company, is it ?
   20   MR TOMLINSON: And that was the result of having been shown       20   A.   It ’ s a Dubai -- what they call a ”DMCC company”.
   21       that document, the RAK project update?                       21   Q. Apart from the matters that you refer to in your witness
   22   A. That is correct , my Lord, yes.                               22        statement, do you or any of your companies or firms - -
   23   MR TOMLINSON: Thank you, Mr Page. If you wait there , there      23        do they do any other work for any RAK-related entity?
   24       will be some questions.                                      24   A. I ’ m sorry, my Lord, I don’t understand the question.
   25   MR LORD: My Lord, I’ve raised this with my learned friend ,      25   Q. Well, apart from the work that you’ve explained in your

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    1       but in view of the matters I am going to be putting to        1        witness statement in paragraphs 1 and 5 {D/3/1-2} and
    2       Mr Page, I thought I should raise with him whether it         2        then the work that you’ve described starting at
    3       may become appropriate for him to be given any sort of        3        paragraph 13 {D/3/4} -- 12 and 13 - - have you or any of
    4       warning about the privilege against self -incrimination .     4        your businesses done any other work for RAK, the Ruler,
    5       I ’ m not saying that I advocate that , but I just wanted     5        any RAK entity?
    6       to make sure that that was something that I had at least      6   A. Yes, prior to this project , yes.
    7       broached in case your Lordship or my learned friend or        7   Q. Are any of the companies that you identify in this
    8       somebody thought that at some point in my questioning,        8        statement of yours - - are any of those licensed or
    9       if at all , that was an appropriate warning that should       9        regulated in any way?
   10       be given to this witness.   I didn’t want it to be said      10   A. Well, there is no regulation in the United Kingdom
   11       that I had crashed on in my forensic eagerness and had       11        regarding security companies providing security in
   12       not allowed that to be considered. So I ’ m not              12        hostile environments. We are signatories to the code of
   13       suggesting it or advocating it .   I just thought I ought,   13        conduct, which is part of the UN Charter on how you
   14       as a matter of sort of good order, really , to flag that ,   14        operate in conflict zones. There is no requirement to
   15       my Lord.                                                     15        be a licensed investigation company in this country. In
   16   JUDGE LENON: Thank you.                                          16        Israel , where I operate, I do have a security licence
   17                   Cross-examination by MR LORD                     17        issued by the Government of Israel , as I do in
   18   MR LORD: Mr Page, I’m going to ask you first about the           18        Palestine .
   19       nature of your relevant businesses, if I may.                19   Q.   If we go to paragraph 5 of your witness statement
   20           Have you got your witness statement there , Mr Page?     20        {D/3/2}, where you’re explaining the Page Group, and you
   21   A. Yes, I do, my Lord.                                           21        set out some companies there. Can you see - - you say
   22   Q. In paragraph 1 and paragraph 5 you set out the                22        ”Page Protective Services Limited ”.   It looks as if that
   23       businesses which you say are relevant to the matters in      23        does security and Page Corporate Investigations Limited
   24       this dispute , don’t you {D/3/1-2}?                          24        does the investigation work; is that right ?
   25   A. Yes, my Lord.                                                 25   A. That is partially correct , yes.

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    1   Q. Because you say there they focus respectively on (1)           1       right ?
    2        providing security services and (2) undertaking              2   A. No, I was in the force for eight years, my Lord.
    3        investigations and due diligence .                           3   Q. Then you said in paragraph 4:
    4   A. That would be correct , my Lord, yes.                          4              ” I left the police in [1978] in order to take
    5   Q. And would it be right to say that the investigative work       5       a career break and went to work in Saudi Arabia as
    6        that you did in this case in 2015 and 2016 in relation       6       a security and investigations adviser in the
    7        to RAK or RAKIA, that was carried out through                7       construction and oil industry .    I returned to the UK in
    8        Page Corporate Investigations Limited?                       8       around 1983 ...”
    9   A. No, that is not correct , my Lord.                             9              Can you see that?
   10   Q. Through which Page entity did you carry that work out?        10   A. Yes.
   11   A. Page Group Middle East Limited, which is a wholly owned       11   Q. What prompted you to take a career break from the police
   12        subsidiary of Page Group Hong Kong.                         12       force in 1978?
   13   Q. And you’ve said in paragraph 6 of your witness statement      13   A. My Lord, in 1978, as a young detective , I was working in
   14        at page {D/3/2} -- you’re explaining the investigation      14       the region of 60 to 70 hours a week. The opportunity
   15        side of your business, aren’ t you?                         15       came to go and work in the Middle East with a tax- free
   16   A. That is correct , my Lord.                                    16       salary which was twice that which I was earning in the
   17   Q. And you say about six lines down:                             17       police service , and the rule at that time within the
   18            ”We do not generally work directly for law firms .”     18       police service is that you could take a career break, if
   19            Can you see that?                                       19       you rejoined the service within five years, you
   20   A. Yes, that is correct , my Lord.                               20       maintained all your pension contributions and you could
   21   Q. Is that because, Mr Page, law firms would generally not       21       rejoin without the need to be retrained .    And it was
   22        be comfortable with your methods of investigation ?         22       always my intention, my Lord, to rejoin the police
   23   A. That is not correct , my Lord.                                23       service when I finished working in Saudi Arabia.
   24   Q. So why would it be that you don’t generally work              24   Q. But in the event you did not rejoin the police force?
   25        directly for law firms?                                     25   A. I did not.

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    1   A. Because I - - getting instructed , it is the norm that         1   Q. No. Could you please go to paragraph 8 of your witness
    2        I get instructed with a client that has a problem, an        2       statement at {D/3/3}?
    3        issue , and he would ask me to work alongside his legal      3   A. Yes, I have that .
    4        team in gathering information for their - - in support of    4   Q. You can see in paragraphs 8 to 9 you give some evidence
    5        their litigation .                                           5       about your initial engagement in Ras Al Khaimah. Can
    6   Q.   If you go, please , to paragraph 3 of your witness           6       you see that , Mr Page?
    7        statement, Mr Page, at {D/3/2}, you explain how you          7   A. I can see that , my Lord.
    8        began your career in the police force , 1970 to 1979,        8   Q. Have you read your statement recently , your witness
    9        first in Sussex and subsequently the                         9       statement?
   10        Metropolitan Police .   Can you see that?                   10   A. I have been reading it fairly consistently , my Lord,
   11   A. Correct , yes. That’s correct .                               11       yes.
   12   Q. And you say:                                                  12   Q. Since when have you been reading it consistently ?
   13            ”Towards the end of my time in the police I was         13   A. In preparation for this trial , my Lord.
   14        seconded to Scotland Yard’s Anti- Terrorist Squad and       14   Q. And when do you think you first started reading it by
   15        Special Branch during the period of the Troubles in         15       way of preparation for the trial ? How far ago, how long
   16        Northern Ireland .”                                         16       ago?
   17            To what rank did you rise , Mr Page, when you were in   17   A. Well, my Lord, I just recently returned from a trip to
   18        the police?                                                 18       the Far East and I took it with me to read so I could
   19   A.   Police constable .                                          19       refresh my memory on the testimony that I will be giving
   20   Q. So you were police constable throughout your time in the      20       for your court .
   21        force , were you?                                           21   Q. So what’s the answer to my question? Approximately
   22   A. I was a police constable , yes.                               22       when -- how long ago did you first re-read this
   23   Q. You were never in fact promoted, were you, then?              23       statement of yours that you’ve given in the middle of
   24   A. I never sought to be promoted.                                24       last year? Two weeks? Three weeks?
   25   Q. And you were in the force for nearly ten years; is that       25   A. Well, I left for Hong Kong a week ago last Monday.

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    1        I took it with me then. I would have been shown it by         1       Sheikh Zayed of Abu Dhabi.
    2        the solicitors for the client because of the mistake          2           So my instructions were that the information that
    3        I made regarding the report on - - when -- Mr Azima’s         3       I - - or the brief that I received was to ascertain
    4        name. So it ’ s not a very long statement, my Lord.           4       whether Sheikh Khalid was intending to try and - - not
    5        I would have refreshed my memory as and when.                 5       de-throne, but to reappoint himself as a Crown Prince.
    6   Q. And when did you first appreciate that there were               6   Q. So there was potentially going to be a challenge to the
    7        matters in the statement that you ought to correct?           7       current Ruler and you helped him in that regard?
    8   A. When -- well , first of all when I read that I got the          8   A. Well, there was a challenge to the current Ruler.
    9        date of leaving the police service wrong; more recently       9   Q. And you were retained by or on behalf of the then
   10        when I became aware that I got the name of my company or     10       current Ruler?
   11        the designation of the company in Dubai wrong; and of        11   A. No, I was retained by Khater Massaad in his position as
   12        course, when I was shown this report on the screen here,     12       chairman of RAK Ceramics, who in turn was reporting to
   13        where obviously I should have been aware of                  13       His Highness Sheikh Saud.
   14        Farhad Azima’s name.                                         14   Q. Could you be shown, please, {Day2/85:1}? Mr Page,
   15   Q. So the first time you thought you ought to revise this         15       you’ ll see starting at paragraph 9 - - on Day 2,
   16        statement was when Stewarts Law showed you a copy of the     16       page 85 - -
   17        project update that you’ve referred to this morning?         17   A. Yes, I can see it , my Lord.
   18   A. That is correct , my Lord.                                     18   Q. - - Mr Buchanan was asked about certain matters
   19   Q. And had that not been shown to you, it ’ s unlikely you        19       pertaining to you. And he said at line 9:
   20        would have sought to revise your evidence in that            20           ”Answer: Mr Page had worked for the RAK Government
   21        regard, isn ’ t it , Mr Page?                                21       previously .”
   22   A. My Lord, I would like to , if I may, put into context          22           And I asked him.
   23        what was going on in my life in June of 2019 when            23           ”Question: Doing what?”
   24        I prepared this report .                                     24           And he said:
   25               In August of 2019 I was diagnosed with clinical       25           ”Answer: I believe it was during the time of - -

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    1        depression, which takes me back to June of 2019, where        1       there was certain dissent taking place over the
    2        my psychiatrist is clear that I would have been               2       leadership at RAK, and I believe it was at that time
    3        suffering from depression at that point .    Therefore, my    3       that Mr Page worked for His Highness who was then
    4        Lord, with respect , my recollection of events that           4       Crown Prince.”
    5        occurred some four years previously was slightly shaded.      5           And I said .
    6   Q. Could you please look at paragraphs 8 to 9 of your              6           ”Question:     ... So Mr Page worked for the
    7        witness statement {D/3/3}?                                    7       Crown Prince before he took over as Ruler of RAK?”
    8   A. Yes.                                                            8           And Mr Buchanan said:
    9   Q. You’re referring there , aren’ t you, to some work that         9           ”Answer: That is speculation on my part because
   10        you did from 2008 to 2010 for the current Ruler of           10       I was not involved at the time .”
   11        Ras Al Khaimah?                                              11           Was Mr Buchanan right to be giving evidence that you
   12   A.   It was on behalf of the current Ruler of Ras Al Khaimah,     12       were involved in relation to certain dissent within
   13        yes.                                                         13       Ras Al Khaimah at around that time?
   14   Q. Yes, when he was the Crown Prince?                             14   A. I ’ m sorry, my Lord, I didn’t quite understand the
   15   A. That is correct , my Lord.                                     15       question. Again?
   16   Q. And it ’ s right , isn ’ t it , that there was something of    16   Q. What were you doing, Mr Page? What were doing at that
   17        a struggle for power within Ras Al Khaimah around that       17       time? What was the remit? What were you doing?
   18        time?                                                        18   A. Okay, so the remit was to try and ascertain what plans
   19   A. I would not, my Lord, describe it as a ” struggle for          19       Sheikh Khalid had to try and destabilise His Highness’
   20        power”.                                                      20       position as the Crown Prince of Ras Al Khaimah.
   21   Q. So what was the work that you did at that time in terms        21   Q. And what did you do in terms of investigating or
   22        of investigation services?                                   22       ascertaining what those plans were or might be?
   23   A. So, my Lord, His Highness Sheikh Saud had been appointed       23   A. We conducted surveillance in London. My Lord, I ’ m not
   24        Crown Prince after his half -brother had been removed        24       quite sure that it ’ s appropriate to talk about what is
   25        from that position on instructions of the late               25       a confidential matter between myself and His Highness

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    1       unrelated to Khater Massaad, but if you instruct me to       1   A. My Lord, His Highness Sheikh Saud has his own sources of
    2       do so, I will do so.                                         2       information.      I was just one of those sources of
    3   JUDGE LENON: Will you answer the question, please?               3       information, carrying out the instructions given to me
    4   A. Okay. So we were undertaking intelligence -gathering,         4       by Khater Massaad to try and understand -- for example,
    5       trying to understand what his plans were, who he was         5       my Lord, we followed Sheikh Saud [ sic ] to Geneva because
    6       meeting with, how he was being supported, what his PR        6       we believed that he was going to attend an important
    7       campaign was, and things along those lines .                 7       meeting in Geneva. That is a very complicated and very
    8   MR LORD: You did that for how long? Over what period?            8       expensive operation and it was successful .
    9   A. To the best of my knowledge and my belief, my Lord --         9               We followed him to the United States for the
   10       well , it was at least two -- I presume two years prior     10       inauguration - - where he went to the inauguration of
   11       to the death of the Ruler.                                  11       President Obama. He also met Hillary Clinton , so we
   12   Q. And what form did the surveillance and monitoring that       12       were understanding how he was trying to elicit support
   13       you’re describing - - what form did that take? How did      13       from the United States for his potential attempt to
   14       you actually carry it out?                                  14       regain power or -- correct - - to regain his position in
   15   A. Well, at that time, Sheikh Khalid was living - - or still    15       Ras Al Khaimah as the Crown Prince.
   16       does, I believe - - living in Kensington, so we were        16   Q. Sorry, Mr Page, when you said that the Sheikh had his
   17       physically putting him under surveillance .                 17       own sources of information, what were you there
   18   Q. You had people following him?                                18       referring to?
   19   A. That is correct , my Lord.                                   19   A. I presume, my Lord, coming from sources within - -
   20   Q. And were there any other forms of intelligence -gathering    20       sources within Ras Al Khaimah.
   21       that you used?                                              21   Q. Mr Page --
   22   A. No, the purpose was -- is to understand who his advisers     22   A. But, my Lord, I never met His Highness during the whole
   23       were. So the purpose of physical surveillance was to        23       engagement on this issue .     In fact , the first time I met
   24       see who he met, where he went and nothing else, my Lord.    24       His Highness is when he instructed me in relation to the
   25   Q. Mr Page, just seeing where the Sheikh went and who he        25       issue before the court now -- correction , the matter of

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    1       spoke to , who he met, that wouldn’t tell you, would it ,    1       Khater Massaad.
    2       what he was talking about, what his plans were? That         2   Q. Mr Page, you would have wanted, wouldn’t you, to obtain
    3       would just tell you his physical movements, wouldn’t it,     3       what was likely confidential information at that time in
    4       Mr Page?                                                     4       order to be able to tell - - to inform the Sheikh - -
    5   A. My Lord, with respect , if you conduct surveillance in        5       sorry , the Ruler - - about the Sheikh’s plans?
    6       a proper manner, you are able to determine what someone      6   A. By ” confidential information”, what are you referring
    7       is meeting with because the whole purpose of                 7       to?
    8       surveillance - - and it was a very large surveillance        8   Q. You’d want information from people who were on the
    9       operation - - is you would have multiple teams, and the      9       inside , as you would see it , of the Sheikh’s gang,
   10       architect of a multiple team is if Sheikh Khalid met        10       wouldn’t you? That’s what you’d want, isn ’ t it ,
   11       Mr A and we didn’t know who Mr A was, we would then         11       Mr Page?
   12       follow off - - a part of the team would follow off Mr A     12   A. That is correct .
   13       to ascertain who he was.                                    13   Q. You’d want some inside information, wouldn’t you,
   14           So from memory -- and it ’ s a long time ago, my        14       Mr Page?
   15       Lord - - he had a lawyer representing him, so we needed     15   A. That is correct , my Lord.
   16       to find out - - we identified who that lawyer was. He       16   Q. And are you telling his Lordship that over the period of
   17       had a PR company representing him. We found out who         17       two years, all you did was physically tail these people
   18       that was. And we at one point - - I think , my Lord, from   18       and you didn’t actually obtain any inside information at
   19       memory, we followed him to the Israeli Embassy.             19       all ?
   20   Q. So, so far you’ve got the Sheikh, you’ve got the PR          20   A. Not at all , my Lord. In fact we developed intelligence
   21       company, the lawyer and the Israeli Embassy. That’s         21       that Sheikh Saud [ sic ] and/or his wife were involved in
   22       four bits of information. That doesn’t allow you,           22       a number of industrial tribunal cases before the courts
   23       Mr Page, does it , to ascertain what the plans are? How     23       in England, involving members of his entourage who had
   24       do you know what the plans are? They may be just having     24       sued him for unfair dismissal .     We then cultivated those
   25       a lunch at the Israeli Embassy.                             25       people as what we call a ” confidential source” to know

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    1        what they knew about his plans in respect of                   1       Ras Al Khaimah had illegal , unsavoury relationships with
    2        Ras Al Khaimah. So they were former employees of               2       Iran .
    3        Sheikh Khalid who may or may not have been privy to            3            So it was out there on the internet , my Lord.
    4        information concerning his plans to regain his position        4       I didn’t have to find it - - sorry , I did not have to get
    5        as the Crown Prince.                                           5       it from a source. Sheikh Khalid was employing a company
    6   Q. You’re talking about Sheikh Khalid there , aren’ t you?          6       called Californian Strategies to lead his PR campaign
    7        The Ruler was Sheikh Saud and Sheikh Khalid was the            7       against His Highness Sheikh Saud.
    8        person --                                                      8   Q. I think from that answer you’ve just given , Mr Page, it
    9   A. Yes, I beg your pardon.                                          9       wouldn’t concern you when gathering intelligence if the
   10   Q. That’s all right .      I think it ’ s clear .                  10       source disclosed confidential information to you
   11               So you were getting information from ex-employees at   11       because, as far as you were concerned, that was their
   12        that time?                                                    12       responsibility , whether it was confidential or not;
   13   A. We were seeking to get information from ex-employees,           13       would that be fair ?
   14        yes.                                                          14   A. That would be fair , my Lord, yes.
   15   Q. I suggest that you succeeded, didn’t you, Mr Page, in           15   Q. Who did you deal with - - when you were working around
   16        all likelihood ?                                              16       about 2008 to 2010 for the current Ruler, as you’ve
   17   A. I cannot recall whether we -- we have a number of ways,         17       described, I think you said that you were engaged
   18        my Lord, of cultivating sources, and I can’ t , after all     18       through Dr Massaad; is that right ?
   19        these years, remember whether we succeeded or didn’t          19   A. That is correct , my Lord.
   20        succeed. I seem to recall that his former security            20   Q. And who else did you come across at RAK or the Palace or
   21        adviser was one of those people that we managed to talk       21       part of the Ruler’s group in the widest sense during
   22        to and he provided information because he was a very          22       that engagement of yours over that two-year period?
   23        aggrieved ex-employee of His Highness -- sorry , of - -       23   A. Okay, my Lord, so how this came about is I was in
   24        well , he’s still His Highness -- Sheikh Khalid and he        24       Brussels meeting the European Union in relation to one
   25        wished to vent his anger by sharing information. That’s       25       of my contracts.   I received a phone call from someone

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    1        how we operate in this business.                               1       called Wahid Attalla , an Egyptian gentleman, who I’d
    2   Q. In other words, this aggrieved employee would have told          2       known since my engagement with the Government of Dubai
    3        you confidential things that he’d learnt when he was           3       in relation to other matters which were before the - -
    4        working as a security officer for Sheikh Khalid?               4       other matters.
    5   A. Yes, and it ’ s not for me to question whether he was in         5            Wahid Attalla said basically , my Lord, ”Where are
    6        breach of any of his employment obligations.                   6       you? Can you make it to Geneva?”, and I said , ” If it ’ s
    7   Q. Or for you to question whether he was breaching any duty         7       important, I can make it to Geneva”. So I flew to
    8        of confidentiality presumably, Mr Page?                        8       Geneva, I then met Dr Massaad and I was then taken on
    9   A.   It ’ s - - that was not for me to consider.                    9       his private jet and I was flown to Lebanon to be briefed
   10               My Lord, he was what we call in this industry - -      10       on this issue of Sheikh Khalid.
   11        it ’ s called ”HUMIT”, which stands for ”human                11   Q. Do you want to answer the question, please , Mr Page?
   12        intelligence ”, but in everyday speak, it ’ s                 12   A. Only Dr Massaad and Wahid Attalla and no one else .
   13        a confidential source. And that confidential source may       13   Q. And so when you reported back on the fruits of your
   14        well be, my Lord, a journalist that Sheikh Khalid is          14       information-gathering and monitoring at that time, to
   15        seeking to get him to write some positive PR spin.            15       whom did you report?
   16        I have a number of -- then and to this day - - a number       16   A. Dr Massaad.
   17        of journalist sources who would let me know if                17   Q. Did you ever report directly to the Ruler?
   18        they’re - - in fact , my Lord, it was all out there on the    18   A. Absolutely not.
   19        internet that Sheikh Khalid - - what his plans were. He       19   Q. And why was that?
   20        was spinning his story on the internet as to how he           20   A. Because this is the way that Dr Massaad wanted the case
   21        should be the Ruler of - - sorry , he should be the           21       to be run. I didn’t question his instructions .
   22        Crown Prince of Ras Al Khaimah, not Sheikh Saud, which        22   Q. And how often did you report back in that engagement?
   23        included a disinformation programme, including                23   A. We used to have regular updates, but I would say six ,
   24        publishing a report which is known as the ”Rogue              24       eight , ten weeks; for example, if Dr Massaad was
   25        Report”, claiming that Sheikh Saud and the Emirate of         25       travelling in Europe, I would meet him. Such meetings

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    1        I had in Nice with him, I met him in Germany, I met him         1            ”About a couple of months later Jamie and I had
    2        in Switzerland, occasionally I met him in Ras Al Khaimah        2        another meeting in Dubai and at that point we discussed
    3        or in Dubai, because I ’ ve been a frequent traveller , my      3        a specific mandate.”
    4        Lord, to Dubai since - - as long as I can remember, but         4            That’s around about March 2015, isn’t it , Mr Page?
    5        certainly since 1995.                                           5   A. Yes, but Mr Buchanan’s evidence is wrong.
    6   Q.   It ’ s right , isn ’ t it , that that was really how you        6   Q. In what respect?
    7        became a trusted adviser as far as the current Ruler of         7   A. So in the chronology of the events, my Lord, which is
    8        Ras Al Khaimah is concerned? That’s how you gained his          8        referred to in my statement, I saw information in the
    9        trust , through this engagement, wasn’t it , Mr Page?           9        local media regarding an investigation or issues to do
   10   A. I would not say that , my Lord, no.                              10        with RAK Airways. I am very knowledgeable about how
   11   Q. How else do you think that you managed to gain the trust         11        they report things in the Gulf papers, and when they say
   12        of the Ras Al Khaimah Ruler or government bodies?              12        ”issues ”, there is an underlying issue .   So I reached
   13   A. My Lord, without sounding big-headed, I ’ m a known entity       13        out for Wahid Attalla , the gentleman I referred to who
   14        in the UAE. I have worked for the Government of Dubai          14        introduced me to Khater Massaad, and asked him if he
   15        since 1995. I continue to work for the Government of           15        would effect me an introduction to His Highness, who I’d
   16        Dubai until this date. My reputation in the UAE -- they        16        never met before.
   17        respect my knowledge, they respect my ability and              17            So I went to the Palace with Wahid Italia , I met
   18        His Highness’ wife is married to someone called                18        His Highness, we had a get-to-know-you conversation. It
   19        Abdul Aziz Al Ghurair. Abdul Aziz Al Ghurair is the            19        was then, some months later, that His Highness summoned
   20        sister - - I beg your pardon, Abdul Aziz Al Ghurair is         20        me back to the Palace , after I had met Jamie Buchanan.
   21        the chairman of Mashreq Bank. I was worked for                 21            My Lord, it ’ s important to understand that
   22        Mashreq Bank, so therefore in looking for an adviser - -       22        His Highness has a habit of compartmentalising things.
   23        or - - correction - - looking for someone to service his       23        He would ask me to do certain things , but not involve
   24        needs, it would be not too difficult for His Highness to       24        Jamie Buchanan. So, therefore , I had this Chinese wall
   25        check into my bona fides.                                      25        between what His Highness wishes me to undertake and

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    1   Q. Did you do any work for the Ruler or for RAK, any                 1        what he wishes Mr Buchanan to understand.
    2        RAK-based entity, after 2010 but before the end of 2014?        2   Q. In your witness statement, Mr Page, at paragraph 10
    3   A. I did not.                                                        3        {D/3/3}, you set out I think some evidence about what
    4   Q. Can we come on to your work in 2015 in RAK, please,               4        you’ve just said .   Is that what you’re talking about?
    5        Mr Page? Would you go to paragraph 12 of your witness           5        You had one meeting with Sheikh Saud?
    6        statement at {D/3/4}? You see you say this :                    6   A. Sorry, paragraph which are we looking - -
    7            ”About a couple of months later ...”                        7   Q. 10 of your witness statement at {D/3/3}.
    8            So I think we should probably look at paragraph 11,         8   A. Paragraph 10 of my witness statement? That talks about
    9        where you say that you went to see Mr Buchanan in               9        RAK Airways. Is that what you’re referring to? I ’ m
   10        January 2015 -- can you see that?                              10        sorry , my Lord, I - -
   11   A. Yes, I do, yes.                                                  11   Q. You’ve just explained how you basically contacted - -
   12   Q. - - and you say you cannot recall who arranged the               12        well , read paragraph 10. I assumed that paragraph 10
   13        meeting.                                                       13        was a summary form of what you have just said , Mr Page.
   14   A. Well, it ’ s more than likely it was His Highness’               14   A. Yes, I ’ m sorry, my Lord. That is correct , yes.
   15        personal secretary .                                           15   Q. Well, it ’ s your statement. You must know what you meant
   16   Q. But who instigated it ? Was it you or Mr Buchanan who            16        by it , Mr Page.
   17        initiated it ? Who called who first ?                          17   A. I think , my Lord, I have actually reported how it
   18   A. So from recollection I received a call from                      18        actually - - sorry , presented to you how it occurred.
   19        His Highness’ secretary saying she wished me to meet           19   Q.   It wasn’t a trick there .     I was just trying to help you.
   20        someone -- sorry, on instructions of His Highness, I was       20   A. Oh, I ’ m sorry. Thank you.
   21        to meet one of his advisers , and then it ’ s possible , but   21   Q. So then we can pick the story up in paragraph 11
   22        I cannot recall exactly , my Lord, that Mr Buchanan            22        {D/3/3}. You’ve now helpfully explained that you did
   23        phoned me and said, ”When can we meet?” I don’t think          23        have a meeting with Sheikh Saud in 2014 and the next
   24        Mr Buchanan even knew I was in the UAE at that point .         24        involvement you had with RAK in January 2015 was
   25   Q. In paragraph 12 you say this :                                   25        likely - - it sounds as if it was initiated by the Sheikh

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    1        who, through his personal assistant , invited you to come    1       move on because all I want to establish , as
    2        to meet Mr Buchanan.                                         2       your Lordship will appreciate , is the relevant remit for
    3   A. Well, no, I think - - yes, he asked me to meet                 3       this gentleman. So it looks like this is part of the
    4        Mr Buchanan, but there was a subsequent meeting at           4       run-in .   That’s all .   That’s why I ask the question.
    5        the Palace with His Highness.                                5             Can I ask a different question, then?
    6   Q. And when was that?                                             6             Mr Page, in paragraph 12 of your witness statement
    7   A. Some time -- right , so, if I put it into context - -          7       {D/3/4}, you say this :
    8   Q. No, sorry , Mr Page --                                         8             ”About a couple of months later, Jamie and I had
    9   A. No, this is important. In December 2014 through to             9       another meeting in Dubai and at that point we discussed
   10        early - - to the middle of January 2015, I was in the       10       a specific mandate.”
   11        UAE -- I was in the UAE on an assignment for another        11             You’re not here talking about this confidential
   12        member of a royal family .                                  12       personal matter, are you?
   13            So, yes, there was the initial meeting with             13   A. No, I ’ m not.
   14        Jamie Buchanan, but that was a get-together meeting and     14   Q. You’re talking about something different , aren’ t you,
   15        nothing else at the Park Hyatt Hotel in Dubai.              15       Mr Page?
   16   Q. Mr Page, I was just asking you when did you have this         16   A. I am, my Lord, yes.
   17        meeting with His Highness.                                  17   Q. So is your evidence right there that around about
   18   A.   It could have been three days later , it could have been    18       March 2015 you had this meeting with Mr Buchanan when
   19        four days later .   I honestly can’ t remember. Certainly   19       you discussed a specific mandate?
   20        before I left the UAE, somewhere around mid-January.        20   A. Yes, my Lord, because the reason this is now -- when
   21   Q. So some time in the first half of January - -                 21       I ’ ve corrected my witness statement is the report that
   22   A. Correct .                                                     22       is before - - that has now been disclosed and I have
   23   Q. - - 2015?                                                     23       shown is dated March 2015 and it refers in this report
   24   A. No, not the first half of January because I left Dubai        24       to a previous report , so it is inconceivable that
   25        on or around 10 January.                                    25       in March 2015 I was receiving an instruction from

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    1   Q. So some time in the first half of January 2015?                1       Jamie Buchanan in relation to - - well , I received
    2   A. Well, I wouldn’t - - okay, semantics, my Lord, but             2       a mandate, but I was obviously mandated before this
    3        I would agree with you, yes.                                 3       report , and that ’ s the matter that I said is before
    4   Q. And what did you discuss with the Ruler on that                4       His Highness which I don’t think I can disclose any more
    5        occasion?                                                    5       at this point .
    6   A. My Lord, I am in some difficulty here because it was           6   Q. Sorry, so are you saying that the report we --
    7        a confidential discussion and instructions from              7   A. My Lord, the timeline doesn’t work because you’re
    8        His Highness in relation to a personal matter which          8       talking of a report dated 26 March 2015 and in
    9        I don’t believe relates to the matter before the court       9       Mr Buchanan’s evidence he talks about briefing me in - -
   10        today.    I am happy to disclose it to you, my Lord, but    10       sorry , in - - at the same period. It doesn’t work.
   11        I don’t think it ’ s appropriate, when we have members of   11       There was a previous engagement, which is the one I ’ m
   12        the press in the back of the court , for me to disclose     12       referring to , with His Highness, who I don’t think I can
   13        what is a confidential discussion between myself and        13       disclose in open court.
   14        His Highness because, my Lord, to do so would destroy my    14   Q. Well, I ’ m sorry about that - - I ’ m sorry, my Lord, I ’ m
   15        reputation as someone who deals in confidential matters.    15       troubled by that answer. If you go to {H7/299/3} -- get
   16   JUDGE LENON: At the moment I don’t see why it ’ s necessary      16       that page up first , Mr Page.
   17        to go into any detail as to the nature of the personal      17   A. Yes.
   18        matter, if that ’ s the evidence.                           18   Q. This is an extract from the report that you or your firm
   19   MR LORD: No, I’m happy with that, my Lord, but                   19       did - - and we’ ll come back to it in more detail today - -
   20        your Lordship will see I am anxious to get to the           20   A. Correct .
   21        bottom --                                                   21   Q. - - on 26 March 2015. It ’ s your firm ’ s report , isn ’ t it ?
   22   A. My Lord, I am prepared to share a piece of information        22   A. Yes, it is my firm’s report , yes.
   23        if you feel , but it ’ s very limited as to what I ’ m      23   Q. Can you see at the top it says:
   24        prepared to say in open court.                              24             ”KM efforts against the client .”
   25   Q.   It may become relevant, my Lord, this point , but we’ ll    25   A. Yes.

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    1   Q. ”FA and the US Advisory Team.”                                  1       to any issue in this case, for confidential professional
    2   A. That is correct , my Lord.                                      2       matters to be disclosed in open court of an irrelevant
    3   Q. ”FA” refers to Mr Azima, doesn’t it , Mr Page?                  3       nature.
    4   A.   It does, my Lord.                                             4   MR LORD: My Lord, the difficulty with that is that this
    5   Q. And it says - - this is the words of your firm ’ s report:      5       problem has arisen because of the way in which the
    6            ”In continuation to our previous report , we were         6       claimant has gone about explaining Mr Page’s role
    7        informed by several new sources that FA is managing KM’s      7       because it ’ s clear from these answers that there is
    8        efforts in the US and perhaps even paying their bills .”      8       potentially a relevant connection between the previous
    9            Now, Mr Page, it looks , doesn’t it , on the face of      9       report and mandate and matters that I am allowed to ask
   10        this report of yours in March, that there is a link          10       him about because clearly they relate to Mr Azima and
   11        between this report , in this part of it anyway, and         11       this case.
   12        a previous report .   Is that right ?                        12            So if there is some overarching concern or some
   13   A. That is correct , my Lord.                                     13       ability to pass the earlier report and the earlier
   14   Q. So what is the link between what we see here and what          14       mandate, that ’ s something that should have been dealt
   15        you covered in your previous report?                         15       with before if in fact - - through RAKIA factoring in
   16   A. My Lord, this is where I’m in some difficulty because,         16       that this report was that of Mr Page and not adducing
   17        as I tried to explain , the meeting with His Highness        17       evidence, as it has done, of a sort that your Lordship
   18        in January of 2015 gave me a specific mandate of which       18       has seen that disguises Mr Page’s role because -- I am
   19        this is just part of that mandate. But again, my Lord,       19       anxious that we go into private and we don’t have the
   20        I ’ m happy to disclose it , but I don’t think I would be    20       rigour of open court when I’m asking this witness
   21        happy to disclose it in the presence of the media.           21       questions because it would be my submission that he has
   22   Q. But it says:                                                   22       told lies on oath, and I ’ ll tell your Lordship that
   23            ”In continuation to our ...”                             23       Mr Page has lied on oath in relation to the written
   24            It ’ s under the heading ”FA and the US Advisory         24       reports and in relation to his coming across Mr Azima,
   25        Team”.                                                       25       and in those circumstances, in my submission,

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    1   A. My Lord, it ’ s impossible to put this report into context      1       your Lordship should think very long and hard before we
    2        if you don’t understand the mandate that I received from      2       abandon the usual approach of staying in open court.
    3        His Highness based on the information that he had             3            I can ask questions - - I ’ ll try and ask my questions
    4        received .                                                    4       more slowly to establish the link to Mr Azima. I ’ m
    5            My Lord, I really am in some difficulty here because      5       happy to do that .     But I am anxious that we should keep
    6        you’re asking me to breach a confidence and I don’t feel      6       the public forum here to make sure that we get
    7        comfortable.                                                  7       a truthful answer, if your Lordship understands what I’m
    8   MR TOMLINSON: My Lord, it’s not something that I know              8       saying .
    9        anything about, but obviously this witness is concerned       9   JUDGE LENON: I’m certainly at this stage not going to go
   10        about it and, my Lord, there are two ways of dealing         10       into any sort of closed session .     What do you say to the
   11        with it .                                                    11       proposal that Mr Page should write down on a piece of
   12            The first is that Mr Page can write something down       12       paper the nature of the issue that he’s uncomfortable
   13        on a note to be shown to your Lordship and my friend,        13       about?
   14        indicating the general nature of the matter, or the          14   A. My Lord, it is quite - - I beg your pardon.
   15        second is that the court can go into private for this        15   MR LORD: Well, we can try that , my Lord. I ’ m very happy to
   16        evidence to be explored.                                     16       try that , but I am going to have to ask about the
   17            It ’ s probably sensible that the first option be        17       connection with the - - this witness has said that there
   18        explored first because then we may get some clearer idea     18       is a connection so I am going to have to ask him about
   19        of what the ambit of it is .   But obviously it ’ s          19       that .
   20        appropriate for - - if this is a - - your Lordship will      20   JUDGE LENON: I see that and I see that ’ s on the face of it
   21        appreciate the Ruler isn ’ t my client and I don’t know      21       plainly relevant .
   22        anything about this matter that ’ s been talked about, but   22   A. My Lord, it is quite - - with respect to everybody, it ’ s
   23        obviously this witness is in some discomfort about           23       quite difficult for me to put this in succinct format in
   24        disclosing what he regards as confidential professional      24       two or three lines .     I will repeat.   I am happy to
   25        matters and it wouldn’t be right , if it ’ s not relevant    25       breach the confidence. There are representatives of

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    1       His Highness here who would have no knowledge of the            1       this as to the role of Mr Azima in the thinking of
    2       mandate I was given because this is a personal                  2      RAKIA. He didn’t plead that case. So I ’ m not objecting
    3       conversation between a sovereign ruler and myself, but          3      to him now putting all these points to my witness in
    4       I am happy to disclose it to the court , but not in the         4      cross-examination, but I am objecting to him complaining
    5       presence of the media.                                          5      that somehow I’ve suppressed reference to these in
    6   MR LORD: My Lord, this is likely to be relevant because             6      evidence when they’re not part of the case.
    7       a private conversation between Mr Page and the Ruler            7           But, my Lord, what we’ve got to deal with here is - -
    8       that establishes some direct line of communication              8      my friend says , ”Well, it ’ s relevant that Mr Page was in
    9       between those two gentlemen is obviously relevant to            9      communication with the Ruler”. That may be relevant ,
   10       this case.    It ’ s relevant .   The subject matter may not   10      but that ’ s not in dispute .   That’s clear on the face of
   11       be relevant , but the fact of the communication is             11      the evidence.     It ’ s been -- it ’ s mentioned in Mr Page’s
   12       relevant , and I repeat that the problem has arisen            12      witness statement. He’s mentioned it again in evidence
   13       because of the way in which -- the evidence that RAKIA         13      today.
   14       has disclosed about Mr Page and his previous work in and       14            If he wants to go further into private , confidential
   15       about relevant matters.                                        15      conversations between the Ruler and Mr Page, then that
   16   MR TOMLINSON: With great respect to my friend, these are           16       is not an appropriate matter to be dealt with in open
   17       wholly bad points .    The position is that this RAK           17      court because one simply doesn’t know where that goes
   18       project update which he talks about a lot , doesn’t            18      and how that relates to the Ruler’s private affairs .       It
   19       feature in his pleaded case and it ’ s a matter that           19      doesn’t matter whether it ’ s the Ruler.     It would be the
   20       hasn’t been dealt with in evidence because it didn’t           20      same if it was anybody whose private affairs were
   21       appear to be part of the issues before the court at all .      21      discussed with a confidential agent. The idea that then
   22       He can’t criticise me now for not addressing a case            22      they could be explored in open court to see whether
   23       which only first appears in his note of opening and not        23      something relevant comes out, my Lord, can’ t possibly be
   24       addressed in my evidence. But, my Lord --                      24       right .   The court has - - as your Lordship knows, the
   25   MR LORD: Sorry, no, I ’ m going to correct that because that       25      court has a duty to protect people’s rights to privacy

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    1       is flatly wrong because Mr Azima referred to the project        1      under Article 8. The court is a public authority and
    2       update in his evidence. My learned friend successfully          2       it ’ s important that those rights are protected.
    3       had those bits , I think , maybe struck out. I can’ t           3           One simply doesn’t know exactly what’s being
    4       remember now. But the Ruler of Ras Al Khaimah deals             4      adverted to here.      I ’ m perfectly happy for it to be
    5       with this document in his evidence, and your Lordship           5      explored and if it turns out to be relevant to some
    6       should go to that because my learned friend ’ s case is         6      issue in the case, of course it must be dealt with. But
    7       that this is really the first time that it ’ s really           7      as a general piece of exploration , it ’ s not right just
    8       arising in this case and that ’ s - -                           8      to go into it on the off -chance it might be.
    9   MR TOMLINSON: No, it’s not my case it ’ s the first time it         9   JUDGE LENON: No, but you would presumably accept that the
   10       arises , but you can’ t criticise me for not dealing with      10      nature of any mandate that the Ruler gave to Mr Page is
   11       something in evidence when it’s not part of the pleaded        11      of relevance?
   12       case. The fact that it ’ s referred to in witness              12   MR TOMLINSON: The nature of any mandate, my Lord, yes, but
   13       statements subsequently -- my friend actually amended          13      what concerns me is that the question then goes into the
   14       his pleadings to deal with certain matters that were           14       details of the mandate and what the Ruler said and,
   15       dealt with in disclosure , and if he wanted to deal with       15      you know, what information he provided and so on.
   16       this , he could have amended his pleadings to deal with        16       Certainly the general nature of the mandate I think must
   17       it .   He choses not to .                                      17      be - - I accept that , and I think Mr Page was actually
   18   JUDGE LENON: Yes, but presumably that’s partly because he          18      about to volunteer it at one point .
   19       didn’t know who wrote it.                                      19   A. My Lord --
   20   MR TOMLINSON: Well, my Lord, if this was relied on as              20   MR LORD: I’m in your Lordship’s hands. I am going to want
   21       a document, he doesn’t actually have a pleaded case            21      to pursue the dealings that Mr Page had with the Ruler
   22       about Mr Page’s role either .      The position is if this     22      and obviously matters that relate to this project report
   23       is - - this is a document which we know refers to              23      that we’ve had which appear to refer back to earlier
   24       Mr Azima. He could have had a pleaded case that this           24      work and engagements concerning Mr Azima, which is what
   25       was -- some inferences could therefore be drawn from           25       this case is about.

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    1   A. My Lord, I am prepared to answer certain questions, but               1   A. Yes, my Lord. His Highness’ instructions were --
    2       they will be vague and I think that ’ s the best I can               2        His Highness’ information was that a member of his
    3       help the learned counsel here - - and I ’ m happy to answer          3        family was working with Khater Massaad in gathering
    4       a question, but without going into too many specifics .              4        information from the Palace and my instructions were to
    5   MR LORD: My Lord, my concern is I ’ m not going to be held to            5        ascertain whether that was in fact correct , that they
    6       be giving Mr Page any licence to give anything other                 6        were working in collusion .     But, my Lord, before I ’ m
    7       than exactly truthful answers, so I ’ m not going to agree           7        asked a question, I can say on oath I was never asked - -
    8       to that .     If in fact there ’ s a staging post here which         8        I never heard the name of Farhad Azima.
    9       we can go through in writing or otherwise that ’ s                   9   Q. So, Mr Page, you were asked by the Ruler to carry out
   10       sufficient , then I ’ m more than happy for that approach           10        some sort of surveillance or investigation into what
   11       to happen. I ’ m not happy with Mr Page having, if you              11        the Ruler thought was some leak within the Palace?
   12       like , licence , editorial licence , as to how he puts              12   A. No, that ’ s not correct .      The request was could
   13       things under the guise of this alleged confidentiality              13        I establish , because he’d heard a rumour, that
   14       that can’ t be looked behind.                                       14        Khater Massaad was working with a member of his family
   15   JUDGE LENON: I am going to invite you, Mr Page, to write                15        to the detriment of His Highness and the Government of
   16       down on a piece of paper what it is that you are                    16        Ras Al Khaimah.
   17       concerned about and to do it in as succinct a way as you            17   Q. And so - - we’ ll come back to what you did in that
   18       can.                                                                18        regard, please , but is that something that - - that was
   19   A. My Lord, may I request I do that in the break for lunch              19        an engagement that was set up simply between you and
   20       because first of all I need to write it and it would be             20        the Ruler; is that right ?
   21       much better, if you accepted, my Lord, for me to sit                21   A. That is correct , my Lord.
   22       with the lawyers for the Government and I will write it .           22   Q. And is your evidence that nobody else knew about that?
   23   MR LORD: I’m sorry, my Lord, but obviously - -                          23   A. No one else was present at the meeting and no one else
   24   JUDGE LENON: That’s not going to be possible .                          24        knew my mandate.
   25   A. My Lord, then I ’ m prepared to say certain things which             25   Q. And how long did that mandate last for?

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    1       I think will be helpful to counsel here.          If he wishes       1   A.   It ’ s - -
    2       to expand on them, then I may have to revert to that .               2   Q.   Still going on?
    3              I think what I will tell him, my Lord, will be                3   A. No -- correction - - it ’ s not still going on.      It was
    4       useful to him and I think it answers the concerns he may             4        dealt with in the first report , which is obviously
    5       have.                                                                5        not - - we do not have - - and it was dealt with partly in
    6   MR LORD: My Lord, would it be better to go into private for              6        the second report, the one - - the redacted report we
    7       this initial exploration and then to see whether                     7        have here. Again I ’ m happy to share, my Lord, that
    8       your Lordship feels , in the light of that , we should               8        there was no information to suggest that His Highness’
    9       continue in private , go into public or desist with that             9        belief was correct - -
   10       line of questioning at all ? I wonder if that would be              10   Q. Right .
   11       a safer way of doing it .      It ’ s just an offer .               11   A. - - ie that he was working with a member of his family .
   12   JUDGE LENON: Yes, if that ’ s going to be a way through this .          12   Q. And what sort of investigation work did you do in order
   13   MR TOMLINSON: My Lord, I’m happy to deal with it in that                13        to establish the true position?
   14       way if everybody thinks that ’ s appropriate.           It may be   14   A. Well, it was to review the previous investigation into
   15       that there ’ s an earlier stage that Mr Page is offering            15        Sheikh - - His Highness, both his family members --
   16       a general explanation, if he gives that general                     16        I nearly gave it away then. I beg your pardon -- and to
   17       explanation and it becomes clear that there ’ s no need to          17        see what was going on and to try to ascertain whether
   18       go any further , then we don’t need to go into private .            18        there was a connection, and this report is partly
   19       If he gives that general explanation and my friend wants            19        prepared in relation to that .     And I can take you
   20       to explore further , then we may need to.                           20        through chapter and verse, my Lord, if you want, but it
   21   JUDGE LENON: Let’s try that .       I ’ m anxious not to delay          21        is the fact that we knew from previous intelligence
   22       matters too much with this. Let ’ s see if we can get by            22        people who had worked for Sheikh Khalid in relation to
   23       without - -                                                         23        the bad - - the negative PR campaign that he launched
   24   MR LORD: Very well, my Lord. Very well .                                24        against His Highness when he was the Crown Prince and
   25              Mr Page, you were going to explain the sensitivity .         25        therefore we explored that evidence as a possibility of

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    1        the - - where we might find a link through                  1        illegal access of Mr Azima’s data, didn’t you?
    2        His Highness -- sorry , that Khater Massaad was working     2   A. I do.
    3        with parties against the Ruler.                             3   Q. And you’re here giving evidence in a written statement
    4   Q. Sorry, was the concern of the Ruler that somebody in          4        about the extent of your engagement by RAK or RAKIA,
    5        the - - somebody within his family was working with         5        aren’ t you?
    6        Dr Massaad or was it the fact of Dr Massaad’s alleged       6   A. I am, yes.
    7        campaign? I ’ m not sure what the concern was.              7   Q. And if you put together paragraph 12 and paragraph 13,
    8   A.   It was that they were working, my Lord, together for        8        you are claiming , aren’ t you, that you did not come
    9        whatever reason -- I have no reason why -- that they        9        across the name Farhad Azima until early 2016?
   10        were working together for the purposes of destabilising    10   A. That is correct , my Lord.
   11        or causing harm to His Highness.                           11   Q.   If we go to the one surviving project update at
   12   Q. And as part of that engagement you looked at Mr Azima?       12        {H7/299}, you can see at pages {H7/299/2-4} that there
   13   A. That is not correct .                                        13        are three pages of this report - - it looks like it ’ s
   14   Q. So at {H7/299} of your report, you say:                      14        17 pages. So three of the 17 pages concern matters
   15             ”FA and the US Advisory Team.                         15        involving Mr Azima, don’t they?
   16             ”In continuation to our previous report , we were     16   A. That is correct .
   17        informed by several new sources that FA is managing KM’s   17   Q. So, Mr Page, can you explain to his Lordship why you put
   18        efforts in the US and perhaps even paying their bills .”   18        in a witness statement and signed it and verified it to
   19   A. That is correct , but I was never mandated by                19        be true back in June 2019 where you said this :
   20        His Highness to investigate then, subsequently,            20            ”During this period in 2015 when I was undertaking
   21        Farhad Azima.                                              21        the investigations described above in relation to
   22   Q. Can I ask you, please , about the scope of the retainer?     22        Khater Massaad, I did not come across the name
   23        Go back to paragraph 12 of your witness statement,         23        Farhad Azima. The first time I recall hearing his name
   24        please .   {D/3/4}.                                        24        was in early 2016 at one of my regular catch ups with
   25   A. Yes.                                                         25        Jamie .”

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    1   Q. Can you see what you say in paragraph 12 about the scope      1   A. That is correct , my Lord.
    2        of your retainer pursuant to this specific mandate?         2   Q. Can you tell his Lordship why, when we’ve seen that in
    3   A. I do, my Lord.                                                3        March 2015 you have prepared a report which discusses
    4   Q. ”Jamie said that he was involved in investigating             4        Mr Azima’s alleged management of Dr Massaad’s US team in
    5        wrongdoing by Khater Massaad and the misappropriation of    5        the context of a concern about Dr Massaad’s strategy
    6        assets .   He wanted my assistance in tracing assets ,      6        that leads on to discussion of intelligence -gathering
    7        investigating Khater Massaad’s involvement with Iran ,      7        and monitoring activities and containing and ruining
    8        his links to Hezbollah and Lebanon and his relationship     8        plans - - how could you possibly put in evidence what you
    9        with Viktor Bout ... I understood my engagement to be       9        said in paragraph 13? What’s the explanation for it ,
   10        for the government generally but I did not know which      10        Mr Page?
   11        specific government entity. There was no letter of         11   A.   It ’ s very simple, my Lord. Farhad Azima was just - - was
   12        engagement ...”                                            12        a side issue in this report .   There were matters I was
   13             Can you see that?                                     13        investigating across the globe, including , as I have
   14   A. Yes, I can, my Lord.                                         14        said , Lebanon, Iran, Hezbollah, arms trafficking , people
   15   Q. Then, ”Knowledge of Farhad Azima”, paragraph 13:             15        trafficking , and his name at the time I wrote that
   16             ”During this period in 2015 when I was undertaking    16        statement no more than perhaps some of the other 20, 30,
   17        the investigations described above in relation to          17        40 names that we came across in the course of this
   18        Khater Massaad, I did not come across the name             18        investigation rang a bell to me, and, my Lord, that is
   19        Farhad Azima. The first time I recall hearing his name     19        my evidence. Plus , my Lord, as I explained, in June of
   20        was in early 2016 at one of my regular catch ups with      20        2019 there were certain things going on in my personal
   21        Jamie .”                                                   21        life which affected my ability to remember events that
   22             Now, Mr Page, you knew when you gave this witness     22        occurred as far back as - - sorry - - as 2015, four years,
   23        statement that it was in relation to a dispute between     23        and if my Lord wishes me to expand on what those issues
   24        RAKIA and Mr Azima about whether -- amongst other          24        were, I ’ m more than happy to do so.
   25        things , about whether RAKIA had been involved in the      25   Q. No, thank you, Mr Page. Could you go, please , to

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    1       paragraph 7 at {D/3/3}?                                      1            I would then present him with a verbal briefing and
    2   A. Are you talking about my statement or - -                     2        he would not even look sometimes at the reports , but
    3   Q. Yes, please , Mr Page. I want to just finish this             3        sometimes he would read an executive summary, and I mean
    4       matter, if you don’t mind. I ’ m aware of the time.          4        an executive summary, because it is the custom, my Lord,
    5       Thank you.                                                   5        that in the Middle East you are very lucky , no matter
    6            In paragraph 7 of your witness statement you say        6        what it relates to , if they will read more than one
    7       this in the last sentence:                                   7        page.
    8            ”I don’t keep contemporaneous documents and my          8            What His Highness did subsequently with the verbal
    9       briefings to clients are invariably oral , especially in     9        briefings and if I ’ d given him a written report I cannot
   10       the Middle East where this is very normal.”                 10        comment on, but I know until this day that the culture
   11            Now, Mr Page, I wasn’t sure this morning whether you   11        is a verbal briefing .   They prefer it because they like
   12       were clarifying this bit of your witness statement as       12        to hear what you’re saying .   And I ’m sorry, my Lord, if
   13       well .    What’s the answer?                                13        it goes against protocol that people understand, but
   14   A. I ’ m sorry, my Lord, I still don’t understand that          14        that is an experience I have learned since 1995. So I ’ m
   15       question.                                                   15        a - - long standing practitioner in the Middle East.
   16   Q. Where you say in this paragraph 7 that your briefings to     16   MR LORD: Would that be a convenient point , my Lord?
   17       clients are invariably oral , that means that your client   17   MR TOMLINSON: Mr Page, you’re in the middle of your
   18       briefings are always oral , doesn’t it ?                    18        evidence so you know you mustn’t talk to anybody about
   19   A. No, not always oral , my Lord. My Lord, the one thing        19        your evidence until you have concluded?
   20       I learnt , having worked in Saudi Arabia for three years,   20   A. I understand.
   21       was a knowledge of the Middle Eastern culture and, with     21   (1.04 pm)
   22       the greatest of respect to counsel, it is a quite unique    22                      (The luncheon adjournment)
   23       learning experience. Even to this day, my Lord, I will      23   (2.00 pm)
   24       go before a client from the Middle East who will read       24   MR LORD: May it please your Lordship, Mr Page, I was asking
   25       more -- less than one page. So, therefore - - you’re        25        you about your witness statement in which you said that

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    1       saying ”Verbal briefings ?” My Lord, the answer to that      1        you invariably briefed clients orally .    Do you remember?
    2       question is ”Yes, verbal briefings ”.                        2   A. That is correct .
    3   Q. Mr Page, you’re not answering the question. What you          3   Q. And I was putting to you that that was untruthful
    4       were telling the court in this witness statement at          4        because we know at least in this case that you provided
    5       paragraph 7 was that you always briefed clients              5        many written project updates, didn’t you?
    6       especially in the Middle East.                               6   A. Yes, that is correct , in addition to verbal updates.
    7   A. Well - -                                                      7   Q. In addition to your oral updates, yes. And Mr Buchanan
    8   Q. Sorry, Mr Page. Sorry, Mr Page. The word ”invariably”         8        gave evidence that you updated about every month; would
    9       means ”without exception”.                                   9        that be right ?
   10   A. Well - -                                                     10   A. Every month, six weeks, depending on when His Highness
   11   Q. You shrug. Sorry, Mr Page --                                 11        wanted to see me.
   12   A. No, I beg your pardon. Sorry.                                12   Q. Yes. And Mr Buchanan estimated that probably roughly at
   13   Q. Did you know what ”invariably” means?                        13        least half of the time there would be a written update
   14   A. Well, I think I do, but perhaps that was a misleading        14        from you.
   15       line in my statement.                                       15   A. That is correct , my Lord.
   16   Q. So what do you think it means? It means always, except       16   Q.   It ’ s right , isn ’ t it , that you still work for RAK or
   17       for the 27 written reports in this case that you made?      17        RAKIA?
   18       Is that what you meant to say?                              18   A. That is correct , my Lord.
   19   A. My Lord, I would go before His Highness and I would have     19   Q. And so, since the beginning of 2015, you’d have provided
   20       an audience of perhaps 30 minutes. The first 15 minutes     20        probably something in the region of 30 written project
   21       of that audience, because His Highness is extremely         21        updates, wouldn’t you?
   22       knowledgeable about world affairs , will be discussing      22   A. I think that the number has diminished over the last
   23       with me -- who he thinks I ’ m also quite knowledgeable     23        12 months, but you may be right , my Lord. It may be 30.
   24       about issues in the Middle East - - affairs of the          24        I cannot recall exactly .
   25       Middle East.                                                25   Q. By it ’ s going to be in the order of around 25 to

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    1        30 reports in writing?                                            1        ” electronic ”, you mean open source information on the
    2   A. That is possible .      I can’ t - - you know, I can’ t remember    2        internet?
    3        exactly how many I did.                                           3   Q. I mean of any source.
    4   Q. Mr Buchanan gave evidence that all the reports were in              4   A. Well, they were -- yes, they were using the dark web,
    5        the same format; that ’ s right , isn ’ t it ?                    5        open source information on the internet .    That was the
    6   A. Yes.                                                                6        limit to what they were doing.
    7   Q. And how were the reports prepared? Did you type them                7   Q. And they could have been unlawfully accessing electronic
    8        all up yourself or were others involved?                          8        information for all you knew, Mr Page, couldn’t they?
    9   A. No, others involved .                                               9   A. Absolutely not.
   10   Q. Who was involved?                                                  10   Q. How do you know what they did?
   11   A. The agent that I employed to assist me in this complex             11   A. Because my instructions from Mr Buchanan -- and not
   12        investigation .                                                  12        simply his instructions - - it is my principle that no
   13   Q. And who’s that?                                                    13        information that is recovered must be obtained by
   14   A.   It ’ s a company in the State of Israel .                        14        illegal means, and to hack is illegal .
   15   Q. Pardon?                                                            15   Q. You see, Mr Page, I suggest that we may be getting a bit
   16   A. A company in the state of Israel .                                 16        warmer here on how Mr Azima’s data came to end up on the
   17   Q. What’s the name of that?                                           17        internet .
   18   A.   Insight .                                                        18            Can you tell his Lordship a bit more about Insight?
   19   Q. And that’s a company -- that ’ s an Israeli company, is            19        I think you said people work for them who used to be the
   20        it ?                                                             20        equivalent of the Israeli MI5; is that right ?
   21   A. That is an Israeli company, yes.                                   21   A. Well, they have a number of people in their employment,
   22   Q. And what do they specialise in?                                    22        either who serve in the IDF - - you understand what the
   23   A. Well, the founder of the company is the former head of             23        IDF is , my Lord? Israeli Defence Force. The Israeli
   24        the Lebanese desk of Shin Bet and Shin Bet is the                24        Defence Force has a specialist unit that collates
   25        Israeli equivalent of MI5.                                       25        intelligence , military intelligence .    So they are

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    1   Q. Right .                                                             1        specialists from the IDF, from Mossad, from Shin Bet.
    2   A. So they specialise in collating information,                        2        There are lawyers, there are accountants, because we
    3        particularly in the Middle East. They obviously                   3        were analysing a lot of information from public sources
    4        specialise in collating information on Iran , on                  4        which was financial information.
    5        Hezbollah, on Lebanon, and they were the - - the                  5   Q.   Insight would have the capability , wouldn’t they, to
    6        expression I use, my Lord, is the ”think tank ”.                  6        access Mr Azima’s emails if they’d wanted to?
    7   Q. So would it be fair to say, Mr Page, that in relation to            7   A. No, I have no knowledge whether they do that type of
    8        the matters covered by your project updates, you had in           8        work.
    9        fact subcontracted at least some of that work to this             9   Q. But given the high-powered natured of the people at
   10        Israeli company called Insight?                                  10        Insight you’ve described, their expertise would extend,
   11   A. That is correct .                                                  11        wouldn’t it , into that sort of covert operation?
   12   Q. And they were, amongst other things,                               12   A. Not to my knowledge.
   13        intelligence -gathering specialists ?                            13   Q. I suggest, Mr Page, that that ’ s not a truthful answer.
   14   A. They were specialists at obtaining information from                14   A. Well, my Lord, I can only express to you the mandate
   15        confidential sources and, my Lord, the important thing           15        they received from me on behalf of the Government of RAK
   16        was to analyse a significant amount of data being                16        was to use their intelligence community contacts to
   17        recovered from multiple jurisdictions and                        17        deliver information or provide information regarding
   18        cross-referencing it , seeing really how it related to           18        Dr Massaad and his associations as outlined in my
   19        Khater Massaad and his links .     So, in answer, my short       19        witness statement.
   20        answer is , yes, they were the conduit to receive all the        20   Q. And that would include - - and it was thought, wasn’t it ,
   21        information from my other subcontractors.                        21        that Dr Massaad’s associate included Mr Azima?
   22   Q. And they were really - - they were the people, were they,          22   A. Absolutely not. My Lord, the report of 26 May --
   23        who you enlisted to carry out some of this electronic            23        Farhad Azima’s name came out -- completely out of the
   24        data-gathering?                                                  24        blue.   It was not part of our mandate to look at
   25   A. By which you mean electronic - - I don’t understand. By            25        Farhad Azima. This information came from a confidential

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    1       source. The confidential source was not even given - -       1       a protocol - - a new protocol.   It was a protocol that
    2       because we weren’t instructed to look at Farhad Azima.       2       I - - that was commenced as far back as 2008/2010, when
    3       He provided what he heard in the marketplace, if that ’ s    3       I was working against Sheikh Khalid.
    4       the expression, my Lord.                                     4   Q. I suggest, Mr Page, that you didn’t forget about these
    5   Q. Were there some written instructions or documents that        5       30 or so written reports when you gave your witness
    6       recorded your retainer of Insight in relation to these       6       statement. You would have known about those written
    7       matters?                                                     7       reports , I suggest to you.
    8   A. No.                                                           8   A. But, my Lord, I thought we dealt with the fact that
    9   Q. Why not?                                                      9       I don’t actually recall how many reports there were.
   10   A. Because that’ s not how -- my Lord, I work in a very         10       I don’t have any reports because, on the instructions of
   11       strange world, without sounding over-dramatic.              11       His Highness -- if I may I step back. As early
   12       I neither trust telephones, nor I do trust the email, so    12       as January 2015 His Highness expressed to me his
   13       any briefings that they received from me would have been    13       concerns that his palace and other government
   14       face to face .                                              14       organisations had been compromised. By ”compromised”,
   15   Q. And how were they paid?                                      15       my Lord, I mean information had been obtained illegally
   16   A. By bank transfer .                                           16       from within his organisation .
   17   Q. From whom?                                                   17           In my report there ’ s a reference to someone called
   18   A. From my company in the Middle East.                          18       Joseph Abu. That is not Joseph Aboud. It is
   19   Q. And how much did you pay them in 2015?                       19       Joseph Assad, who is a former CIA agent attached to the
   20   A. Without access to my records, I have no recollection .       20       US Embassy in Abu Dhabi who ran a company in Abu Dhabi.
   21       It ’ s dealt with by my finance director .                  21       So, you know, we had good reason to believe that Joseph
   22   Q. Roughly how much?                                            22       Assad was running a campaign. We had no evidence, but
   23   A. In the whole of 2015?                                        23       we believe he was.
   24   Q. Yes.   Millions?                                             24           So His Highness’ concern about his information being
   25   A. In relation to Khater Massaad or in relation to other        25       compromised were well founded and on that basis

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    1       matters instructed to me by His Highness? There were         1       I created a form of protocol .   And also, my Lord, it
    2       other matters which -- again I have the same problem.        2       should be remembered, we are talking about investigating
    3   Q. Did His Highness -- did the Ruler know that you were          3       links to Iran .   This is a government agency that has
    4       essentially acting as a bridgehead into Insight ?    It      4       enormous capability to access information. So, with
    5       sounds like he probably did .                                5       respect , my Lord, why it might seem a bit bizarre , it
    6   A. I ’ m sorry, my Lord, I don’t understand the question.        6       may seem a bit fanciful , I live in the world populated
    7   Q. Did His Highness know that when he asked you to carry         7       by former spooks -- I beg your pardon, former
    8       out various tasks , you were actually retaining this         8       intelligence agents and we take drastic measures to
    9       Israeli operation called Insight to carry them out?          9       protect not only the information, but the people engaged
   10   A. My Lord, there ’ s no secret that I operate in the           10       in gathering the information.
   11       State of Israel and it is no secret , my Lord --            11   Q. And I suggest that you lied in your witness statement
   12   Q. What’s the answer to the question?                           12       about the way in which you report only orally .
   13   A. Well, I would not have told him, nor would he have asked     13   A. I don’t think , my Lord, I was intending to lie .   It may
   14       me the question.                                            14       have been misleading, for which I apologise to the
   15   Q. But it sounds as if what you may have been doing,            15       court , but, as I told you, at the time I prepared that
   16       Mr Page, is acting as something of a go-between, really     16       witness statement there were issues in my life which
   17       hooking up the Ruler’s wishes with what sounds like         17       were causing me considerable distress and to this day
   18       a very effective Israeli intelligence -gathering and        18       that continues.
   19       surveillance operation.                                     19   Q. And you did that in order to avoid - - and you omitted to
   20   A. Absolutely not. They were just one of a number of            20       make any mention of the project updates in your report ,
   21       subcontractors that I used.                                 21       didn’t you, the written project updates?
   22   Q. Presumably Insight would have copies of the project          22   A. Because, my Lord, we’re talking about something that
   23       updates that they prepared for you, wouldn’t they?          23       happened five years ago, and in the last five years
   24   A. They have exactly the same protocol that I adopted when      24       I have had my 19-year-old son committed to a mental
   25       we commenced this project. In fact it is not                25       health hospital on numerous occasions, I have had my son

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    1       assault me, I have had my wife have a stroke , and, in         1       come to, Mr Page -- we are going to come to that - - and
    2       fairness , my mind was not focused on trying to remember       2       don’t - - remember that there are three and a half pages
    3       back to 2014, and to this day my son is in a mental            3       concerning Mr Azima -- right ? - - before you answer the
    4       health hospital .   So, with respect , my Lord, what           4       question I put to you. I think you said that you didn’t
    5       counsel is suggesting, that I sought to mislead your           5       look at Mr Azima at all in 2015, so be very careful
    6       court , is absolutely not true .                               6       because you’re on oath now, Mr Page.
    7   Q. And you did so in order to seek to avoid being                  7   A. Yes, I appreciate I ’ m on oath and I ’ ve already mentioned
    8       identified as the author or as the producer of the only        8       that , when I prepared my statement in June of 2019,
    9       surviving version of your project update, dated                9       I could not recall the name of Farhad Azima because this
   10       26 March 2015. That’s why you told those lies - -             10       was a massively complex investigation involving many,
   11   A. Absolutely not, my Lord. My Lord, my name was disclosed        11       many people, and if Farhad Azima had been -- I think , my
   12       in the discovery proceedings prior to this trial .      Why   12       Lord, I have a fairly retentive memory. If Farhad Azima
   13       would I seek to hide behind the fact that I would have        13       had been the focus of my investigation I would have
   14       been the author of this report?                               14       remembered. The answer is he was not and never was and
   15   Q. And you did that , you lied , Mr Page, because the March       15       to this day is .
   16       project update showed that you, Mr Page, were                 16   Q. Could we turn to what Mr Page you actually were doing in
   17       investigating , amongst other people, Mr Farhad Azima?        17       2015 in relation to Mr Azima?
   18   A. Absolutely not.                                                18   A. I ’ m sorry, you’re talking about the paragraph 15 again?
   19   Q. And because that one surviving project update showed           19   Q. No, I ’ m going to ask you if you could try to call upon
   20       that you were investigating the human rights campaign on      20       your retentive memory to help with what you were
   21       behalf of the Ruler?                                          21       actually doing in 2015 as it may have concerned
   22   A. The human rights campaign?                                     22       Mr Azima; all right , Mr Page? That’s what I ’ m looking
   23   Q. Sorry, the concern about a campaign being mounted of the       23       at now; all right ?     It doesn’t matter whether you’re
   24       sort we see described in the March project update.            24       looking at Mr Azima by himself or as part of
   25   A. My Lord, the campaign that we foresaw or what we think         25       Dr Massaad’s team allegedly or as part of a campaigning

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    1       was going to happen is no different to the campaign that       1       group or for some wider very, very confidential
    2       was mounted by Sheikh Khalid to embarrass His Highness.        2       sensitive reason.      Just think about, Mr Page, the extent
    3       So our answer -- our emphasis was what is the nature of        3       to which Mr Azima was the subject - - double underline - -
    4       the complaint and what they intended to do with it , and,      4       of your, Mr Page’s, attention in 2015. Do you
    5       as I said in my evidence, earlier evidence, my brief           5       understand that, Mr Page?
    6       was: was Dr Khater Massaad working with a member of            6   A. I understand the question, my Lord.
    7       His Highness’ family? And this is a follow-on from that        7   Q. Right .   Well, let ’ s try , shall we, to tell his Lordship
    8       investigation .                                                8       truthfully now on oath what you actually did in relation
    9   Q. And you lied because the March project update showed            9       to looking at Mr Azima in 2015?
   10       that you had been investigating , amongst others,             10   A. My Lord, if I may -- my Lord, if I may -- I find this
   11       Mr Azima from as early as March 2015?                         11       slightly offensive .    I am a former police officer .
   12   A. My Lord, with respect , I ’ ve answered that question.         12       I left the police with an exemplary conduct certificate .
   13       Absolutely not.     I was never mandated to or instructed     13       I joined the police to uphold the rule on law and order.
   14       to , then or now, investigate Farhad Azima.                   14       And to propose that I ’ m lying on oath, I find , my Lord,
   15   Q. And in paragraphs 12 to 15 of your witness statement           15       very offensive because I do not lie on oath.
   16       {D/3/4-5} you gave an untruthful account of your              16       I understand the oath and I continue to uphold the
   17       Farhad Azima-related work in 2015, didn’t you?                17       values that I had when I was a police officer .     So the
   18   A. Would you mind if I just read it ?                             18       answer is to your question, my Lord -- is I did not
   19   Q. You may.                                                       19       investigate Farhad Azima. The only reference to
   20   A. Paragraph 15?                                                  20       Farhad Azima is in this report dated March 2016, and
   21   Q. 12 to 15. You can read those paragraphs. I ’ m                 21       this part of the project finished very quickly
   22       suggesting to you that what it does not reveal - -            22       thereafter .
   23   A. No.                                                            23   Q. Can we have the project update up, please , {H7/299}?
   24   Q. - - is the full extent to which you were looking at            24       You know, Mr Page, by now that it ’ s dated 26 March 2015.
   25       Mr Azima as shown by the project update, which we will        25       And his Lordship can take it , can he, that this was

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    1       prepared by Insight , this Israeli investigative outfit       1   A. No, it is from confidential sources, from what I would
    2       that you’ve described today?                                  2        call ”covert operations ”, and by ”covert ”, my Lord, I do
    3   A. That is correct .                                              3        not mean electronic covert operations; I mean
    4   Q. Will we find details of Insight and their work on the          4        cultivating a source by means of under-cover operation.
    5       internet?                                                     5        And I don’t feel too comfortable giving away all the - -
    6   A. I would think not.                                             6        I ’ m happy to expand if you wish, but if you want an
    7   Q. Oh, why not?                                                   7        example, I knew that Khater Massaad -- because I know
    8   A. Because in our - - in the nature of the business they          8        Khater Massaad personally. I have worked with him for
    9       undertake, we do not - - we don’t go on Yellow Pages. We      9        two years, I travelled with him, I socialised with
   10       are a very - - as I am -- a very boutique, respectable       10        him -- so I knew he liked women, just an example -- and
   11       investigation and corporate intelligence agency. So we       11        I don’t mean his wife, I mean other women.
   12       don’t need to put our name on the internet .   My name is    12             Now, if I wanted to get information on
   13       on the internet because my group provides security in        13        Khater Massaad, the English thing is to put someone
   14       hostile environments, and the reference to the               14        beside him to cultivate him in a way that I don’t think
   15       investigation division , which is in my witness              15        I need to explain , my Lord. And that’s how it works.
   16       statement, is a minute part of the work that I do for        16        And it ’ s bizarre , I know, and, my Lord, I ’ m sure it ’ s
   17       governments in hostile environments.                         17        bizarre to this court , but the world in which I live in
   18   Q. So how would somebody get to know about Insight’s work,       18        is populated by former intelligence services , officers ,
   19       then?                                                        19        and they’re the skill sets to this day that are
   20   A. Right .   Okay. So 2005, my Lord, I am providing security     20        converted into the commercial world.
   21       support to the European Commission aid mission to the        21   Q.   It would also include , wouldn’t it - - your particular
   22       Palestinian people, which is in Jerusalem. I am the          22        knack of getting confidential information, that would
   23       only foreign company to be given a licence in Israel to      23        extend to paying people, wouldn’t it , Mr Page?
   24       carry weapons, which is part of the requirement to           24   A. The payment may be no more than a lunch.
   25       protect the diplomats of the European Commission.            25   Q. But it would include paying people for information,

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    1           I also have a licence in Palestine , which is very        1        wouldn’t it , Mr Page?
    2       rare , because I have to work both sides of the divide .      2   A.   Potentially , yes.
    3       To perform the service that I need to provide to my           3   Q. Paying people to get confidential information; yes?
    4       clients , I need to gather intelligence from the              4   A. Absolutely not.
    5       Palestinian Authority and from the Israeli authorities ,      5   Q. Can you look at {H7/299/2}, please, which is the project
    6       and that puts me into contact , my Lord, with people from     6        report .
    7       the Israeli intelligence service .                            7   A. Right , yes.
    8           So, as will be my evidence when it comes to               8   Q. ”In the US, KM’s team hired a team of advisers managing
    9       Mr Halabi, I have numerous connections within the --          9        Farhad Azima ... in order to spread allegations against
   10       both the Palestinian Authority intelligence service and      10        our client .   The main allegations against the client are
   11       the Israeli intelligence service , and when I was seeking    11        on human rights issues ...”
   12       a company to help me on this project , that ’ s how I came   12             Can you see that?
   13       across this company.                                         13   A. Yes.
   14   Q. And why, in a case concerning Dr Khater Massaad and the       14   Q. ”FA, who might also be responsible for paying the
   15       UAE, did you think to - - that actually an Israeli           15        US team, handles all KM’s activities in the US.”
   16       investigative outfit would be the right people to help       16             Can you see that?
   17       you?                                                         17   A. Yes.
   18   A. My Lord, the allegations against Khater Massaad were          18   Q. Then a bit further on down it says:
   19       links to Iran , links to Hezbollah, which is in Southern     19             ”According to our source, FA also hired a private
   20       Lebanon. Who better -- who has more knowledge of Iran        20        investigator   ...”
   21       and Hezbollah and Lebanon than the Israelis ? Certainly      21             Now, who was your source?
   22       not British intelligence .                                   22   A.   It ’ s not my source.
   23   Q. And is your evidence that you thought that none of            23   Q. Well, who is the source you’re talking about there?
   24       Insight ’ s information-gathering would be through illicit   24   A. Well, I actually don’t know who the source is.
   25       obtaining of electronic material , none of it at all ?       25   Q. Oh, I see. So this is an Insight source and you don’t

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    1       know who they’re referring to?                                   1        on the Sheikh Khalid case. That’s how we got from this
    2   A. My Lord, how it works is that everybody within my                 2        quantum leap of finding someone who might be involved in
    3       industry is over- protective with sources, for one of two        3        working with Khater Massaad against His Highness.
    4       reasons: to disclose the source, they put the source at          4   Q. Mr Page, you didn’t actually know, did you, the way in
    5       risk and no one in our industry gives up the source              5        which Insight were going about getting information or
    6       unless asked to do, and I did not ask my colleagues to           6        intelligence for you and the Ruler, did you?
    7       give up their source.     I believe that this information        7   A. Yes, I did .
    8       that they had obtained from the source and the                   8   Q. You weren’t involved in the actual
    9       information I have asked them, the source, was over              9        intelligence -gathering itself , were you?
   10       a series of meetings over lunch.                                10   A. My Lord, I have 40 years in this industry .     I know when
   11   Q. And then the last paragraph:                                     11        information that has been provided to me has come from
   12           ”Our sources have reported that KM’s team suspects          12        an illegal source. This was clearly and unequivocally
   13       that they have an information leak since they noticed           13        information obtained from covert sources.
   14       some of RAK’s actions in the last few months. They              14            Now, if they used a pretext , ie met someone
   15       believe that the client is having someone monitor their         15        pretending to be a journalist , I have no idea , but what
   16       activities either electronically or in other methods.”          16        I do know is that they were never authorised or mandated
   17           Now stopping there, Mr Page, do you know who the            17        or did anything illegal .
   18       ”sources” - - plural - - are who are referred to there?         18   Q. Well, I suggest, Mr Page, that you would have known that
   19   A. I have absolutely no idea , my Lord.                             19        Insight would potentially carry out hacking or illegal
   20   Q. And therefore - - well , in going on, they say:                  20        accessing of electronic data.
   21            ”... have reported that KM’s team suspects that they       21   A. Absolutely not.
   22       have an information leak .”                                     22   Q. And when it says here, ”Our sources have reported that
   23   A. I can’ t comment on why he says that. But, my Lord, if           23        KM’s team suspects ... an information leak ... They
   24       this information been obtained in an illegal way, I am          24        believe that the client is having someone monitor their
   25       lost as to know how we got Joseph Assad’s name wrong in         25        activities either electronically or in other methods”,

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    1       the report because he’s called ”Joseph Aboud”. His name          1        they were right , weren’t they, to be suspicious in that
    2       is not ”Joseph Aboud”.                                           2        way?
    3   Q. Mr Page, you’re in no position to say to his Lordship             3   A. No, because the timeline does not work --
    4       whether Insight did or didn’t use illegal means to               4   Q. Then if we go to {H7/299/3} --
    5       obtain information that fed into these project updates           5   A. My Lord, may I just finish that answer? Sorry. The
    6       of yours.                                                        6        timeline does not work. I was not mandated until
    7   A. I am, my Lord, in a position .                                    7        January of 2015, okay? The report stated March 2015.
    8   Q. How?                                                              8        They were not mandated to go after - - sorry , to put it
    9   A. Because, my Lord, I said in evidence previously that              9        in the timeline , what you’re saying is that their team
   10       Insight were mandated by me and were told that we must          10        are saying that they were subject to electronic
   11       not break the law because the information that we may be        11        interception .
   12       producing for the client may be the subject of legal            12            Now, the worrying part for my client in this report
   13       proceedings and, therefore , cannot be tainted by any           13        is , if you look at Joseph Assad -- and I apologise , my
   14       possibility of illegality .                                     14        Lord, to go on - - it refers to Joseph Aboud, AKA
   15           Now, if you ask me, my Lord, if approaching someone         15        Joseph Assad, being an expert in SIGINT, and for the
   16       under pretext , cultivating them, talking to them, is           16        benefit of my Lord, ”SIGINT” is spook language for
   17       illegal , I think it ’ s probably questionable, but it is       17        ”hacking ”.
   18       not illegal activity .    If someone volunteers -- if the       18            So the concerns that my client had raised about
   19       former mistress of Khater Massaad volunteers information        19        information being leaked from his palace was well
   20       to me about him, I ’ m not sure where the duty of               20        founded because Joseph Assad is a known specialist in
   21       confidentiality lies .    It ’ s as simple as that .   And in   21        that field from his CIA days.
   22       this case the source knew various people named in this          22   Q.   If we go to {H7/299/3}, please, heading, ”KM efforts
   23       report and heard through the grapevine that a campaign          23        against the client .
   24       was about to be launched against His Highness, and it ’ s       24            ”FA and the US Advisory Team.”
   25       the same source that actually was against His Highness          25            Can you see that?

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    1   A. Yes.                                                           1        others.
    2   Q. ”In [consideration] to our previous report , we were           2   A. No.
    3        informed by several new sources ...”                         3   Q. And advisers are likely to be agents, aren’ t they, owing
    4             Can you see that?                                       4        a duty of confidence to their principal ?
    5   A. Yes.                                                           5   A. To my knowledge, this information that ’ s contained in
    6   Q. What were those new sources?                                   6        this report was provided by someone who had had a lunch,
    7   A. My Lord, I ’ ve no idea .                                      7        a social gathering, with somebody else within this team,
    8   Q. And it reads on:                                               8        and - - pardon my expression, my Lord -- had spilled the
    9             ”At the moment, KM’s strategy in the US is to spread    9        beans. We didn’t - - we just wanted to ascertain what --
   10        human rights violations allegations against the client .”   10        if there was any substance to what His Highness
   11             Can you see that?                                      11        believed , that Khater Massaad was working with
   12   A. Yes.                                                          12        a relative of His Highness to create damage and harm to
   13   Q. Then a bit further on down it says:                           13        his reputation .
   14             ”According to our sources, KM’s US lawyer,             14   Q.   It ’ s likely , isn ’ t it , that a plan or strategy of
   15        Kirby Behre ... hired a consultant ...”                     15        Dr Massaad’s in relation to , for example, to some human
   16             What are the sources that are being referred to        16        rights concerns or campaign, that is likely to have been
   17        there , Mr Page, can you tell his Lordship?                 17        confidential to Dr Massaad, isn ’ t it - - likely to be?
   18   A. My Lord, I can’ t answer the question.       I have never     18   A. No, because I ’ m sure that on the internet there ’ s
   19        asked, nor would I ask, unless I had reason to ask, ”Who    19        a thing called , I think - - well , Amnesty International
   20        actually are you talking to ?”, because, as I explained     20        certainly , but Banged Up in Dubai talk about numerous
   21        in my previous evidence, I don’t - - no one gives up        21        human rights abuses in the UAE. So the fact that
   22        a confidential source unless required to by law.            22        Khater Massaad was privy to allegedly human rights
   23        A source is a source, and you don’t - - because you may     23        abuses is probably something that’s reported in open
   24        have a source that is in a very difficult position , and    24        source, I would believe.
   25        if they are to disclose to a third party who that source    25   Q. How do you think, Mr Page, that Dr Massaad’s team came

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    1        is , you may end up compromising your source.                1        to suspect that there was an information leak? What did
    2             So, for example, my Lord, during the investigation      2        you understand to be the reason that , if you like - -
    3        of Khater Massaad I had a source within Lebanese             3   A. My Lord, it ’ s very simple. As I said , His Highness had
    4        intelligence .   He was sharing information that he was      4        good reason to believe that his information had been
    5        getting from Lebanese intelligence - - because it was        5        compromised, so, therefore , it follows that they may
    6        a quid pro quo. I was giving him information, he was         6        have - - somebody may have conducted a covert operation
    7        giving me.                                                   7        into His Highness’ palace , the RAK prosecutor’s office ,
    8             If I were to give up the source, bearing in mind we     8        which was fed back to Khater Massaad.
    9        are talking about links to Hezbollah, there is a good        9             Now, my Lord, I can tell you that to this day or - -
   10        possibility that my source may actually suffer physical     10        sorry - - that there ’ s certainly - - during the course of
   11        harm, so therefore I am -- as my colleagues are - - I am    11        my investigation into Khater Massaad, it is clear that
   12        overprotective of my sources. And it ’ s well founded and   12        Khater Massaad maintains contacts within Ras Al Khaimah
   13        it ’ s something that has been drilled into me and          13        that is feeding in information and we’re getting that
   14        disciplined in me since I ’ ve been in this industry for    14        from human intelligence sources.
   15        a number of years.                                          15             So, my Lord, I ’ m trying to make the point is we were
   16   Q.   It ’ s right , isn ’ t it , Mr Page, that information       16        well founded in our belief that there ’ s - - something was
   17        concerning Mr Azima’s alleged management of Massaad’s       17        really amiss within the security of the Palace and the
   18        team in the US, including as to the advisers that were      18        RAK prosecutor’s office and perhaps in RAKIA. I ’ m just
   19        working for the team, was likely to be confidential         19        repeating what I said previously .
   20        information?                                                20   Q. Could you go to page 16 of this document, please
   21   A. No.                                                           21        {H7/299/16}, which is the summary. It ’ s the summary:
   22   Q. And what’s been described here, I suggest, Mr Page, is        22             ”As we reported above ...”
   23        the procurement on behalf of - - the procurement as part    23             Can you see that?
   24        of this project of confidential information - -             24   A. Yes.
   25        information confidential to Dr Massaad or Mr Azima or       25   Q. You’re reporting here, aren’ t you, for the benefit of

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    1       the Ruler and for RAK, basically , aren’ t you?                1        would be guilty of a very serious criminal offence in
    2   A. Yes.                                                            2        UAE.
    3   Q. And that would include RAKIA?                                   3   Q. What would happen to them?
    4   A. Correct .                                                       4   A. I have no idea .
    5   Q. You say this :                                                  5   Q. There’s an ominous tone there when you said that .       What
    6             ”As we reported above, KM’s US team has a certain        6        would happen to them?
    7       plan to smear RAK and its Ruler with human rights              7   A. I have no idea .    I imagine trying to plot a coup d’ état
    8       allegations .”                                                 8        would have serious consequences. What that would mean,
    9             That would be a serious concern, wouldn’t it , at        9        I don’t know. I ’ m not familiar - -
   10       that time, to the Ruler? It would go beyond merely --         10   Q.   Capital consequences?
   11       it would go on -- it would go beyond merely a concern         11   A. Well, I ’ m not familiar with UAE law so I can’ t answer
   12       about what you’ve alleged to be some information leak in      12        you.
   13       the Palace , wouldn’t it , Mr Page?                           13   Q. So his Lordship can take it - - if you wouldn’t mind
   14   A. No, that ’ s not correct , my Lord. Given that as far back     14        answering the question as well - - that the Ruler would
   15       as 2008/2009 his step-brother -- sorry , his                  15        have been very, very exercised by this alleged plot
   16       half -brother, Sheikh Khalid, had produced a report           16        against him?
   17        criticising His Highness and the way His Highness acted      17   A. You mean concerned?
   18       as the Crown Prince.                                          18   Q. Yes.
   19             It goes - - therefore follows that of course he would   19   A. Well, I would imagine so, but he never voiced those
   20       be concerned if there was going to be a campaign against      20        concerns to me.
   21       him, but it would be following - - and again, my Lord,        21   Q. I suggest that ’ s not true , Mr Page.
   22       it ’ s on the internet if anyone wants -- it ’ s called the   22   A. What is not true?
   23       ”Rogue Report”, and if anybody wanted to follow it            23   Q. You spoke to the Ruler about various matters at this
   24       through, this would make sense, that this is where they       24        time and you’re saying that the Ruler didn’t express to
   25       tried to discredit His Highness.                              25        you concerns about what we see you writing about on

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    1   Q. Mr Page, have I understood your evidence correctly? Is          1        these three or four pages in this report?
    2       it your evidence that the Ruler was concerned that his         2   A. No.
    3       half -brother was in cahoots with Dr Massaad to start          3   Q. Is that what you’re saying to his Lordship?
    4       some campaign against the --                                   4   A. His brief to me was that, ” I believe that my family
    5   A. That is not my evidence.                                        5        member may be working with Khater Massaad”. We didn’t
    6   Q. Don’t interrupt , please .     Don’t interrupt , please .       6        stray into , ”They’re trying to plot my overthrow”. We
    7             I understand your evidence to be that the Ruler was      7        didn’t - - what I can say on oath, my Lord, is it is
    8       concerned, as you understood it , that his half -brother       8        apparent that His Highness has great concerns about what
    9       was in league with Dr Massaad and that together they           9        is going on within his emirate because, during the time
   10       were mounting some campaign in order to destabilise           10        at which I served him, I have seen that he has enhanced
   11       the Ruler and RAK. I think that ’ s a summary of what         11        considerably the security at the Palace .   For what
   12       you’ve said today.                                            12        reason, I cannot comment. But I had seen it at my first
   13   A. My evidence is that a member of his family , which is          13        hand. I go to the Palace .    When I first went to the
   14       what I raised with my Lordship before we broke for            14        Palace in 2015, there were no armed security at the
   15       lunch.                                                        15        Palace .   To this day there are armed UAE soldiers
   16   Q. But the concern of the Ruler was that there was a plot         16        guarding his palace .
   17       to destabilise him and RAK; in other words, to                17   Q. Mr Page, can you answer the question rather than give
   18       destabilise his Rulership of RAK. Is that right ?             18        sort of lengthy speeches all the time?
   19   A. Yes.                                                           19   A. I ’ m sorry. Please ask your question again.
   20   Q. That would be something of enormous concern to                 20   Q. I ’ m going to take longer, I ’ m afraid , because if you
   21       the Ruler, wouldn’t it ?                                      21        look at the transcript , I ask you a question and then
   22   A. Well, it would not only be of great concern to the             22        you give a very long answer.
   23       Ruler, it would be of great concern to the federal            23   A. I beg your pardon, my Lord.
   24       government. The Emirate of Ras Al Khaimah is a federal        24   Q. Now, you can give a long answer, but do please try to
   25       emirate and anybody who tried to destabilise an emirate       25        answer the question.

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    1   A. I understand, my Lord.                                            1   A.   It is .
    2   Q. I was asking you about the - - what we see in the project         2   Q. Thank you, Mr Page. And it follows from that , doesn’t
    3       update, the three and a half pages that refer to                 3        it , that what you put in train on behalf of RAK and
    4       Mr Azima, they do so, don’t they, in terms that Mr Azima         4        RAKIA or the Ruler at this time was some serious
    5       is apparently managing Dr Massaad’s US team? That’s              5        intelligence -gathering on the US team and Mr Azima,
    6       right , isn ’ t it ?                                             6        didn’t you?
    7   A. That’s what the report says , yes.                                7   A. Correct , using human intelligence sources.
    8   Q. And this report records that this team is in effect               8   Q. And I suggest that you wouldn’t have stopped at human
    9       working on Dr Massaad’s side of things , doesn’t it ?            9        intelligence sources, Mr Page. You would have been
   10   A. That is correct .                                                10        content to use illegal intelligence -gathering services
   11   Q. And I think from your evidence the concern was -- there          11        in order to achieve the information that you were
   12       was a concern with the Ruler that actually this was part        12        required to produce for the Ruler.
   13       of some attempt to threaten the Ruler’s stability and           13   A. With respect, no, because this operation actually - -
   14       position .                                                      14        this part of my mandate ended shortly after we produced
   15   A. No, I would not say that .                                       15        this report .
   16   Q. And I suggest that that was the case, Mr Page, and that ,        16   Q. And there’s no evidence, is there , Mr Page, that you
   17       since that was the case, the Ruler would have been very,        17        produce -- there ’ s no project update that we’ve
   18       very focused on anybody whom the Ruler suspected of             18        seen in which there’s any suggestion that the
   19       being part of that alleged plot .                               19        intelligence -gathering and monitoring we see referred to
   20   A. That is not correct .                                            20        here have been brought to an end?
   21   Q. That’s fair , isn ’ t it , Mr Page?                              21   A. Well, it was brought to an end because, my Lord, we
   22   A. No, I think the Ruler’s concern was that information             22        decided - - and in discussions with His Highness -- that
   23       regarding the ongoing investigation into                        23        the source that we was using for this - - to obtain this
   24       Dr Khater Massaad and the case being prepared by the RAK        24        information might be compromised. So for his own safety
   25       prosecutor was being shared outside the confines of his         25        we decided to withdraw continuing to obtain information

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    1       organisation .                                                   1        in respect of this campaign.
    2   Q. And, Mr Page, if we go to {H7/299/16} -- I think we can           2   Q. What did you understand the intelligence -gathering would
    3       go through this little paragraph:                                3        comprise, then? Just human sources; is that right ?
    4             ”As we reported above, KM’s US team ...”                   4   A. Yes, human sources. I mean, if you are to mount
    5             That was viewed by the authors of this report to be        5        a campaign of this - - of that described in my report,
    6       being managed by Mr Azima, wasn’t it?                            6        Dr Massaad would have been talking to PR agencies,
    7   A. Yes.                                                              7        corporate communications. We have a number of sources
    8   Q. So we can read it as follows , if for ”KM’s US team” we           8        which we had used in the Khater Massaad -- I beg your
    9       replace - - if we replace ”KM’s US team” in this                 9        pardon -- in the Sheikh Khalid investigation , who would
   10       paragraph with ”KM’s US team managed by Mr Azima”, we           10        hear - - I mean a mandate -- I apologise if I ’ m teaching
   11       can read as follows :                                           11        you to suck eggs. Under US law, if you work for a - -
   12             ”As we reported above, KM’s US team, managed by           12        against the interests of a foreign government, you are
   13       Mr Azima, has a certain plan to smear RAK and its Ruler         13        required to register that with a certain organisation in
   14       with human rights allegations .       As far as we know, at     14        the United States .   So therefore we were seeking to see
   15       this point , they do not have any evidence to back up           15        whether any of the main PR agencies had registered an
   16       these allegations , but they started gathering                  16        interest representing Khater Massaad or whoever to go
   17       information for a campaign, based on hearsay and                17        after His Highness.
   18       testimonies , and started searching for a platform to           18   Q. Mr Buchanan gave evidence that you were being paid
   19       make it public .       The campaign is not public yet , so we   19        directly by the Palace in 2015 and 2016. Is that right ,
   20       will be able to gather intelligence on their progress in        20        Mr Page?
   21       order to monitor their activities and attempt to contain        21   A. That is correct .
   22       or ruin their plans .”                                          22   Q. Mr Buchanan gave evidence that in 2017 to 2018 you were
   23             Now, Mr Page, the reference to ” their progress” and      23        being paid about US $300,000 per quarter. Would that be
   24       ” their activities ” and ” their plans” is a reference to       24        right ?
   25       KM’s US team managed by Mr Azima, isn’t it , Mr Page?           25   A. That’s - - well , from my knowledge. I can’ t - - without

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    1        referencing my invoices - - if he says that , he would             1   A. Yes, I ’ ve read it .
    2        have been authorising my invoices, so perhaps he’s got             2   Q. And you can see that Mr Bustami says this :
    3        the better handle on this than I have.                             3            ” I have had few discussions with boss [that ’ s
    4   Q. How much were you being paid in 2015 for this work?                  4        a reference to the Ruler, Mr Page] about FA and he is
    5   A. Again, my Lord, it would vary. It would be 100,000                   5        adamant that we bring charges against him.”
    6        a month, it might be - - it depended on the scope of work          6            And then a bit later on it says:
    7        that we were undertaking. I mean, bear in mind that we             7            ”He wants me to get you on the case to file some
    8        were working, my Lord, in 14 or 15 jurisdictions .                 8        sort of charges against Farhad.”
    9        That’s a lot of resources to commit, and not only                  9            And then later on:
   10        consultancy fees or contractors ’ fees , there ’ s travel         10            ”When are you next in town so that me you and Jamie
   11        costs , etc , etc .   So I - - honestly, my Lord, I can’ t        11        could hook up and coordinate our attack .”
   12        give you a figure because I just don’t know it without            12            Do you see that , Mr Page?
   13        referencing material which I don’t have before me.                13   A. I can, my Lord, yes.
   14   Q. Can you be shown {H7/268}, please, Mr Page? Bear in                 14   Q. And you at this time - - you had meetings, didn’t you,
   15        mind that that project update is 26 March 2015. Do you            15        with Mr Buchanan and the Ruler?
   16        think it likely that the Ruler - - sorry , go to {H7/268}         16   A. That is correct .
   17        first .                                                           17   Q. And I put it to you, Mr Page, that you would have been
   18            Mr Buchanan gave evidence that one of the prompts             18        made aware at or around that time that the Ruler was
   19        for the emails - - you’ ll see there ’ s some emails in           19        adamant that charges should be brought against Mr Azima.
   20        early April 2015, {H7/268}.                                       20        That’s right , isn ’ t it ?
   21   A. Do you wish me to read them?                                        21   A. Absolutely not, my Lord.
   22   Q. I just want you to - - now you’ve got the page, listen to           22   Q. And you would have been made aware that the Ruler wanted
   23        the context .   You know context is important. If I could         23        to target Farhad Azima?
   24        set some context for once and then I ’ ll ask you the             24   A. Absolutely not, my Lord.
   25        question.                                                         25   Q. And you would have been made aware that one -- that you

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    1            Mr Buchanan gave evidence that the March project               1        were -- in effect , that you were being instructed to
    2        update report that I have just taken you to was, he                2        obtain information on Mr Azima because the Ruler wanted
    3        thought, one of the prompts for what we see in these               3        that to be done?
    4        emails referred to as ”the Ruler’s instruction in                  4   A. No, my Lord. I already said I was never instructed by
    5        relation to Mr Azima”; all right ?                                 5        His Highness or anybody else in Ras Al Khaimah to
    6   A.   If you say so, my Lord. I ’ m not familiar with this               6        conduct an operation or investigate Farhad Azima, and
    7        correspondence.                                                    7        that is my evidence.
    8   Q. No, and you’ve got no basis to challenge that , have you?            8   Q.   If you go to {H7/464}, please, you’ ll see an email on
    9   A. I ’ ve never seen it , my Lord, so I don’t know -- I ’ m             9        20 July 2015. Have you got that , Mr Page?
   10        not - - the only person I reported to was His Highness            10   A. Not yet .    (Pause)
   11        directly or Jamie Buchanan. I had no idea what the                11   Q. Have you got that?
   12        internal politics were within the Palace about what was           12   A. Yes, I have, my Lord, yes.
   13        going to be decided or not decided.       It ’ s not part of my   13   Q. You can see that on 19 July 2015 -- it ’ s the bottom
   14        mandate.                                                          14        email - - Mr Buchanan sent this email, saying:
   15   Q. No. So at the foot of the page Mr Buchanan says this to             15            ”NB [that ’ s Mr Bustami] says the Boss wants criminal
   16        Mr Handjani on 4 April 2015:                                      16        stuff taken out of [the] letter and to go after FA ...”
   17            ”Good afternoon. HHSS had wanted us to target FA - -          17            Can you see that?
   18        on what basis would we do this?”                                  18   A. I can, my Lord, yes.
   19            Can you see that , ”to target ”? And ”FA” is                  19   Q. And ”FA” is a reference to Mr Azima; all right ?
   20        a reference to Farhad Azima; all right ?                          20   A.   It must be, my Lord, yes.
   21   A. I see that , my Lord, yes.                                          21   Q. Yes, it must be. So it looks , doesn’t it , Mr Page, as
   22   Q.   If you go on, please , to {H7/273}, you will see some             22        if , in July 2015, the Ruler was still letting it be
   23        more emails on 4 April 2015, featuring Mr Bustami,                23        known that he wanted Mr Azima to be gone after?
   24        Mr Handjani and Mr Buchanan. Can you read that ,                  24   A. My Lord, I can’ t possibly comment. I had no
   25        Mr Page? (Pause)                                                  25        instructions from His Highness to go after Farhad Azima.

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    1       What His Highness was talking about I have no                  1   Q. And you placed this in 2016.
    2       comprehension.                                                 2   A. Yes.
    3   Q. And I suggest, Mr Page, you were having - - you were            3   Q. And you say in paragraph 15:
    4       involved with the Ruler and Mr Buchanan at that time,          4             ”During that conversation, Jamie asked me to keep my
    5       weren’t you?                                                   5       ears and eyes open for anything I heard about a negative
    6   A. In 2015?                                                        6       publicity campaign that might be damaging for RAK.”
    7   Q. Yes.                                                            7             Do you see that?
    8   A. Yes, that is correct , my Lord.                                 8   A. Yes, I do.
    9   Q. And you were working on the project for them,                   9   Q. We’ve seen, haven’t we, Mr Page, that a negative
   10       weren’t you?                                                  10       publicity campaign that might be damaging for RAK was
   11   A. I was working on the mandate as described in my witness        11       something that you were looking at back in March 2015,
   12       statement.                                                    12       as recorded in that project update?
   13   Q. And that project included, didn’t it , concerning              13   A. No. The instructions from His Highness in January of
   14       yourself with the alleged campaign by Dr Massaad and his      14       2015 were to establish whether Khater Massaad was
   15       associates?                                                   15       working in collaboration with a member of his family to
   16   A. I just said in evidence previously we shut down that           16       orchestrate obtaining information illegally from his
   17       particular project as early as April because to continue      17       palace , understanding the strategy , understanding the
   18       with the project would have compromised the source and        18       investigation .   It was not about ascertaining if there
   19       I have said we decided not to continue with it because        19       was a plan to launch a smear campaign. That came as
   20       it was not necessary.                                         20       a result of our - - we think outside the box, and it just
   21   Q. And I suggest that you would have been told that your          21       happened, in trying to understand whether Khater Massaad
   22       remit to target Mr Azima by getting information for the       22       was working against His Highness’ interest with a member
   23       Ruler had become all the more important as at July 2015.      23       of his family , we developed a source who gave us this
   24   A. My Lord, I report what -- I said it once and I will say        24       information which is in the report .      We were never
   25       it again.     I was never instructed by His Highness or any   25       mandated to go after it .      It ’ s something that we used as

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    1       of his advisers to target , investigate - - and by             1       part of the ongoing investigation into the link between
    2       ” target ”, I don’t know what that means -- Farhad Azima.      2       Khater Massaad and a member of His Highness’ Royal
    3   Q. And I suggest that around about July , when it was made         3       Family.
    4       plain to you that the Ruler still wanted Mr Azima gone         4   Q. And in paragraph 16 you say this {D/3/5}:
    5       after , you would have redoubled your                          5             ”Following this conversation with Jamie, I spoke to
    6       intelligence -gathering efforts on Mr Azima.                   6       a few contacts I use occasionally in the investigations
    7   A. Absolutely not, my Lord. I wasn’t doing anything                7       business, journalism and PR industry and asked them to
    8       against Farhad Azima. Why would I double something I’m         8       keep their ear to the ground.”
    9       not doing?                                                     9             Now without giving a lengthy speech, please ,
   10   Q. And I suggest that around about October and                    10       Mr Page, who were the contacts you’re there talking
   11       November 2015 you caused or procured the hacking of           11       about?
   12       Mr Azima’s emails through spear-phishing attacks on his       12   A. I cannot remember.
   13       data.                                                         13   Q. You can’ t remember?
   14   A. Absolutely not, my Lord.                                       14   A. I cannot remember.
   15   Q. And that you continued to procure illegal access to            15   Q. Including the contacts in the investigations business,
   16       Mr Azima’s data through 2016?                                 16       you can’ t remember?
   17   A. Absolutely not, my Lord.                                       17   A. My Lord, the - -
   18   Q. And you made that illegally obtained information               18   Q. Can you remember or not?
   19       available to those you were working for, namely               19   A. I cannot remember.
   20       the Ruler, RAK and RAKIA?                                     20   Q. I suggest, Mr Page, that what you’re talking about in
   21   A. I did not, my Lord.                                            21       paragraphs 15 and 16 were simply a continuation of the
   22   Q. Can we go, please , to paragraph 16 of your witness            22       intelligence -gathering and monitoring project that we
   23       statement at page {D/3/5}? You refer there to                 23       saw evidenced in the March 2015 project update.
   24       a conversation you allegedly had with Mr Buchanan.            24   A. Absolutely not. Absolutely not, my Lord.
   25   A. Yes.                                                           25   Q. I ’ m going to ask you about the alleged discovery of this

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    1       data in August 2016. You claim, Mr Page, don’t you,            1       embarrassed to say that I ’ m a dinosaur. I do not use
    2       that you learnt of the hacked data on the internet             2       the computer. Because this was going to be searches in
    3       through Mr Halabi?                                             3       the Arabic language, Mr Halabi was one of the people
    4   A. That is correct .                                               4       that I reached out for .
    5   Q. And you give evidence there in paragraph 18 {D/3/5-6}.          5   Q. And I suggest that you have used Mr Halabi - - that you,
    6       Can you see that?                                              6       rather , asked Mr Halabi to sign a statement claiming he
    7   A. Yes.                                                            7       found this hacked data in order that Mr Halabi could
    8   Q. You were in court today, weren’t you, when Mr Halabi            8       serve as some source for that discovery - -
    9       gave his evidence - -                                          9   A. That is not true , my Lord.
   10   A. I was, my Lord.                                                10   Q. - - in order to place the source of that discovery at
   11   Q. - - and when he indicated the way in which he came by          11       least one step further removed from you and/or the
   12       this information?                                             12       people working for you.
   13   A. I was, my Lord.                                                13   A. My Lord, I ’ m repeating what I said .   I was never
   14   Q. And it ’ s right , isn ’ t it , that by the time Mr Halabi     14       mandated by His Highness, by any of His Highness’
   15       came by this information, you had worked for many, many       15       advisers , to go after Farhad Azima. So I can’ t answer
   16       months using the expert services of Insight ,                 16       the question any farther .   I ’ m telling you that I was
   17       a specialist Israeli outfit ?                                 17       never mandated and that’s on oath.
   18   A. Absolutely not, my Lord.                                       18   Q. And I put it to you, Mr Page, that you arranged for
   19   Q. Had you stopped using Insight by August?                       19       Azima’s confidential data, that by this stage had been
   20   A. No, they were working on the mandate that we were given        20        illegally obtained by or through your offices , to be
   21       by Mr Buchanan in March of 2015, which was to                 21       published online in August 2016.
   22       investigate Khater Massaad’s links to Iran , Hezbollah - -    22   A. Absolutely not, my Lord.
   23       it ’ s in my evidence -- but Iran , Hezbollah, we were        23   Q. And you were working for RAK and/or RAKIA and the Ruler
   24       looking at - - we were looking in Kyrgyzstan, I was           24       at that time, weren’t you?
   25       looking in DRC, I was looking in - - all over the place ,     25   A. Well, I would say, my Lord, I was actually working for

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    1       at least six or seven jurisdictions , my Lord. But we          1       His Highness, not RAK or RAKIA. I was working for the
    2       were not looking at Dr Farhad -- sorry , correction - - we     2       Government of Iraq, of which His Highness is the Ruler.
    3       were not looking at Farhad Azima.                              3   Q. And the Government of Iraq ultimately - -
    4   Q. So I suggest, Mr Page, that if you had Insight , with all       4   A. I beg your pardon, ”RAK”, nor ”Iraq ”.
    5       its expertise , information-gathering for you at that          5   Q. Yes, and RAKIA is the investment authority of the
    6       time, if there was something interesting and new               6       RAK Government?
    7       concerning Mr Azima or the alleged campaign that he was        7   A. That is my understanding, my Lord.
    8       involved in for Khater Massaad, you’d have got wind of         8   Q. And you would have been aware that there was a plan
    9       it straightaway from someone like Insight , wouldn’t you,      9       afoot there to ruin Mr Azima through some sort of
   10       Mr Page?                                                      10       offensive which RAKIA had by then launched?
   11   A. No, my Lord, they had a limited mandate and it’s in my         11   A. No, my Lord, I was not privy to any of those
   12       evidence. Jamie asked me to do this not as a mandate.         12       conversations with His Highness’ advisers .
   13       I was not mandated. I was not paid.      Just , ” If you’re   13   Q. Who else did you tell about the hacking of Mr Azima’s
   14       out and about, keep your eyes to the - - ears to the          14       data, please? Who did you tell about that?
   15       ground in case you hear anything ”.    That was it and they   15   A. As outlined in my statement.
   16       were never mandated by me to do that, because had             16   Q. I ’ d suggest that you illegally obtained that data and - -
   17       I mandated them, they would have been paid. I was not         17       did you discuss the illegal obtaining of it with
   18       being paid for this .                                         18       anybody?
   19   Q. I suggest, Mr Page, that the alleged involvement of            19   A. I didn’t obtain the information illegally so I ’ m not
   20       Mr Halabi in relation to discovering this hacked data is      20       sure who I would have discussed it with.
   21       entirely invented.                                            21   Q. Can I ask you, by August 2016 the negotiations between
   22   A. My Lord, no, it ’ s not. That is - - Mr Halabi and I have      22       RAK and RAKIA and Dr Massaad had broken down, hadn’t
   23       had a long-standing relationship .    This mandate -- and,    23       they?
   24       my Lord, just to answer your question that you raised to      24   A. I believe so, my Lord, but again I ’ m not party - - I ’ m
   25       me, I do not - - I am not computer literate .    I ’m         25       not privy to that sort of conversation.

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    1   Q. And by the end of September litigation had been started ,        1           ” I believe I spoke to Jamie first because he was my
    2        hadn’t it , by RAKIA against Mr Azima?                         2       client and that he asked me then to contact Neil Gerrard
    3   A. Again, my Lord, I ’ m not privy to that type of - - I ’ m not    3       at Dechert and let him know what I had heard but it may
    4        part of the litigation team.                                   4       have been the other way round. I think I may have
    5   Q. Are you aware of what, if any, campaigning has been              5       spoken to them more than once in this period.        I do not
    6        carried out on behalf of RAK or RAKIA since                    6       recall how I provided them the links that Majdi had
    7        September 2016 against Mr Azima?                               7       given to me.”
    8   A. Sorry, my Lord --                                                8           Can you see that?
    9   Q. Since - -                                                        9   A. That is my recollection , my Lord.
   10   A. No -- sorry - - by ”campaigning” you mean what?                 10   Q. Then you go on to say:
   11   Q. I mean online campaigning, I mean spreading stories,            11           ” I do not know what Jamie and Neil did with the
   12        trying to promulgate stories adverse to Mr Azima --           12       information ...”
   13        stories adverse to Mr Azima.                                  13           Can you see that?
   14   A. I am aware that they hired media communications                 14   A. No, I passed on the information - - as I said , this was
   15        consultants , but what their mandate was is not within my     15       not a mandate from Mr Buchanan. This was, ”Please have
   16        knowledge, my Lord.                                           16       a look ”.    I found it .    I passed it on. That was my --
   17   Q. So you don’t know what, if any, steps RAK or RAKIA took         17       the end of my involvement in that particular exercise ,
   18        to mount some sort of publicity campaign against              18       which again was not a mandate. It was just , ”Can you do
   19        Mr Azima since that date; is that right ?                     19       this ?”
   20   A. My Lord, I ’ m not privy to that type of information.           20   Q. So after you had passed on this information to
   21   Q. What have you done for RAK or RAKIA since August 2016?          21       Mr Buchanan and Mr Gerrard for the first time - - after
   22        What services have you performed since then?                  22       you’d initially passed it on - - that was the end of your
   23   A. Continued to investigate Khater Massaad; I have                 23       contacting them in that regard?
   24        continued to look at issues involving their dispute in        24   A. Other than that I am aware, because I am aware, that
   25        Georgia; I have continued to look at issues in                25       they hired a specialist - - computer forensic specialist

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    1        Kyrgyzstan where money went missing; I have continued to       1       to download the material. Other than that , I ’ m not
    2        look at money that went missing in India ; I have              2       aware of - - and I am aware, my Lord, that Decherts have
    3        continued to look at money that went missing in                3       reviewed, interrogated the information, but other than
    4        I believe Bulgaria - - it may be Romania, my Lord,             4       that , I ’ m not aware of anything else .
    5        I can’ t remember; and, more importantly, the Iranian          5   Q. But as far as you’re concerned, Mr Halabi gave you the
    6        issue .   But that is really of great concern to the           6       information, the two links , you then passed it on on the
    7        Government of Ras Al Khaimah.                                  7       phone to Messrs Buchanan and Gerrard or one or both of
    8   Q.   It ’ s right , isn ’ t it - - if you want to go in your        8       them; is that right ?
    9        witness statement, please , Mr Page, to {D/3/6} --             9   A. Yes, that ’ s correct , my Lord.
   10   A. Sorry, which?                                                   10   Q. And you didn’t pass on any further links to either of
   11   Q.   If you go to paragraph 20, please .     Start at              11       those gentlemen subsequently?
   12        paragraph 19, please , Mr Page.                               12   A. My Lord, I run at that time a company turning over --
   13   A. Yes.                                                            13       I am the chairman of a company turning over £27 million
   14   Q. Thank you. You say in paragraph 19 -- this is your              14       a year.     I am running complex contracts in hostile
   15        account that Mr Halabi called you. Do you remember            15       environments. This was a favour for Mr Buchanan. It
   16        giving - - well , you’ve given evidence of that in            16       was not - - I didn’t keep - - it was literally , ”Can you
   17        paragraph 19. Can you see?                                    17       do it ?”, I passed the information on and that was it .
   18   A. Yes, I vaguely remember he called me, yes.                      18       I don’t recall , I could not possibly recall ,
   19   Q. You say in paragraph 20:                                        19       four years - - nearly four years down the road or
   20             ”When I received this information from Majdi,            20       something, my Lord -- four years after the event, what
   21        I would have picked up the phone to Jamie although I do       21       exactly was said and what I said and who I said because
   22        not specifically remember doing so.”                          22       I run a very big organisation .      I ’ m the chairman of the
   23             Do you remember that?                                    23       group.
   24   A. Yes, I do remember that.                                        24   Q. Could you go, please , to {G/26.10}?
   25   Q. And then a bit later on you say:                                25   A. Yes, I have it in front of me.

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    1   Q. This is a copy of the judgment of Mr Justice Rix , as he           1        both in the United Kingdom and in Switzerland, were to
    2        then was, in Dubai Aluminium v Sayed Reyadh Sayed                2        obtain the information.     I at all times - -
    3        Abdulla - -                                                      3   Q. What’s the answer? You seem to have given the same
    4   A. ”Riyadh”.                                                          4        answer again not to my question. What’s the answer to
    5   Q. I defer to you, Mr Page. 3 December 1998.                          5        my question?
    6             You’ ll recollect this case, won’t you, Mr Page?            6   A. You’re asking me the question did I authorise or
    7   A. Yes, it was one of the first cases I did with the - - for          7        sanction - -
    8        the Government of Dubai.                                         8   Q. No, I didn’t .      I didn’t ask you that .   I asked you
    9   Q. And if we go, please - - I don’t think we need to bother           9        whether you thought making pretext calls to the banks in
   10        with the case except for the way it deals with your role        10        the way that Mr Justice Rix describes and with which you
   11        in it .   If you go to {G/26.10/4} please - - that ’ s the      11        must be familiar - - whether you think that ’ s unlawful or
   12        fourth page of this - -                                         12        not. You, Mr Page, here today, what do you think about
   13   A. Yes.                                                              13        it ?
   14   Q. - - can you see what Mr Justice Rix records from lines 19         14   A. Yes, Mr Justice Rix said it was unlawful. I cannot
   15        down to 31, please?                                             15        argue with the decision of Mr Justice Rix .
   16   A. Yes, I can read it , yes.                                         16   Q. So it ’ s only because he made that finding that you think
   17   Q. Have you read it ?                                                17        it ’ s unlawful, is it ? You didn’t think independently --
   18   A. Yes, I ’ m familiar with it because --                            18   A. No, no, I ’ m sorry, my Lord. I did not instruct my
   19   Q. You’re familiar with it ?                                         19        agents to obtain information illegally by pretext
   20   A. Yes.                                                              20        information.     I only became aware of it when this case
   21   Q. And that’s a reference to you, Mr Page, isn ’ t it , in           21        came before Mr Justice Rix .    My instructions to my
   22        that page?                                                      22        agents then and to this day is : you operate within the
   23   A.   It is , my Lord, yes.                                           23        law.
   24   Q. And there was evidence, wasn’t there , filed through an           24   Q. I ’ m sorry, Mr Page, I suggest that ’ s not truthful and
   25        affidavit before Mr Justice Rix , in relation to this           25        that you would -- that you are perfectly happy to nod

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    1        particular application ,    ”... that information in             1        and wink at sub-agents so that they get information by
    2        relation to certain of Mr Al Alawi’s accounts had been           2        whatever means necessary.
    3        obtained by a sub-agent instructed by Page Associates            3   A. My Lord, this was an enormously complex investigation
    4        making what Mr Page of that firm called ’ pretext calls ’        4        involving what I would only describe as an organised
    5        to the banks concerned ...”                                      5        crime gang working within Dubai Aluminium. I did not
    6             Do you see that?                                            6        commission or authorise them to do it .     I accept
    7   A. Yes, my Lord.                                                      7        unreservedly that this is in breach of the law as
    8   Q. And from your evidence today, it sounds as if you don’t            8        prescribed in Mr Justice Rix’ s decision , for which
    9        think making pretext calls to banks would be unlawful;           9        I have apologised to the court , but I can say no more on
   10        is that right ?                                                 10        it .    It was not something I sanctioned; it came out
   11   A. My Lord, my instructions to my agent at the time                  11        after the event.
   12        I commissioned them to conduct the work into                    12   Q.   If we go to {G/26.10/5}, can you read lines 16 to 27,
   13        Mr Al Alawi, who by, my Lord -- at that point was               13        please , Mr Page?
   14        subject to a criminal investigation both in Dubai and           14   A. Sorry?
   15        Switzerland, was to undertake investigations .     I had no     15   Q.   It starts :
   16        knowledge until this case arose as to how they obtained         16               ”This evidence is not answered on behalf of Dubai.”
   17        that information.                                               17               Can you see?
   18   Q. What’s the answer to my question?                                 18   A. Oh, sorry , you’re talking - - all right .
   19   A. That I - - sorry , was your question did I authorise              19   Q. Lines 16 down to 27.
   20        pretext calls ?                                                 20   A. Yes, understood.
   21   Q. I said that from your evidence today it sounds as if you          21   Q. That’s all right .      Just read that to yourself , please .
   22        didn’t think that making pretext calls to banks to              22        (Pause)
   23        obtain information would be unlawful.                           23   A. Yes, I can see what it says , yes.
   24   A. Sorry, I said - - I did not say I did not think it was            24   Q. Mr Justice Rix found, didn’t he, that there was a strong
   25        unlawful.     I ’ m saying that my instructions to my agents,   25        prima facie case of criminal or fraudulent conduct in

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    1       the obtaining of such information concerning                     1        Shashank Manohar (BCCI president) and Lalit Modi and the
    2       Mr Al Alawi’s accounts?                                          2        secretary ’ s (Anurag Thakur) pictures with an alleged
    3   A. I accept that , my Lord, yes.                                     3        bookie were generated and circulated to a section of the
    4   Q. And that was something which had arisen as a result of            4        media’, said the official .”
    5       your use of the sub-agent to get information for                 5             There was a concern, wasn’t there , about the illegal
    6       a client ?                                                       6        obtaining of emails and their disclosure to the press?
    7   A. That is correct , my Lord, yes.                                   7        Is that right ?
    8   Q. Can we go, please , to {G/26.15}? Have you got that ,             8   A. No, because at that time, my Lord, Lalit Modi was under
    9       Mr Page?                                                         9        investigation by what is called the ”CBI”, which is the
   10   A. Yes.                                                             10        Central Bureau of Investigation , ie the Indian
   11   Q. Do you see that?                                                 11        equivalent of the FBI, in relation to criminal activity .
   12   A. Yes.                                                             12        I have no idea whether they sought to get information
   13   Q. This is a piece by the Hindustan Times on December 15,           13        from Lalit Modi, but the reference to - - this is not
   14       2015. You can see what it says:                                 14        something I took part of .
   15             ”BCCI wants all details of snooping from UK firm.         15   Q. Were you involved in any alleged illegal obtaining of
   16             ”With the previous cricket Board secretary                16        emails at this time?
   17       Sanjay Patel clarifying his position on the payment of          17   A. No, my Lord.
   18       US$900,000 ... made in 2013-2014 for a controversial            18   Q. Can I ask you finally , please , to go to {H10/353},
   19       surveillance that is being alleged was aimed at fellow          19        please , where you’ll see a copy of a judgment of
   20       officials , the focus has shifted to the UK-based               20        Sir Andrew Smith in the case called
   21       security and investigations company, Page Protective            21        JSCBTA Bank v Ablyazov and others. Can you see that ,
   22       Services (PPS) that carried it out .”                           22        Mr Page?
   23             Can you see that , Mr Page?                               23   A. I can, my Lord, yes.
   24   A. I can, my Lord, yes.                                             24   Q. I ’ m sure you’re familiar with this litigation , aren’ t
   25   Q. You can see that the article then runs on over the page.         25        you, enough --

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    1       If you go to the second page, please , {G/26.15/2}, you          1   A.   Relatively so, yes.
    2       can see - - if you just read it to yourself and then I ’ ll      2   Q. This records a judgment of Mr Justice Smith on
    3       ask you some questions.                                          3        15 February 2018. You can see from paragraph 1 he
    4   A. I ’ m familiar with this publication , my Lord.                   4        refers to the fact that this is a long-running dispute,
    5   Q. Yes. So what this piece suggests is that there was                5        with allegations of conspiracy made by the bank against
    6       going to be some enquiry into work which your company            6        the defendants, and freezing injunctions have been
    7       had carried out in relation to a certain Indian cricket          7        obtained and receivership orders made against the
    8       board; is that right ?                                           8        defendants in relation to this litigation ; all right ?
    9   A. That is correct , my Lord, yes, although the company is           9             Then if you go to paragraph 7 at {H10/353/2}, you’ll
   10       actually - - the article is - - the name of the company         10        see the matters before Sir Andrew Smith. Can you see
   11       that undertook the work is not PPS UK.                          11        there?
   12   Q. And is it right that you carried out the surveillance            12   A. Yes, my Lord, yes.
   13       that ’ s referenced here, you or your firm?                     13   Q. One of the defendants had applied to challenge the
   14   A. My Lord, I ’ m in some difficulty again. This is - - the         14        orders the bank had obtained on two grounds: one was
   15       instructions from the BCCI, the Board of Cricket Control        15        that there had been non-disclosure and the second was
   16       in India , is a confidential instruction between myself         16        that the bank did not have clean hands; all right ?
   17       and the then chairman of the board. I ’ m not sure - -          17        Those were the two grounds of challenge .           And the
   18       I know the article refers - - I ’ m not sure, my Lord, I ’ m    18        learned judge dismissed those challenges , but he dealt
   19       at liberty to tell you what my instructions were or the         19        with the clean hands argument at page 21 of this
   20       background to this instruction .    It ’ s - - my Lord, I ’ m   20        judgment, starting at paragraph 113 {H10/353/21}. Can
   21       being asked to breach confidentiality again and I don’t         21        you see that?
   22       feel very comfortable about it .                                22   A. Yes.
   23   Q. And one of the quotes here is {G/26.15/2}:                       23   Q. And one of the defendants raised four complaints in
   24             ”’ If this is the case, we are interested to find out     24        relation to the clean hands argument. You can see ( i ),
   25       from where and how email exchanges between                      25        ( ii ), ( iii ), ( iv ).   It ’ s the fourth one.   It was said by

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    1        one of the defendants that the bank had:                      1             ”During the hearing, Mr Samek introduced an
    2              ”... misled the court when applying for a disclosure    2        alternative version of this complaint: that the Bank
    3        order against Mr Eesh Aggarwal.”                              3        knew of Mr Aggarwal’s involvement with Mr Khrapunov and
    4             Right?                                                   4        with Mr Ablyazov’s assets through meetings that
    5   A. Yes.                                                            5        Mr Nurgabylov and Mr Rakishev had with Mr Page before
    6   Q.   It ’ s that fourth aspect that concerns you.    If you go,    6        the meeting in February 2016 to which Mr Tucker
    7        please , to page 24 of this judgment, to the heading          7        referred .     In support of this allegation Mr Khrapunov
    8        ”Disclosure order against Mr Aggarwal” {H10/353/24} --        8        relied on a letter from Mr Page’s solicitor ,
    9   A. Sorry.                                                          9        Stewarts Law LLP ...”
   10   Q. That’s all right .    Take your time.                          10             Can you read on? Can you read on, please , the rest
   11   A. Which paragraph are you reading?                               11        of paragraph 134, please , {H10/353/24-25} -- to the end
   12   Q.   It starts at paragraph 128. Do you have that at the top      12        of 134?
   13        of page {H10/353/24}?                                        13   A. Yes, my Lord. I ’ m familiar with that .
   14   A. Yes.                                                           14   Q. So there was evidence, wasn’t there , Mr Page, in this
   15   Q. Paragraph 129 -- sorry , 128, this is where the judge is       15        Ablyazov judgment of Sir Andrew Smith, that you,
   16        dealing with the fourth bit of the clean hands thing; in     16        Mr Page, had been saying, claiming , that you had bank
   17        other words, that there ’ s been -- the disclosure by the    17        information derived from Israeli hackers. That’s right ,
   18        bank has not been right .      Paragraph 129:                18        isn ’ t it ?
   19             ”The evidence in support of the application was         19   A. My Lord, the affidavit in support of Hogan Lovells was
   20        a statement made by Mr Tucker and dated 14 June 2016.        20        written by Mr Tucker. I did not meet with Mr Tucker.
   21        He said that the Bank had ’recently discovered that          21        I met with Mr Chris Hardman, who is a partner.       I did
   22        Mr Ablyazov and Mr Khrapunov [had] been working [with]       22        not say - - and I do not know where this information has
   23        Mr Aggarwal’. He complained that the Bank was contacted      23        come from -- that it was Israeli hackers.       I ’ m in some
   24        in early 2016 by a Mr Stuart Page, who had claimed to        24        difficulty because I - - that - - Mr Tucker was not
   25        act for unnamed Israeli ’ hackers’ who had extracted         25        present at that meeting so I have no idea as to how

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    1        information from Mr Aggarwal’s computer. At a meeting         1        Mr Tucker made that assumption.
    2        with Mr Hardman and a Mr Nurlan Nurgabylov, a senior          2   Q.   It ’ s right , isn ’ t it , Mr Page, that you do have access
    3        official of the Bank, on 17 February 2016 Mr Page showed      3        to expert hackers, don’t you?
    4        documents indicating that Mr Aggarwal was involved with       4   A. No, I do not have access - - and, my Lord, I was provided
    5        a number of named companies. Mr Khrapunov’s complaint         5        information from a source in Dubai that showed that
    6        is that the Bank was dishonest about when it learned          6        Mr Eesh Aggarwal had knowingly assisted in the
    7        about Mr Aggarwal administering Mr Ablyazov’s assets and      7        commission of a laundering of $700 million stolen from
    8        dealing with Mr Khrapunov: that it had information            8        the BTA Bank. My first approach -- and I go back to my
    9        obtained by unlawful hacking and wanted to appear to          9        Lord - - is that I saw that this is evidence of
   10        have come by the information legitimately .”                 10        a criminal conspiracy.      I presented the information to
   11             Can you see that?                                       11        the bank and to the legal - - to the Ministry of Justice
   12   A. I can, my Lord, yes.                                           12        and told them that they should seek MLAT -- MLAT
   13   Q. And in paragraph 130 the judge goes on:                        13        assistance .     I ’ m sure you know what ”MLAT” stands for.
   14             ” It appears from Mr Jenkins’ evidence ...”             14        I did not commission nor was I paid to access
   15             Then that runs on.                                      15        Eesh Aggarwal’s information.
   16             Can you see the last sentence:                          16   Q. And I suggest, Mr Page, that you caused or procured the
   17             ” It is said that the UAE would have responded to the   17        hacking of Mr Azima’s emails in this matter and made
   18        request and provided information about assets managed by     18        that material available to RAK and RAKIA.
   19        Mr Aggarwal. (According to Mr Jenkins, between               19   A. Absolutely not, my Lord.
   20        November 2011 and September 2013 the Republic of             20   MR LORD: Thank you, Mr Page.
   21        Kazakhstan made other requests of other states for legal     21   MR TOMLINSON: My Lord, I’ve no re-examination, unless
   22        assistance that referred to companies of which,              22        your Lordship has any questions.
   23        according to the Bank, it had later learned from             23   JUDGE LENON: No, I don’t have any questions. Thank you,
   24        Mr Page ...).”                                               24        Mr Page.
   25             Can you see that? Then paragraph 134:                   25   A. Thank you, my Lord.

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                                                                                            Claimant
                                                                                         P Robinson
                                                                                                  2nd
                                                                                         Exhibit PR2
                                                                               Dated 7 February 2022


      IN THE HIGH COURT OF JUSTICE                         Claim no. QB-2020-002492
      QUEEN’S BENCH DIVISION

      BETWEEN:-

                              STOKOE PARTNERSHIP SOLICITORS
                                                                                             Claimant
                                                   and

                     (1) MR PATRICK TRISTRAM FINUCANE GRAYSON
                                 (2) GRAYSON + CO LIMITED
                               (3) MR STUART ROBERT PAGE
                     (4) PAGE CORPORATE INVESTIGATIONS LIMITED
                                       (5) DECHERT LLP
                               (6) MR DAVID NEIL GERRARD
                                                                                           Defendants
                              ___________________________________

                              SECOND WITNESS STATEMENT OF
                                       PAUL ROBINSON
                              ___________________________________


      I, PAUL ROBINSON, of 6 Belvedere Walk, Haywards Heath, West Sussex, RH16 4TD,
      WILL SAY as follows:


      INTRODUCTION

      1.    I am a director of a corporate research and investigation firm.

      2.    The facts and matters set out in this witness statement are either derived from my own
            knowledge or are derived from other sources or documents that I have seen and which,
            in all cases, I believe to be true. Where I refer to facts and matters below that are within
            my own knowledge, they are true. Where I refer to information supplied to me by
            others, its source is identified and it is true to the best of my knowledge and belief. I do
            not waive privilege in relation to any information or materials which I reference in my
            statement.

      3.    There is now produced and shown to me, marked “PR2”, an exhibit containing true
            copies of paginated documents to which I will refer in this statement. References below
            to page numbers are to the contents of that exhibit.
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      4.    I make this witness statement further to the affidavit I swore on 6 July 2020 in Claim
            No. QB-2020-002218 and my witness statement dated 14 May 2021.

      5.    The purpose of this statement is to provide further details of my dealings with Mr
            Grayson and to provide details of my understanding of Mr Nicholas Del Rosso’s
            involvement in the enquiries that Mr Grayson instructed me to carry out.

      6.    This witness statement has been prepared on the basis of my own knowledge and
            records of the relevant events and through consultation with my legal advisers.


      BACKGROUND

      (1)   Nicholas Del Rosso

      7.    Mr Del Rosso is a private investigator and managing director of Vital Management
            Services (“VMS”), based in North Carolina, USA. I was first introduced to him through
            another private investigator in around 2016. Over the following years, Mr Del Rosso
            instructed me to carry out a number of different enquiries for which I received payment.

      8.    In my first witness statement, I describe in detail the instructions I received from Mr
            Grayson between early 2019 and June 2020. With the exception of one enquiry, Project
            Maxwell, which I give further details of below, my understanding is that all of these
            enquiries were carried out on behalf of Mr Nicholas Del Rosso (“the Grayson
            enquiries”).

      9.    With the exception of the £5,000 I refer to in my first witness statement and the Project
            Maxwell enquiry, Mr Del Rosso’s company, VMS, paid my company for all of the
            Grayson enquiries.


      CONTACT WITH MR GRAYSON

      (1)   Signal Messages

      10.   In my first witness statement, I exhibited a number of Signal messages between Mr
            Grayson and me. These messages mostly covered the period from January 2020 to June
            2020. I now refer to a number of additional Signal messages between Mr Grayson and
            me spanning the period June 2019 to January 2020 (PR2/1-16).

      11.   With the exception of a number of messages on 9 October 2019 concerning Project
            Maxwell (PR2/13 - “Maxwell Wright – profile”), all are connected to the enquiries that
            Mr Grayson instructed me to carry out and paid for by Mr Del Rosso.

      (2)   Meeting on 25 June 2020

      12.   On 24 June 2020 I travelled to London to meet Sharon Leahy Clark and Adrian
            Davidson to discuss the possibilities of my company merging with Page Corporate
            Investigations Limited. At 12:02 I received a call from Mr Grayson (PR2/1580). Whilst
            I cannot recall the precise details of what he said, I remember that he said there was a
            problem. It was as a consequence of that conversation that Mr Grayson and I changed
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            the phone settings on the Signal App, so as to ensure that the messages disappeared
            within 30 seconds (PR2/1580). There was a further call and resetting of message
            deletion times by Mr Grayson (PR2/1579) that evening and in one of these calls he
            asked me to meet him urgently at the Goring Hotel the following day.

      13.   On 25 June 2020 I purchased a train ticket to travel to London (PR2/17) for the meeting
            with Mr Grayson. As I walked towards the Goring Hotel at about 10:30 am my attention
            was drawn to a black minivan parked at the side of the road. Mr Grayson was in the
            back and beckoned me to get in, which I did. When I got into the vehicle Mr Grayson
            asked me for my mobile phone, I gave it to him and after initially trying to turn it off,
            he handed it to the driver of the minivan, who he referred to by first name. I thought
            this was odd but nevertheless did what he asked me to. The minivan moved off and we
            drove around Hyde Park. I cannot recall the precise details of the conversation, but the
            gist of what Mr Grayson said was that “we” have a problem and that one of the people
            I had been using to carry out the Grayson enquiries, had been passing information to
            “the other side”. Mr Grayson told me that there may be legal proceedings. Mr Grayson
            then asked me to name my sources and I told him I had instructed Mr John Gunning to
            deal with the sensitive work. Mr Grayson was clearly very anxious and concerned.

      14.   During the journey, Mr Grayson asked me to destroy and / or sanitise any material
            which could connect both him and Mr Del Rosso to any of the work that I had carried
            out for them. This concerned me greatly. Before the minivan dropped me at Victoria
            Station, Mr Grayson handed me an envelope with cash inside. He told me it was half of
            the money he had agreed to pay me for an investigation into the Claimant in these
            proceedings. When I later counted the money, it was £5,000.

      15.   After the meeting I went straight back to my office and told my colleagues, Michelle
            Jenkins, my sister, and Owain Jenkins, her husband, what had happened. I asked them
            to help me identify the documents that I was to either destroy or sanitise. Over the
            course of the next several days, this is what we did.

      (3)   Invoices

      16.   I have collated a number of invoices which were issued by both Company Diligence
            and Company Documents Ltd to both Mr Del Rosso and VMS for work which I carried
            out from January 2016 to April 2020. These documents include invoices for the work
            that was carried out as part of the Grayson enquiries (PR2/18-54).

      17.   Some of the invoices have been sanitised, as Mr Grayson requested, and six invoices
            (dated 1/11/2019, 26/02/2020, 16/03/2020, 2/04/2020, 9/04/2020 and 7/06/2020) are
            not the original invoices which I sent to Mr Del Rosso. When these invoices were first
            issued, I sent them by email to Mr Del Rosso at reverendmack@protonmail.com and
            they were subsequently paid. Following service of proceedings in claim QB-2020-
            002218 upon me on 1 July 2020, I spoke to Mr Del Rosso who told me not to mention
            his name in relation to this work and to keep his name out of the entire matter. In an
            effort to distance myself from Mr Del Rosso, I deleted the six invoices. Before I deleted
            the invoices, I made a note of the detail set out therein. I subsequently used this detail
            to recreate the six invoices that I now exhibit. Whilst the handwritten note is no longer
            available, I have checked my bank statements, and confirm that payment for the
            invoices entered my bank account within days of the invoice date.
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      18.   Two further points of detail concerning the invoices:

            18.1. The narrative on the spreadsheet for the invoice dated 16 March 2020 (PR2/22)
                  refers to “RS” (Radha Stirling) and to “P” (Patrick Grayson).
            18.2. The 10 July 2019 invoice (PR2/27) contains the following narrative: “OP Dotty
                  – Adress (sic) Trace – as instructed by PG £250”. The PG referred to is Mr
                  Grayson.

      19.   I have collated a number of relevant Company Diligence bank statements for the period
            November 2018 to June 2020. Copies of these statements are exhibited at PR2/55-70.
            I have redacted a number of entries as they are not relevant to the present matter. The
            ones that have been left unredacted show that payments were received from VMS and
            paid out to John Gunning. All of these payments (both receipts and debits) were for
            work carried out in relation to the Grayson enquiries. The one exception is the £750
            payment from Mr Grayson on 23 January 2020. This payment was for an enquiry Mr
            Grayson instructed me to carry out, which was unconnected to these proceedings. The
            reference on the bank statement is “Project Maxwell”, this was the name attributed to
            this particular enquiry.


      NICHOLAS DEL ROSSO

      (1)   Payments

      20.   From about 2016, Mr Del Rosso instructed me to carry out a number of different
            enquiries for which I received payment. On 28 January 2018, my company (Company
            Diligence) entered into a consultancy agreement with VMS for which VMS made a
            payment of £500 per month (PR2/71-73).

      21.   Whilst the Grayson enquiries centred upon what I now understand to have been matters
            related to litigation linked to Ras Al Khaimah (“RAK”), some of the prior research
            investigations upon which I was directly instructed by Mr Del Rosso also concerned
            UAE matters. An example of this concerns Mr Farhad Azima who, I understand from
            press reports, was involved in litigation with RAK. Mr Del Rosso instructed me to carry
            out investigations including research on the deep web concerning Mr Azima. I
            instructed a subcontractor who undertakes deep web research and they produced a
            lengthy report on Mr Azima (PR2/74-1552). I then delivered this report to Mr Del
            Rosso. The invoice for that particular investigation is dated 27 June 2016 and has the
            narrative “Due Diligence – deep web research” (PR2/46). This is an example of how
            an invoice might be sanitised, removing details of the target of the enquiry (in this case
            Azima) and replacing it with an anodyne description.

      22.   Prior to the Grayson enquiries, all instructions I received from Mr Del Rosso came
            directly from him and not through Mr Grayson, with payment made by Mr Del Rosso.
            When I first spoke to Mr Grayson in connection with the Grayson enquiries he informed
            me that he had only recently returned from visiting Mr Del Rosso in North Carolina
            where he and Mr Del Rosso had discussed the matters which Mr Grayson was about to
            instruct me to carry out. When Mr Grayson did instruct me in relation to the Grayson
            enquiries, he informed me that invoices for this work should be directed to Mr Del
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               Rosso who would settle them. As things turned out, whilst Mr Grayson paid me the
               £5,000 in cash to which I refer in my first witness statement, VMS made the remaining
               payments in respect of the Grayson enquiries.

      23.      I believed that the reason for the change in the way that Mr Del Rosso instructed me
               was due to the sensitive nature of the material sought and I assumed that Mr Del Rosso
               may have wished to distance himself from the actual instructions.

      (2)      Legal Fees

      24.      On 1 July 2020, I received a letter from the Claimant, enclosing among other things the
               claim form in QB-2020-002218 and an application notice seeking Norwich Pharmacal
               relief against me: (PR2/1561-1564).

      25.      On the same date I called Mr Del Rosso and explained what had happened. The
               conversation was brief and he asked me not to mention his name. He informed me that
               his American lawyer would contact me and that he would pay any legal fees I incurred
               in relation to the proceedings. A short time later, Brandon Neuman (Mr Del Rosso’s
               American lawyer) called me. A number of emails were exchanged (PR2/1565-1568)
               between him and me in connection with the matter.

      26.      In a conversation over Signal, Mr Neuman informed me that, as he was based in the
               USA, he could not assist me and he advised me to contact a lawyer based in the United
               Kingdom, which I did. Mr Neuman also informed me that rather than Mr Del Rosso
               paying for my legal fees directly, he would set up a loan agreement to facilitate this,
               which is what happened. On 2 July 2020, Company Documents entered into a loan
               agreement with VMS for the sum of $25,000. The money was due to be repaid on 1
               July 2021 and the rate of interest was 8 % per annum (PR2/1569).

      27.      The loan was never repaid, and I have not been asked to repay it to date.

      STATEMENT OF TRUTH

      I believe that the facts stated in this witness statement are true. I understand that proceedings
      for contempt of court may be brought against anyone who makes, or causes to be made, a false
      statement in a document verified by a statement of truth without an honest belief in its truth.




      Signed
                      Paul Robinson


      Dated           07th February 2022
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                         EXHIBIT H
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Southern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________
                          Farhad Azima
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
   Global Impact Services, LLC; Eitan Arusy; Truist
                                                                               )
               Financial Corporation
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                           Global Impact Services, LLC
To:                                           3010 N Military Trail, Suite 318, Boca Raton, FL 33431
                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Schedule A.



 Place:                                                                                 Date and Time:
          Carlton Fields, P.A.
          700 NW 1st Ave Suite 1200, Miami, FL 33136

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A

          Pursuant to 28 U.S.C. § 1782, Farhad Azima, by and through undersigned counsel,

   requires that Global Impact Services LLC (“GIS”) produce for inspection each of the

   documents and tangible things described below at “DOCUMENTS AND THINGS TO BE

   PRODUCED.”


                                           INSTRUCTIONS
          1.      This Subpoena calls for you to undertake a diligent search and produce all

   documents, electronically stored information, and tangible things identified below under the

   heading “DOCUMENTS AND THINGS TO BE PRODUCED,” that are within your possession,

   custody, or control, including documents, electronically stored information, and tangible things

   in the possession, custody, or control of your directors, officers, agents, employees, consultants,

   representatives, or in the possession, custody, or control of any “person” (as defined herein)

   whom you control, and, unless privileged, your attorneys.

          2.      All documents that respond, in whole or in part, to any portion of this Subpoena

   are to be produced in their entirety, without abbreviation or expurgation, including all

   attachments or other matter affixed thereto.

          3.      If you object to any of these document requests, then you shall state the reasons

   for your objections. If you object to any part of a document request, then you shall further

   specify the part. Similarly, if you do not object to a particular document request, but are unable

   to comply fully with that request, then you shall comply to the fullest extent possible and provide

   an explanation for your lack of full compliance.

          4.      When information is withheld from discovery on a claim that it is privileged,

   subject to protection as trial preparation materials, or otherwise privileged or protected from


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   disclosure, the claim shall be made expressly and shall be supported by a description of the

   nature of the document, communications, or things not produced that is sufficient to enable the

   propounding party to contest the claim of privilege, as provided in Fed. R. Civ. P. 45(e)(2)(A).

           5.      If no documents are responsive to a particular request, you are to state that no

   responsive documents exist.

           6.      If any document responsive to this request was, but no longer is, in your

   possession, state whether it is missing or lost; if it has been destroyed; if it has been transferred,

   voluntarily or involuntarily, to others; or if it has otherwise been disposed of. In each instance,

   identify the document fully, explain the circumstances, and identify the people having

   knowledge of such circumstances.

           7.      If you contend that any documents covered in these requests are not reasonably

   accessible or would be unduly burdensome to locate or produce, identify such documents by

   category and source and provide detailed information regarding the burden or cost you claim is

   associated with the search for or production of such documents.

           8.      Please produce electronically stored information in accordance with the

   instructions, data delivery standards, delivery formats, and Adobe PDF file production formats,

   and with the fields specified, in Exhibit A (“Miller & Chevalier Standard Production

   Guidelines”) hereto.

           9.      To the extent you intend to not produce a requested document, you are directed to

   make and safeguard a copy of the requested information.

           10.     The relevant time period for documents responsive to the following requests shall

   be between January 1, 2014 until now unless otherwise specified.




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                                              DEFINITIONS

          1.      The term “any” shall be understood to include and encompass “all.” As used

   herein, the singular shall always include the plural, and the present tense shall also include the

   past tense. The words “and” as well as “or” shall be construed disjunctively or conjunctively as

   necessary to bring within the scope of this request all documents or things which might

   otherwise be construed to be outside its scope.

          2.      The term “communication” shall be defined and construed to the broadest extent

   possible and shall have the same meaning as used in Fed. R. Civ. P. 34. “Communication” shall

   include any oral, written, or electronic transmission of information, including without limitation

   any face-to-face meetings, letters, emails, text messages, social media messaging, or telephone

   calls, chat rooms, or group list serves.

          3.       The term “document” shall be defined and construed to the broadest extent

   possible and shall have the same meaning as used in Fed. R. Civ. P. 34.

          4.       The term “person” means any natural person, corporation, partnership, firm,

   proprietorship, limited liability company, association trust, department, organization, joint

   venture, governmental entity, group of persons or any other entity of whatever nature.

          5.       The terms “relate to” or “relating to” means consisting of, referring to, regarding,

   reflecting, supporting, prepared in connection with, used in preparation of, or being in any way

   logically or factually connected with the matter discussed.

          6.       The term “RAKIA” refers to the Ras Al Khaimah Investment Authority, the

   state-owned investment arm of the United Arab Emirate kingdom of Ras Al Khaimah.

          7.       The term “Mr. Neil Gerrard” refers to the Dechert LLP partner who represented

   RAKIA during its investigation of Mr. Azima.



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          8.       The term “Mr. Stuart Page” refers to the investigator employed by the Ruler of

   Ras Al Khaimah to investigate Mr. Azima. Mr. Page also employed and paid Mr. Amit Forlit and

   Gadot over the course of the investigation.

          9.       The term “Mr. David Hughes” refers to the former Dechert LLP and Stewarts

   Law LLP partner who assisted Mr. Neil Gerrard in RAKIA’s investigation of Mr. Azima.

          10.      The term “Mr. Jamie Buchanan” refers to the former CEO of RAK Development

   LLC. Beginning from November 2014, Mr. Buchanan was authorized to act on RAKIA’s behalf.

          11.      The term “Page Group” refers to Mr. Page’s network of companies through

   which he operates, including but not limited to Page Group ME, Page Risk Management DMCC,

   and Stuart Page MEFZ.

          12.      The term “Mr. Amit Forlit” refers to the individual who owns and controls SDC-

   Gadot LLC and Insight Analysis and Research LLC, as well as Gadot Information Services.

          13.      The term “Forlit’s Entities” refers to Mr. Forlit’s network of companies through

   which he operates, including but not limited to SDC-Gadot LLC, Insight Analysis and Research

   LLC, and Gadot Information Services.

          14.      The term “Mr. Majdi Halabi” refers to the Israeli journalist and associate of Mr.

   Forlit who testified falsely on RAKIA’s behalf at Mr. Azima’s trial that he discovered links to

   the hacked data through online Google searches.

          15.      The term “Dechert” refers to the international law firm Dechert LLP and all

   employees, agents, representatives, subsidiaries, affiliates, assignees, or other persons acting or

   purporting to act on its behalf.




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          16.       The term “Stewarts Law” refers to the London-based law firm Stewarts Law

   LLP and all employees, agents, representatives, subsidiaries, affiliates, assignees, or other

   persons acting or purporting to act on its behalf.

          17.       The term “the Project” refers to the investigation, targeting, and hacking carried

   out by Mr. Stuart Page, Mr. Nicholas Del Rosso, Mr. Amit Forlit and others on behalf of

   RAKIA, alternatively known as “the RAK Project,” “Project Beech, or “Project Beach.”

          18.       The terms “torrents” and “WeTransfer links” refer to links to file distribution

   sites used by the hackers to distribute Mr. Azima’s hacked data over the internet.

          19.       The term “websites” includes all web pages or blogs, including but not limited to

   https://farhadazimascams.blogspot.com/ and https://farhadazima.wordpress.com/ and

   https://azimafraud.wordpress.com/

          20.       The term “Mr. Azima’s trial” refers to the January 2020 U.K. trial between

   RAKIA and Mr. Azima, captioned Farhad Azima -v- (1) RAKIA (2) David Neil Gerrard (3)

   Dechert LLP and (4) James Edward Deniston Buchanan (Claim Number: HC-2016-002798).

          21.       The term “hacked data” refers to Mr. Azima’s data stolen by hackers in 2016 and

   subsequently used by RAKIA during Mr. Azima’s trial in January 2020.

          22.       The term “Azima’s Associates” includes but is not limited to the following

   individuals who are associated with Mr. Azima or otherwise targets of the conspiracy to hack:

                   Khater Massaad
                   Karem Al Sadeq
                   Stokoe Partnership Solicitors
                   Jihad Quzmar
                   Ray Adams
                   Afsaneh Azadeh
                   Kirby Behre
                   Chris Cooper
                   Cynthia Beudjekian


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          23.      The terms “you” and “GIS” refers to Global Impact Services LLC and all

   employees, agents, representatives, subsidiaries, affiliates, assignees, or other persons acting or

   purporting to act on its behalf.




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                            DOCUMENTS AND THINGS TO BE PRODUCED

          1.      All documents and communications from September 2014 to present related to

   Farhad Azima or Azima’s Associates, including but not limited to: (1) documents related to the

   investigation of Azima or Azima’s Associates; (2) documents related to Project Beech; (3)

   documents related to all Project Updates and similar reports prepared about Mr. Azima and

   Azima’s Associates, including but not limited to those referred to as Project Updates; (4)

   documents related to the instructions to “target” and “go after” Mr. Azima; (5) documents related

   to meetings with Mr. Gerrard, Mr. Buchanan, and others regarding the investigation; (6)

   documents related to the bank accounts used to send and receive money related to Azima or

   Azima’s Associates; (7) documents related to the websites published about Mr. Azima and links

   published on those websites between August 2016 and June 2019; (8) documents related to the

   subsequent cover up of the hacking of Azima or Azima’s Associates; and (9) documents related

   to the trial in January 2020 related to Azima.

          2.      All documents and communications from September 2014 to present related to

   the following persons or entities: Amit Forlit, Forlit’s Entities, Neil Gerrard, Dechert LLP, James

   Buchanan, Gravitas International LLC, Amir Handjani, Stuart Page, Page Group, Nicholas Del

   Rosso, Vital Management Services, Aviram Azari, Aviram Hawk Consulting, Patrick Grayson,

   Paul Robinson, Majdi Halabi, CyberRoot, BellTroX, RAK Ruler Sheikh Saud bin Saqr Al

   Qasimi, Dinka Analysis Services, BMI Analysis Limited, Omri Gur Lavie, Yesodot, Insight

   GSIA, Effie Lavie.




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   General Instructions:

   Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used
   and maintained during the normal course of business. For example, an MS Excel file must be produced
   as an MS Excel file rather than an image of a spreadsheet. (Note: An Adobe PDF file is not considered a
   native file unless the document was initially created as a PDF.)

   If your production will be de-duplicated it is vital that you
        1. preserve any unique metadata associated with the duplicate files, for example, custodian name,
            and,
        2. make that unique metadata part of your production.

   Data Delivery Standards

   General requirements for ALL document productions are:
      1. A cover letter should be included with each production and include the following:
               1. Case number
               2. A list of each piece of media included in the production with its unique production
                   volume number
               3. A list of custodians, identifying the Bates range for each custodian.
               4. The time zone in which the emails were standardized during conversion.
      2. Productions may be submitted via Secure File Transfer.
      3. Alternatively, data can be produced on CD, DVD, thumb drive, hard drive, using the media
          requiring the least number of deliverables.
      4. All submissions must be organized by custodian unless otherwise instructed.
      5. All document family groups, i.e. email attachments, embedded files, etc., should be produced
          together and children files should follow parent files sequentially in the Bates numbering.
      6. All load-ready collections should include only one data load file and one image pointer file.
      7. All load-ready text must be produced as separate text files.
      8. All load-ready collections should account for custodians in the custodian field.
      9. Only alphanumeric characters and the underscore character are permitted in file names and
          folder names. Special characters are not permitted.
      10. All productions must be produced using industry standard self-extracting encryption software.
      11. All productions must be encrypted using a complex, unique password.
      12. Passwords for electronic documents, files, compressed archives and encrypted media must be
          provided separately either via email or in a separate cover letter from the media.
      13. All electronic productions should be produced free of computer viruses.

   Delivery Formats

   I. Concordance® Imaged Productions
   All scanned paper and electronic file collections should be converted to TIFF files, Bates numbered, and
   include fully searchable text files.
        1. Images
                a. Black and white images must be 300 DPI Group IV single-page TIFF files.
                b. Color images must be produced in JPEG format.
                c. File names cannot contain embedded spaces or special characters (including the
                    comma).
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              d. Folder names cannot contain embedded spaces or special characters (including the
                 comma).
              e. All TIFF image files must have a unique file name, i.e. Bates number.
              f. Images must be endorsed with sequential Bates numbers in the lower right corner of
                 each image.
              g. The number of TIFF files per folder should not exceed 1,000 files.
              h. Excel spreadsheets should have a placeholder image named by the Bates number of the
                 file.
              i. AUTOCAD/photograph files should be produced as a single page JPEG file.

      2. Concordance Image® OR Opticon Cross-Reference File
      The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a
      comma-delimited file consisting of seven fields per line with a line in the cross-reference file for
      every image in the database with the following format:
          ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

      3. Concordance®Data File
      The data file (.DAT) contains all of the fielded information that will be loaded into the Concordance®
      database.
             a. The first line of the .DAT file must be a header row identifying the field names.
             b. The .DAT file must use the following Concordance® default delimiters:
                             Comma ASCII character (020)
                             Quote þ ASCII character (254)
             c. Date fields should be provided in the format: mm/dd/yyyy
             d. Date and time fields must be two separate fields.
             e. If the production includes imaged emails and attachments, the attachment range must
                   be included to preserve the parent/child relationship between an email and its
                   attachments.
             f. A TEXT LINK field must be included to provide the file path and name of the extracted
                   text file on the produced storage media. The text file must be named after the BEGDOC.
                   Do not include the text in the .DAT file.
             g. For productions with native files, a NATIVE LINK field must be included to provide the
                   file path and name of the native file on the produced storage media. The native file
                   must be named after the BEGDOC.
             h. BEGATT and ENDAT fields must be two separate fields.
             i. A complete list of metadata fields is available as a separate attachment.

      4. Text
      Text must be produced as separate text files, not as fields within the .DAT file. The full path to the
      text file (TEXT LINK) should be included in the .DAT file. We require document level text files, named
      per the BEGDOC/Image Key. Extracted text files must be in a separate folder, and the number of text
      files per folder should not exceed 1,000 files. There should be no special characters (including
      commas in the folder names). For redacted documents, provide the full text for the redacted
      version.

      5. Linked Native Files
      Copies of original email and native file documents/attachments must be included for all electronic
      productions.
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              a. Native file documents must be named per the BEGDOC number.
              b. The full path of the native file must be provided in the .DAT file for the NATIVE LINK
                 field.
              c. The number of native files per folder should not exceed 1,000 files.

   II. Adobe PDF File Production

   With prior approval, Adobe PDF files may be produced in native file format.
      1. PDF files should be produced in separate folders named by the custodian. The folders should not
           contain any special characters (including commas).
      2. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete
           document.
      3. All PDF files must contain embedded text that includes all discernible words within the
           document, not selected text or image only. This requires all layers of the PDF to be flattened
           first.
      4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.
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                                        228
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Southern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________
                          Farhad Azima
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
   Global Impact Services, LLC; Eitan Arusy; Truist
                                                                               )
               Financial Corporation
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                     Eitan Arusy
To:                                           3010 N Military Trail, Suite 318, Boca Raton, FL 33431
                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Schedule A.



 Place:                                                                                 Date and Time:
          Carlton Fields, P.A.
          700 NW 1st Ave Suite 1200, Miami, FL 33136

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A

          Pursuant to 28 U.S.C. § 1782, Farhad Azima, by and through undersigned counsel,

   requires that Mr. Eitan Arusy produce for inspection each of the documents and tangible things

   described below at “DOCUMENTS AND THINGS TO BE PRODUCED.”


                                           INSTRUCTIONS
          1.      This Subpoena calls for you to undertake a diligent search and produce all

   documents, electronically stored information, and tangible things identified below under the

   heading “DOCUMENTS AND THINGS TO BE PRODUCED,” that are within your possession,

   custody, or control, including documents, electronically stored information, and tangible things

   in the possession, custody, or control of your directors, officers, agents, employees, consultants,

   representatives, or in the possession, custody, or control of any “person” (as defined herein)

   whom you control, and, unless privileged, your attorneys.

          2.      All documents that respond, in whole or in part, to any portion of this Subpoena

   are to be produced in their entirety, without abbreviation or expurgation, including all

   attachments or other matter affixed thereto.

          3.      If you object to any of these document requests, then you shall state the reasons

   for your objections. If you object to any part of a document request, then you shall further

   specify the part. Similarly, if you do not object to a particular document request, but are unable

   to comply fully with that request, then you shall comply to the fullest extent possible and provide

   an explanation for your lack of full compliance.

          4.      When information is withheld from discovery on a claim that it is privileged,

   subject to protection as trial preparation materials, or otherwise privileged or protected from

   disclosure, the claim shall be made expressly and shall be supported by a description of the


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   nature of the document, communications, or things not produced that is sufficient to enable the

   propounding party to contest the claim of privilege, as provided in Fed. R. Civ. P. 45(e)(2)(A).

           5.      If no documents are responsive to a particular request, you are to state that no

   responsive documents exist.

           6.      If any document responsive to this request was, but no longer is, in your

   possession, state whether it is missing or lost; if it has been destroyed; if it has been transferred,

   voluntarily or involuntarily, to others; or if it has otherwise been disposed of. In each instance,

   identify the document fully, explain the circumstances, and identify the people having

   knowledge of such circumstances.

           7.      If you contend that any documents covered in these requests are not reasonably

   accessible or would be unduly burdensome to locate or produce, identify such documents by

   category and source and provide detailed information regarding the burden or cost you claim is

   associated with the search for or production of such documents.

           8.      Please produce electronically stored information in accordance with the

   instructions, data delivery standards, delivery formats, and Adobe PDF file production formats,

   and with the fields specified, in Exhibit A (“Miller & Chevalier Standard Production

   Guidelines”) hereto.

           9.      To the extent you intend to not produce a requested document, you are directed to

   make and safeguard a copy of the requested information.

           10.     The relevant time period for documents responsive to the following requests shall

   be between January 1, 2014 until now unless otherwise specified.



                                              DEFINITIONS



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          1.      The term “any” shall be understood to include and encompass “all.” As used

   herein, the singular shall always include the plural, and the present tense shall also include the

   past tense. The words “and” as well as “or” shall be construed disjunctively or conjunctively as

   necessary to bring within the scope of this request all documents or things which might

   otherwise be construed to be outside its scope.

          2.      The term “communication” shall be defined and construed to the broadest extent

   possible and shall have the same meaning as used in Fed. R. Civ. P. 34. “Communication” shall

   include any oral, written, or electronic transmission of information, including without limitation

   any face-to-face meetings, letters, emails, text messages, social media messaging, or telephone

   calls, chat rooms, or group list serves.

          3.       The term “document” shall be defined and construed to the broadest extent

   possible and shall have the same meaning as used in Fed. R. Civ. P. 34.

          4.       The term “person” means any natural person, corporation, partnership, firm,

   proprietorship, limited liability company, association trust, department, organization, joint

   venture, governmental entity, group of persons or any other entity of whatever nature.

          5.       The terms “relate to” or “relating to” means consisting of, referring to, regarding,

   reflecting, supporting, prepared in connection with, used in preparation of, or being in any way

   logically or factually connected with the matter discussed.

          6.       The term “RAKIA” refers to the Ras Al Khaimah Investment Authority, the

   state-owned investment arm of the United Arab Emirate kingdom of Ras Al Khaimah.

          7.       The term “Mr. Neil Gerrard” refers to the Dechert LLP partner who represented

   RAKIA during its investigation of Mr. Azima.




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          8.       The term “Mr. Stuart Page” refers to the investigator employed by the Ruler of

   Ras Al Khaimah to investigate Mr. Azima. Mr. Page also employed and paid Mr. Amit Forlit and

   Gadot over the course of the investigation.

          9.       The term “Mr. David Hughes” refers to the former Dechert LLP and Stewarts

   Law LLP partner who assisted Mr. Neil Gerrard in RAKIA’s investigation of Mr. Azima.

          10.      The term “Mr. Jamie Buchanan” refers to the former CEO of RAK Development

   LLC. Beginning from November 2014, Mr. Buchanan was authorized to act on RAKIA’s behalf.

          11.      The term “Page Group” refers to Mr. Page’s network of companies through

   which he operates, including but not limited to Page Group ME, Page Risk Management DMCC,

   and Stuart Page MEFZ.

          12.      The term “Mr. Amit Forlit” refers to the individual who owns and controls SDC-

   Gadot LLC and Insight Analysis and Research LLC, as well as Gadot Information Services.

          13.      The term “Forlit’s Entities” refers to Mr. Forlit’s network of companies through

   which he operates, including but not limited to SDC-Gadot LLC, Insight Analysis and Research

   LLC, and Gadot Information Services.

          14.      The term “Mr. Majdi Halabi” refers to the Israeli journalist and associate of Mr.

   Forlit who testified falsely on RAKIA’s behalf at Mr. Azima’s trial that he discovered links to

   the hacked data through online Google searches.

          15.      The term “Dechert” refers to the international law firm Dechert LLP and all

   employees, agents, representatives, subsidiaries, affiliates, assignees, or other persons acting or

   purporting to act on its behalf.




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          16.       The term “Stewarts Law” refers to the London-based law firm Stewarts Law

   LLP and all employees, agents, representatives, subsidiaries, affiliates, assignees, or other

   persons acting or purporting to act on its behalf.

          17.       The term “the Project” refers to the investigation, targeting, and hacking carried

   out by Mr. Stuart Page, Mr. Nicholas Del Rosso, Mr. Amit Forlit and others on behalf of

   RAKIA, alternatively known as “the RAK Project,” “Project Beech, or “Project Beach.”

          18.       The terms “torrents” and “WeTransfer links” refer to links to file distribution

   sites used by the hackers to distribute Mr. Azima’s hacked data over the internet.

          19.       The term “websites” includes all web pages or blogs, including but not limited to

   https://farhadazimascams.blogspot.com/ and https://farhadazima.wordpress.com/ and

   https://azimafraud.wordpress.com/

          20.       The term “Mr. Azima’s trial” refers to the January 2020 U.K. trial between

   RAKIA and Mr. Azima, captioned Farhad Azima -v- (1) RAKIA (2) David Neil Gerrard (3)

   Dechert LLP and (4) James Edward Deniston Buchanan (Claim Number: HC-2016-002798).

          21.       The term “hacked data” refers to Mr. Azima’s data stolen by hackers in 2016 and

   subsequently used by RAKIA during Mr. Azima’s trial in January 2020.

          22.       The term “Azima’s Associates” includes but is not limited to the following

   individuals who are associated with Mr. Azima or otherwise targets of the conspiracy to hack:

                   Khater Massaad
                   Karem Al Sadeq
                   Stokoe Partnership Solicitors
                   Jihad Quzmar
                   Ray Adams
                   Afsaneh Azadeh
                   Kirby Behre
                   Chris Cooper
                   Cynthia Beudjekian


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          23.      The terms “Global Impact Services” and “GIS” refers to Global Impact Services

   LLC and all employees, agents, representatives, subsidiaries, affiliates, assignees, or other

   persons acting or purporting to act on its behalf.

          24.      The term “you” refers to Mr. Eitan Arusy who manages Global Impact Services

   LLC and all employees, agents, representatives, subsidiaries, affiliates, assignees, or other

   persons acting or purporting to act on his behalf.




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                            DOCUMENTS AND THINGS TO BE PRODUCED

          1.      All documents and communications from September 2014 to present related to

   Farhad Azima or Azima’s Associates, including but not limited to: (2) documents related to

   Project Beech; (3) documents related to all Project Updates and similar reports prepared about

   Mr. Azima and Azima’s Associates, including but not limited to those referred to as Project

   Updates; (4) documents related to the instructions to “target” and “go after” Mr. Azima; (5)

   documents related to meetings with Mr. Gerrard, Mr. Buchanan, and others regarding the

   investigation; (6) documents related to the bank accounts used to send and receive money related

   to Azima or Azima’s Associates; (7) documents related to the websites published about Mr.

   Azima and links published on those websites between August 2016 and June 2019; (8)

   documents related to the subsequent cover up of the hacking of Azima or Azima’s Associates;

   and (9) documents related to the trial in January 2020 related to Azima.

          2.      All documents and communications from September 2014 to present related to

   the following persons or entities: Amit Forlit, Forlit’s Entities, Neil Gerrard, Dechert LLP, James

   Buchanan, Gravitas International LLC, Amir Handjani, Stuart Page, Page Group, Nicholas Del

   Rosso, Vital Management Services, Aviram Azari, Aviram Hawk Consulting, Patrick Grayson,

   Paul Robinson, Majdi Halabi, CyberRoot, BellTroX, RAK Ruler Sheikh Saud bin Saqr Al

   Qasimi, Dinka Analysis Services, BMI Analysis Limited, Omri Gur Lavie, Yesodot, Insight

   GSIA, Effie Lavie.




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   General Instructions:

   Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used
   and maintained during the normal course of business. For example, an MS Excel file must be produced
   as an MS Excel file rather than an image of a spreadsheet. (Note: An Adobe PDF file is not considered a
   native file unless the document was initially created as a PDF.)

   If your production will be de-duplicated it is vital that you
        1. preserve any unique metadata associated with the duplicate files, for example, custodian name,
            and,
        2. make that unique metadata part of your production.

   Data Delivery Standards

   General requirements for ALL document productions are:
      1. A cover letter should be included with each production and include the following:
               1. Case number
               2. A list of each piece of media included in the production with its unique production
                   volume number
               3. A list of custodians, identifying the Bates range for each custodian.
               4. The time zone in which the emails were standardized during conversion.
      2. Productions may be submitted via Secure File Transfer.
      3. Alternatively, data can be produced on CD, DVD, thumb drive, hard drive, using the media
          requiring the least number of deliverables.
      4. All submissions must be organized by custodian unless otherwise instructed.
      5. All document family groups, i.e. email attachments, embedded files, etc., should be produced
          together and children files should follow parent files sequentially in the Bates numbering.
      6. All load-ready collections should include only one data load file and one image pointer file.
      7. All load-ready text must be produced as separate text files.
      8. All load-ready collections should account for custodians in the custodian field.
      9. Only alphanumeric characters and the underscore character are permitted in file names and
          folder names. Special characters are not permitted.
      10. All productions must be produced using industry standard self-extracting encryption software.
      11. All productions must be encrypted using a complex, unique password.
      12. Passwords for electronic documents, files, compressed archives and encrypted media must be
          provided separately either via email or in a separate cover letter from the media.
      13. All electronic productions should be produced free of computer viruses.

   Delivery Formats

   I. Concordance® Imaged Productions
   All scanned paper and electronic file collections should be converted to TIFF files, Bates numbered, and
   include fully searchable text files.
        1. Images
                a. Black and white images must be 300 DPI Group IV single-page TIFF files.
                b. Color images must be produced in JPEG format.
                c. File names cannot contain embedded spaces or special characters (including the
                    comma).
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              d. Folder names cannot contain embedded spaces or special characters (including the
                 comma).
              e. All TIFF image files must have a unique file name, i.e. Bates number.
              f. Images must be endorsed with sequential Bates numbers in the lower right corner of
                 each image.
              g. The number of TIFF files per folder should not exceed 1,000 files.
              h. Excel spreadsheets should have a placeholder image named by the Bates number of the
                 file.
              i. AUTOCAD/photograph files should be produced as a single page JPEG file.

      2. Concordance Image® OR Opticon Cross-Reference File
      The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a
      comma-delimited file consisting of seven fields per line with a line in the cross-reference file for
      every image in the database with the following format:
          ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

      3. Concordance®Data File
      The data file (.DAT) contains all of the fielded information that will be loaded into the Concordance®
      database.
             a. The first line of the .DAT file must be a header row identifying the field names.
             b. The .DAT file must use the following Concordance® default delimiters:
                             Comma ASCII character (020)
                             Quote þ ASCII character (254)
             c. Date fields should be provided in the format: mm/dd/yyyy
             d. Date and time fields must be two separate fields.
             e. If the production includes imaged emails and attachments, the attachment range must
                   be included to preserve the parent/child relationship between an email and its
                   attachments.
             f. A TEXT LINK field must be included to provide the file path and name of the extracted
                   text file on the produced storage media. The text file must be named after the BEGDOC.
                   Do not include the text in the .DAT file.
             g. For productions with native files, a NATIVE LINK field must be included to provide the
                   file path and name of the native file on the produced storage media. The native file
                   must be named after the BEGDOC.
             h. BEGATT and ENDAT fields must be two separate fields.
             i. A complete list of metadata fields is available as a separate attachment.

      4. Text
      Text must be produced as separate text files, not as fields within the .DAT file. The full path to the
      text file (TEXT LINK) should be included in the .DAT file. We require document level text files, named
      per the BEGDOC/Image Key. Extracted text files must be in a separate folder, and the number of text
      files per folder should not exceed 1,000 files. There should be no special characters (including
      commas in the folder names). For redacted documents, provide the full text for the redacted
      version.

      5. Linked Native Files
      Copies of original email and native file documents/attachments must be included for all electronic
      productions.
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              a. Native file documents must be named per the BEGDOC number.
              b. The full path of the native file must be provided in the .DAT file for the NATIVE LINK
                 field.
              c. The number of native files per folder should not exceed 1,000 files.

   II. Adobe PDF File Production

   With prior approval, Adobe PDF files may be produced in native file format.
      1. PDF files should be produced in separate folders named by the custodian. The folders should not
           contain any special characters (including commas).
      2. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete
           document.
      3. All PDF files must contain embedded text that includes all discernible words within the
           document, not selected text or image only. This requires all layers of the PDF to be flattened
           first.
      4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Southern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________
                          Farhad Azima
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
   Global Impact Services, LLC; Eitan Arusy; Truist
                                                                               )
               Financial Corporation
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                             Truist Financial Corporation
To:                                                    214 N Tryon Street, Charlotte, NC 28202
                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Schedule A.



 Place:                                                                                 Date and Time:
          Carlton Fields, P.A.
          700 NW 1st Ave Suite 1200, Miami, FL 33136

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A

          Pursuant to 28 U.S.C. § 1782, Farhad Azima, by and through undersigned counsel,

   requires that Truist Financial Corporation (“Truist”) produce for inspection each of the

   documents and tangible things described below at “DOCUMENTS AND THINGS TO BE

   PRODUCED.”


                                           INSTRUCTIONS
          1.      This Subpoena calls for you to undertake a diligent search and produce all

   documents, electronically stored information, and tangible things identified below under the

   heading “DOCUMENTS AND THINGS TO BE PRODUCED,” that are within your possession,

   custody, or control, including documents, electronically stored information, and tangible things

   in the possession, custody, or control of your directors, officers, agents, employees, consultants,

   representatives, or in the possession, custody, or control of any “person” (as defined herein)

   whom you control, and, unless privileged, your attorneys.

          2.      All documents that respond, in whole or in part, to any portion of this Subpoena

   are to be produced in their entirety, without abbreviation or expurgation, including all

   attachments or other matter affixed thereto.

          3.      If you object to any of these document requests, then you shall state the reasons

   for your objections. If you object to any part of a document request, then you shall further

   specify the part. Similarly, if you do not object to a particular document request, but are unable

   to comply fully with that request, then you shall comply to the fullest extent possible and provide

   an explanation for your lack of full compliance.

          4.      When information is withheld from discovery on a claim that it is privileged,

   subject to protection as trial preparation materials, or otherwise privileged or protected from
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   disclosure, the claim shall be made expressly and shall be supported by a description of the

   nature of the document, communications, or things not produced that is sufficient to enable the

   propounding party to contest the claim of privilege, as provided in Fed. R. Civ. P. 45(e)(2)(A).

           5.      If no documents are responsive to a particular request, you are to state that no

   responsive documents exist.

           6.      If any document responsive to this request was, but no longer is, in your

   possession, state whether it is missing or lost; if it has been destroyed; if it has been transferred,

   voluntarily or involuntarily, to others; or if it has otherwise been disposed of. In each instance,

   identify the document fully, explain the circumstances, and identify the people having

   knowledge of such circumstances.

           7.      If you contend that any documents covered in these requests are not reasonably

   accessible or would be unduly burdensome to locate or produce, identify such documents by

   category and source and provide detailed information regarding the burden or cost you claim is

   associated with the search for or production of such documents.

           8.      Please produce electronically stored information in accordance with the

   instructions, data delivery standards, delivery formats, and Adobe PDF file production formats,

   and with the fields specified, in Exhibit A (“Miller & Chevalier Standard Production

   Guidelines”) hereto.

           9.      To the extent you intend to not produce a requested document, you are directed to

   make and safeguard a copy of the requested information.

           10.     Unless otherwise indicated, these Requests refer and relate to the time period of

   January 1, 2015 through the present.
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                                              DEFINITIONS

          1.      The term “any” shall be understood to include and encompass “all.” As used

   herein, the singular shall always include the plural, and the present tense shall also include the

   past tense. The words “and” as well as “or” shall be construed disjunctively or conjunctively as

   necessary to bring within the scope of this request all documents or things which might

   otherwise be construed to be outside its scope.

          2.      The term “communication” shall be defined and construed to the broadest extent

   possible and shall have the same meaning as used in Fed. R. Civ. P. 34. “Communication” shall

   include any oral, written, or electronic transmission of information, including without limitation

   any face-to-face meetings, letters, emails, text messages, social media messaging, or telephone

   calls, chat rooms, or group list serves.

          3.       The term “document” shall be defined and construed to the broadest extent

   possible and shall have the same meaning as used in Fed. R. Civ. P. 34.

          4.       The term “person” means any natural person, corporation, partnership, firm,

   proprietorship, limited liability company, association trust, department, organization, joint

   venture, governmental entity, group of persons or any other entity of whatever nature.

          5.       The terms “relate to” or “relating to” means consisting of, referring to, regarding,

   reflecting, supporting, prepared in connection with, used in preparation of, or being in any way

   logically or factually connected with the matter discussed.

          6.       The term “Mr. Eitan Arusy” refers to Global Impact Services’ Authorized

   Member and Manager Mr. Eitan Arusy, listed in Global Impact Services’ 2022 Annual Report as

   living at 3010 N. Military Trail, Suite 318, Boca Raton, FL 33431, and his attorneys,
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   representatives and agents, affiliates, or any legal entities Mr. Arusy owns or controls, whether

   foreign or domestic.

          7.       The term “Global Impact Services” refers to Global Impact Services, LLC, a

   corporate entity with the address of 3010 N. Military Trail, Suite 318, Boca Raton, FL 33431.

   Global Impact Services is a corporate account holder with Truist.



                            DOCUMENTS AND THINGS TO BE PRODUCED

          All documents and communications related to Mr. Eitan Arusy and Global Impact

   Services, LLC. The request includes all bank statements, any records showing or

   communications (including SWIFT payment records) relating to transfer of money, and any

   other financial instrument including but not limited to checks, wire transfers, loans, lines of

   credit, or any other banking services. The request also includes all account opening documents,

   and extends to all responsive bank accounts with Truist.
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   General Instructions:

   Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used
   and maintained during the normal course of business. For example, an MS Excel file must be produced
   as an MS Excel file rather than an image of a spreadsheet. (Note: An Adobe PDF file is not considered a
   native file unless the document was initially created as a PDF.)

   If your production will be de-duplicated it is vital that you
        1. preserve any unique metadata associated with the duplicate files, for example, custodian name,
            and,
        2. make that unique metadata part of your production.

   Data Delivery Standards

   General requirements for ALL document productions are:
      1. A cover letter should be included with each production and include the following:
               1. Case number
               2. A list of each piece of media included in the production with its unique production
                   volume number
               3. A list of custodians, identifying the Bates range for each custodian.
               4. The time zone in which the emails were standardized during conversion.
      2. Productions may be submitted via Secure File Transfer.
      3. Alternatively, data can be produced on CD, DVD, thumb drive, hard drive, using the media
          requiring the least number of deliverables.
      4. All submissions must be organized by custodian unless otherwise instructed.
      5. All document family groups, i.e. email attachments, embedded files, etc., should be produced
          together and children files should follow parent files sequentially in the Bates numbering.
      6. All load-ready collections should include only one data load file and one image pointer file.
      7. All load-ready text must be produced as separate text files.
      8. All load-ready collections should account for custodians in the custodian field.
      9. Only alphanumeric characters and the underscore character are permitted in file names and
          folder names. Special characters are not permitted.
      10. All productions must be produced using industry standard self-extracting encryption software.
      11. All productions must be encrypted using a complex, unique password.
      12. Passwords for electronic documents, files, compressed archives and encrypted media must be
          provided separately either via email or in a separate cover letter from the media.
      13. All electronic productions should be produced free of computer viruses.

   Delivery Formats

   I. Concordance® Imaged Productions
   All scanned paper and electronic file collections should be converted to TIFF files, Bates numbered, and
   include fully searchable text files.
        1. Images
                a. Black and white images must be 300 DPI Group IV single-page TIFF files.
                b. Color images must be produced in JPEG format.
                c. File names cannot contain embedded spaces or special characters (including the
                    comma).
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              d. Folder names cannot contain embedded spaces or special characters (including the
                 comma).
              e. All TIFF image files must have a unique file name, i.e. Bates number.
              f. Images must be endorsed with sequential Bates numbers in the lower right corner of
                 each image.
              g. The number of TIFF files per folder should not exceed 1,000 files.
              h. Excel spreadsheets should have a placeholder image named by the Bates number of the
                 file.
              i. AUTOCAD/photograph files should be produced as a single page JPEG file.

      2. Concordance Image® OR Opticon Cross-Reference File
      The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a
      comma-delimited file consisting of seven fields per line with a line in the cross-reference file for
      every image in the database with the following format:
          ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

      3. Concordance®Data File
      The data file (.DAT) contains all of the fielded information that will be loaded into the Concordance®
      database.
             a. The first line of the .DAT file must be a header row identifying the field names.
             b. The .DAT file must use the following Concordance® default delimiters:
                             Comma ASCII character (020)
                             Quote þ ASCII character (254)
             c. Date fields should be provided in the format: mm/dd/yyyy
             d. Date and time fields must be two separate fields.
             e. If the production includes imaged emails and attachments, the attachment range must
                   be included to preserve the parent/child relationship between an email and its
                   attachments.
             f. A TEXT LINK field must be included to provide the file path and name of the extracted
                   text file on the produced storage media. The text file must be named after the BEGDOC.
                   Do not include the text in the .DAT file.
             g. For productions with native files, a NATIVE LINK field must be included to provide the
                   file path and name of the native file on the produced storage media. The native file
                   must be named after the BEGDOC.
             h. BEGATT and ENDAT fields must be two separate fields.
             i. A complete list of metadata fields is available as a separate attachment.

      4. Text
      Text must be produced as separate text files, not as fields within the .DAT file. The full path to the
      text file (TEXT LINK) should be included in the .DAT file. We require document level text files, named
      per the BEGDOC/Image Key. Extracted text files must be in a separate folder, and the number of text
      files per folder should not exceed 1,000 files. There should be no special characters (including
      commas in the folder names). For redacted documents, provide the full text for the redacted
      version.

      5. Linked Native Files
      Copies of original email and native file documents/attachments must be included for all electronic
      productions.
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              a. Native file documents must be named per the BEGDOC number.
              b. The full path of the native file must be provided in the .DAT file for the NATIVE LINK
                 field.
              c. The number of native files per folder should not exceed 1,000 files.

   II. Adobe PDF File Production

   With prior approval, Adobe PDF files may be produced in native file format.
      1. PDF files should be produced in separate folders named by the custodian. The folders should not
           contain any special characters (including commas).
      2. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete
           document.
      3. All PDF files must contain embedded text that includes all discernible words within the
           document, not selected text or image only. This requires all layers of the PDF to be flattened
           first.
      4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.
